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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

In re:                                           )     Chapter 7
                                                 )
MEDLY HEALTH INC., et al.,                       )     Case No. 22-11257 (KBO)
                                                 )
                 Debtors.                        )


                   REPORT OF DISPUTED ELECTION OF CHAPTER 7
                  TRUSTEE SUBMITTED BY UNITED STATES TRUSTEE

         Andrew R. Vara, United States Trustee for Regions 3 and 9 (“U.S. Trustee”), in

furtherance of his administrative responsibilities imposed pursuant to 28 U.S.C. Section 586(a),

submits the following report regarding the election of a Chapter 7 trustee in the above-captioned

cases.

   I.         Introduction

         1.      On June 30, 2023, the U.S. Trustee presided over a disputed election of a Chapter

7 trustee in the Medly Health Inc., et al., bankruptcy cases. After a disputed election, the U.S.

Trustee files a report of disputed election, informing the court of the nature of the dispute.

Fed.R.Bank.P. 2003(d)(2). Parties have 14 days after the report is filed to file a motion for

resolution of the dispute; if no such motion is filed within the timeframe, the interim trustee

remains in office. Id.

         2.      A permanent trustee is elected if (a) at least 20% in amount of claims specified in

11 U.S.C. §702(a)(1) that are held by creditors entitled to vote under §702(a) request an election

(defined herein as the “Universe of Claims”); (b) creditors holding at least 20% in amount of the

Universe of Claims actually vote; and (c) the candidate receives the majority in amount of

eligible claims actually voting for a trustee.
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          3.     There is one dispute that will impact the result: whether the claims filed by

TriplePoint Capital LLC, TriplePoint Private Venture Credit Inc., and TriplePoint Venture

Growth BDC Corp. (collectively, “TriplePoint”) are eligible to vote. If TriplePoint is eligible to

vote, then TriplePoint’s nominee, Matthew P. Ward, Esq., of Womble Bond Dickinson (US)

LLP, with an address at 1313 North Market Street, Suite 1200, Wilmington, DE 19801, will be

the elected trustee. If TriplePoint is not eligible to vote, then David W. Carickhoff, Esq., of

Archer & Greiner P.C., 300 Delaware Avenue, Suite 1100, Wilmington, DE 19801, the Interim

Trustee, will remain the trustee.

    II.        Background

          4.     On December 9, 2022, Medly Health Inc. and thirty-one (31) affiliated companies

(collectively, the “Initial Debtors”) each filed petitions in the United States Bankruptcy Court for

the District of Delaware seeking relief under chapter 11 of the United States Bankruptcy Code.

On December 28, 2022, Khora Health Solutions Inc. (“Khora”), and RPH Innovations LLC

(“RPH”), commenced their cases. The Debtors’ cases are jointly administered for procedural

purposes.1

          5.     The Debtors sold substantially all of their assets pursuant to two sale orders. See

Order (I) Approving the Walgreens Purchase Agreement; (II) Authorizing the Sale of Certain of


          1
         TriplePoint does not hold claims against debtors Khora (Case No. 22-11361) or RPH (Case No.
22-11362). As such, TriplePoint could not request an election of a permanent trustee in these two cases,
and no such election was held. Thus, the election conducted related only to the Initial Debtors’
bankruptcy cases.

         The Interim Trustee, however, suggested that if Mr. Ward was properly elected as the permanent
trustee for the Initial Debtors’ cases, for administrative convenience, Mr. Ward should be appointed the
trustee of these additional two debtors as well. The U.S. Trustee will consider appointing Mr. Ward as the
trustee in those cases should Mr. Ward become the Permanent Trustee of the Initial Debtors’ cases.
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the Debtors’ Assets Free and Clear of all Liens, Claims, Encumbrances and Interests; and (III)

Granting Related Relief (D.I. 365) and Order (I) Authorizing Private Sale of Certain Assets of

Debtors Tango340B, LLC, Khora Health Solutions, Inc. and RPH Innovations, LLC; (II)

Approving the Terms of the Purchase and Sale Agreement; (III) Authorizing Assumption and

Assignment of Assumed Contracts and (IV) Granting Related Relief (D.I. 296).

        6.      Following the closing of these sales, the Debtors continued their efforts to

liquidate remaining assets. After doing so, the Debtors filed their Motion to Convert Cases from

Chapter 11 to Chapter 7 of the Bankruptcy Code (D.I. 519). The Court converted the cases to

cases under Chapter 7 on April 25, 2023. (D.I. 657).2

        7.      The U.S. Trustee appointed Mr. Carickhoff as the Interim Trustee on April 27,

2023. See D.I. 658. Notices of appointment were filed in each of the Debtors’ cases.

        8.      The Clerk of the Bankruptcy Court filed a Notice of Chapter 7 Bankruptcy Case

(the “Chapter 7 Notice”) on May 18, 2023 (D.I. 679), which (among other things) set the date of

the meeting of creditors pursuant to 11 U.S.C. 341(a) as June 21, 2023, at 11:00 a.m. A copy of

the Chapter 7 Notice is attached as Exhibit A.

        9.      The Debtor filed Schedules and Statements of Financial Affairs for each of the

Debtors other than Khora and RPH on January 8, 2023. (D.I. 195 – 258). Due to the

voluminous nature of the Schedules and Statements, copies are not appended hereto.

        10.     Numerous proofs of claim were filed prior to the conversion date. The Debtors’

claims agent, Epiq Corporate Restructuring, LLC, provided a spreadsheet containing all claims



2
 Orders converting each of the Debtors’ bankruptcy cases were filed on each docket, on either April 26 or
April 27, 2023. The effective date of the conversion was April 25, 2023.

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that were either scheduled by the Debtors or filed prior to the conversion date. Several claims

were filed in each case after the conversion date.

       11.     The initial meeting of creditors was held telephonically. The Interim Trustee

presided. The Meeting commenced at approximately 11:00 a.m. on June 21, 2023, and the

Interim Trustee opened. Richard Willis appeared for the Debtor, along with counsel.

TriplePoint requested an election of a permanent trustee. The meeting was continued until June

30, 2023 at 10:00 a.m. The meeting was reconvened at approximately 10:00 a.m. on June 30.

TriplePoint reiterated its request to elect a permanent trustee. No other creditor present

requested an election of a permanent trustee. However, one of the creditors present, Nestle USA

Inc., indicated an intent to vote in the election. All other creditors indicated that they did not

intend to vote in the election. The U.S. Trustee presided over the election.

       12.     The request for an election was made by TriplePoint, appearing through its

counsel as proxy. No objection was interposed to the proxy.

       13.     The following additional creditors appeared at the meeting: Silicon Valley Bank,

Nestle, Crystal Richardson, Table Mesa Shopping Center LLC, Aidance Skin Care, Gabriel

Cosmetics, ValisureCL LLC, Moringa Tree LLC and QOL Labs, LLC.

II.    Did a Quorum Request an Election?

       14.     Section 702(b) of the Bankruptcy Code provides that creditors may elect a trustee

if the “election of a trustee is requested by creditors that may vote under subjection (a) of this

section, and that hold at least 20 percent in amount of the claims specified in subsection (a)(1) of

this section that are held by creditors that may vote under subsection (a) of this section.”

       15.     Thus, in order to determine if an election request is sufficient, the Court first must


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determine the Universe of Claims -- i.e., those claims entitled to vote under 11 U.S.C. § 702(a).

Next, the Court must determine if the creditors requesting an election hold claims aggregating

20% of the amount of the Universe of Claims. See 11 U.S.C. § 702(b).

        16.     Section 702(a) provides that creditors are eligible to vote if (a) they hold an

allowable, undisputed, fixed, liquidated, unsecured claim of a kind entitled to distribution under

section 726(a)(2), 726(a)(3), 726(a)(4), 752(a), 766(h) or 766(i) of this title; (b) they do not hold

an interest materially adverse to the interests of creditors entitled to a distribution, other than an

equity interest that is not substantial in relation to such creditor’s interest as a creditor; and (c)

they are not an insider.

        17.     Federal Rule of Bankruptcy Procedure 2003(b)(3) provides that a creditor that has

filed a proof of claim at or before the 341 meeting may vote unless an objection is made to the

claim or if the claim is insufficient on its face.

        18.     The U.S. Trustee respectfully submits that In re Michelex Ltd., 195 B.R. 993

(Bankr. W.D. Mich. 1996) is instructive on how to determine the Universe of Claims.

                (a)     Under the Michelex method, one starts with the general unsecured non-

        priority claims, as listed in the debtor’s Schedule F (unsecured non-priority claims),

        excluding any claims listed as contingent, unliquidated or disputed, and further excluding

        claims that would be ineligible to vote under 11 U.S.C. § 702(a)(2) and (a)(3).

                (b)     Next, the Schedule F claims are then adjusted using proofs of claim or

        other qualifying writings filed before or at the meeting of creditors that are eligible under

        § 702(a), unless the proof of claim or other writing is insufficient on its face. See Fed. R.

        Bankr. P. 2003(b)(3).


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                (c)     The result of (a) and (b), supra, is the Universe of Claims.

       19.      Because there were over 1,500 scheduled or filed claims in these cases, the U.S.

Trustee announced at the meeting its procedure for determining the Universe of Claims, which

was as follows:

             a. The U.S. Trustee obtained a claims register from Epiq, which included all

                unsecured claims scheduled or filed prior to the conversion date. The U.S. Trustee

                did not independently verify the accuracy of the register.

             b. The U.S. Trustee further reviewed the dockets of each of the Initial Debtors’

                cases, to review for proofs of claim filed after conversion and prior to the

                meeting.

             c. The following claims were excluded from the Universe of Claims: (a) any claim

                that was, on its face, the claim of an insider (the U.S. Trustee did not review all

                claims for potential insider claims that were not clear on their face); (b) any claim

                listed as disputed or unliquidated; (c) any scheduled claim if a proof of claim was

                filed by the same creditor against the same debtor as listed in the schedules; (d)

                any claim that on its face indicted that it amended or superseded a previously-

                filed claim.

             d. Four creditors asserted the same claim against each of the Initial Debtors,

                asserting joint and several liability. These claims were included only once.

             e. The U.S. Trustee did not remove claims filed by a creditor against different

                debtors, or multiple claims filed by the same creditor against a debtor that did not

                indicate it was an amended/superseding claim. While these claims may be


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                duplicative, it is not clear on their face that they are and no objections have been

                filed.

             f. The U.S. Trustee reviewed the docket of the cases and determined that no

                objections to the allowance of any claim had been filed.

       20.      No party objected to the U.S. Trustee’s procedure for determining the Universe of

Claims. Attached as Exhibit B is a spreadsheet of the Universe of Claims.

       21.      Because TriplePoint asserts that the Initial Debtors are jointly and severally liable

on its claim, the U.S. Trustee announced that it intended to conduct one election, calculating the

Universe of Claims for the Initial Debtors as one group. No party objected to this procedure.

       22.      After calculating the Universe of Claims, it must be determined whether a request

for election has been made by the holders of twenty percent or more of the amount of the

Universe of Claims.

       23.      If TriplePoint’s claim is entitled to vote, the Universe of Claims equals

$166,990,748.84. Twenty percent of the Universe of Claims would equal $33,398,149.77. Thus,

if TriplePoint’s claims are entitled to vote in an election, their claims, which total

$87,854,291.70, equal more than 20% of the Universe of Claims, and a valid election had been

requested.

       24.      Conversely, if TriplePoint’s claims are ineligible to vote, and because no other

creditor requested an election, there would be no valid request for an election, and Mr.

Carickhoff would remain the case trustee.

       25.      The Interim Trustee objected to the right of TriplePoint to vote on the basis that

(a) the proofs of claim filed by TriplePoint assert that all or part of their claims are secured; (b)


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TriplePoint asserts that it holds perfected liens on substantially all of the Debtors’ assets; (c)

paragraph 29 of the final DIP order3 grants TriplePoint adequate protection liens and

superpriority claims; (d) TriplePoint is party to a subordination agreement that requires it to pay

any amounts it receives to senior lenders until the senior lenders are paid in full; and (e)

TriplePoint holds equity in the Debtors. The Interim Trustee concludes that these facts render the

claims ineligible under 11 U.S.C. § 702(a)(1), as the unsecured portion of the claim is not fixed

and liquidated. Further, the Interim Trustee concludes that TriplePoint has interests adverse to

general unsecured creditors which render the claims ineligible to vote under 11 U.S.C. §

702(a)(2). The Interim Trustee reserved all rights and objections, including the right to raise any

additional objections to the election.

        26.     The U.S. Trustee inquired whether TriplePoint asserted a security interest in

property of the debtors securing the claims set forth in the proofs of claim, and whether

TriplePoint asserted adequate protection liens and superpriority claims to the extent of any

diminution in value. TriplePoint responded that they do assert such claims, that they are not

waiving such claims, and that if assets were to come into the estate, their liens and claims would

attach to such assets. However, TriplePoint asserts that the value of the collateral securing their

claims is $0, that substantially all of the Debtors’ assets have been sold, and that the senior

secured lender continues to hold approximately $14 million of claims with priority over

TriplePoint’s claims. As such, TriplePoint asserts that it is a fully undersecured creditor, entitled

to vote in a trustee election, and that it does not hold an interest adverse to the estate. TriplePoint


3
 See Order (Final) (I) Authorizing Debtors to Obtain Secured Superpriority Postpetition Financing, (II)
Granting Priming Liens and Superpriority Administrative Expense Status, (III) Authorizing the Use of
Cash Collateral, (IV) Granting Adequate Protection and (V) Granting Related Relief (D.I. 309).

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further asserts that its claim is fixed in an amount not less than $87,854,291.70. TriplePoint

further stated that the subordination agreement does not impact its rights to vote in an election.4

III.      The Election Process

          27.      In order to vote, a claim must qualify for purposes of determining the Universe of

Claims, and a proof of claim or other writing asserting the claim must be filed with the court.

Fed. R. Bankr. P. 2003(b)(3).

          28.      As indicated above, at the meeting, objections were interposed only to the

TriplePoint claims. No objection was interposed to the claims filed by Nestle and its affiliates.

Nestle’s proofs of claim assert unsecured claims in the amount of $873,936.92.

          29.      The chart below sets forth the results of the election for Mr. Ward:

    Creditor Name                      Claim Amount                 Vote On Mr. Ward

    TriplePoint                        $87,854,291.70               Yea

    Nestle                             $873,936.92                  Yea



          30.      The total of the claims actually participating in the election is $88,728,228.62.

Assuming the election was properly called and TriplePoint is eligible to vote, then 100% of the

claims voting in the election voted for Mr. Ward, thereby electing Mr. Ward.

          31.      The U.S. Trustee advised the parties present that the election was disputed and,

therefore, the Interim Trustee would continue to serve as interim trustee until such time as all



4
  TriplePoint asserted that the Interim Trustee failed to articulate any specific facts regarding the value of
the collateral securing its claims, and further failed to articulate an interest adverse to unsecured creditors.
By extension, TriplePoint asserted that the Interim Trustee waived the right to object on those grounds.
The Interim Trustee disputed that he waived any objection.

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disputes regarding the election were resolved by the Court.

       32.     Pursuant to Fed.R.Bankr.P. 2003(d)(2), if a motion for the resolution of the

election dispute is not filed within fourteen (14) days of the date the U.S. Trustee’s Report is

filed, the Interim Trustee shall serve as the permanent trustee in these cases. The U.S. Trustee

reserves all rights with respect to any motion filed to resolve the election dispute.

                               Respectfully submitted,

                               ANDREW R. VARA
                               UNITED STATES TRUSTEE, REGIONS 3 and 9



Dated: July 14, 2023       BY:     Linda J. Casey __________
                                 Linda J. Casey, Esquire
                                 Trial Attorney
                                 J. Caleb Boggs Federal Building
                                 844 King Street, Suite 2207, Lockbox 35
                                 Wilmington, DE 19801
                                 (302) 573-6491
                                 (302) 573-6497 (Fax)
                                 Linda.Casey@usdoj.gov




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      EXHIBIT A
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Information to identify the case:
Debtor
               Medly Health Inc.                                                   EIN:   82−4733391
               Name

United States Bankruptcy Court   District of Delaware                               Date case filed in chapter:       11   12/9/22
                                                                                    Date case converted to chapter:
Case number:      22−11257−KBO                                                                                        7    4/25/23


Official Form 309D (For Corporations or Partnerships)
Notice of Chapter 7 Bankruptcy Case −− Proof of Claim Deadline Set                                                                       10/20

For the debtor listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has been
entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtor or the debtor's property. For example, while the stay is in effect, creditors cannot sue,
assert a deficiency, repossess property, or otherwise try to collect from the debtor. Creditors cannot demand repayment from
debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and
attorney's fees.
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at https://pacer.uscourts.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

Do not file this notice with any proof of claim or other filing in the case.Valid picture ID is required for access to the J.
Caleb Boggs Federal Building. Additionally, Debtor(s) must also present photo ID plus original verification of his/her
social security number to the Bankruptcy Trustee. If you do not have a photo ID and/or original verification of your
social security number, please contact the Office of the United States Trustee's (302−573−6491).
1. Debtor's full name                  Medly Health Inc.
2. All other names used in
    the last 8 years
3. Address                             31 Debevoise Street
                                       Brooklyn, NY 11206
4. Debtor's attorney                   Laura Davis Jones                                          Contact phone 302 652−4100
   Name and address                    Pachulski Stang Ziehl & Jones LLP
                                       919 N. Market Street, 17th Floor                           Email: ljones@pszjlaw.com
                                       Wilmington, DE 19801
5. Bankruptcy trustee                  David W. Carickhoff                                        Contact phone 302−777−4350
   Name and address                    Archer & Greiner, P.C.
                                       300 Delaware Ave, Suite 1100                               Email: dcarickhoff@archerlaw.com
                                       Wilmington, DE 19801
6. Bankruptcy clerk's office 824 Market Street, 3rd Floor                                         Hours open: Monday − Friday 8:00 AM −
   Documents in this case may Wilmington, DE 19801                                                4:00 PM
   be filed at this address.
   You may inspect all records                                                                    Contact phone 302−252−2900
   filed in this case at this office
   or online at                                                                                   Date: 5/18/23
   https://pacer.uscourts.gov.
7. Meeting of creditors                June 21, 2023 at 11:00 AM                        Location:
   The debtor's representative                                                          844 King Street, Room 3209,
   must attend the meeting to be       The meeting may be continued or adjourned to a Wilmington, DE 19801
   questioned under oath.              later date. If so, the date will be on the court
   Creditors may attend, but are       docket.
   not required to do so.

                                                                                                  For more information, see page 2 >




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Debtor Medly Health Inc.                                                                                      Case number 22−11257−KBO

8. Deadlines                           Deadline for all creditors to file a proof of claim Filing deadline: 7/5/23
   The bankruptcy clerk's office       (except governmental units):
   must receive proofs of claim
   by the following deadlines.         Deadline for governmental units to file a proof Filing deadline: 10/23/23
                                       of claim:
                                       A proof of claim is a signed statement describing a creditor's claim. A proof of claim form
                                       may be filed either electronically or as a paper document. For more information on how to file
                                       a Proof of Claim, visit the Delaware Bankruptcy Court's website at
                                        www.deb.uscourts.gov/claims−information or any bankruptcy clerk's office. If you do not file
                                       a proof of claim by the deadline, you might not be paid on your claim. To be paid, you must
                                       file a proof of claim even if your claim is listed in the schedules that the debtor filed.
                                       Secured creditors retain rights in their collateral regardless of whether they file a proof of
                                       claim. Filing a proof of claim submits the creditor to the jurisdiction of the bankruptcy court,
                                       with consequences a lawyer can explain. For example, a secured creditor who files a proof
                                       of claim may surrender important nonmonetary rights, including the right to a jury trial.


9. Creditors with a foreign           If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
   address                            asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                      United States bankruptcy law if you have any questions about your rights in this case.

10. Liquidation of the                 The bankruptcy trustee listed on the front of this notice will collect and sell the debtor's
    debtor's property and              property. If the trustee can collect enough money, creditors may be paid some or all of the
                                       debts owed to them, in the order specified by the Bankruptcy Code. To ensure you receive
    payment of creditors'              any share of that money, you must file a proof of claim, as described above.
    claims
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                                                        Notice Recipients
District/Off: 0311−1                          User: admin                            Date Created: 5/18/2023
Case: 22−11257−KBO                            Form ID: 309D                          Total: 259


Recipients submitted to the BNC (Bankruptcy Noticing Center) without an address:
trans       Veritext Legal Solutions
cr          MCKESSON CORPORATION
aty         Porzio, Bromberg & Newman, P.C.
intp        Nicholas Braggo
                                                                                                                          TOTAL: 4

Recipients submitted to the BNC (Bankruptcy Noticing Center):
db          Medly Health Inc.         31 Debevoise Street        Brooklyn, NY 11206
intp        Silicon Valley Bank         c/o Ashby & Geddes, P.A.          500 Delaware Avenue, 8th Floor            P.O. Box
            1150        Wilmington, DE 19899
clagent     Epiq Corporate Restructuring, LLC           www.epiqsystems.com            777 Third Avenue, 12th Floor           New
            York, NY 10017
cr          Dallas County         Linebarger Goggan Blair & Sampson, LLP              c/o John K. Turner         2777 N. Stemmons
            Fwy, Ste. 1000         Dallas, TX 75207
cr          Harris County         Linebarger Goggan Blair & Sampson LLP              c/o Tara L. Grundemeier          P.O. Box
            3064        Houston, TX 77253−3064
aty         1222−24 Walnut Associates, LP            c/o Michael G. Menkowitz           Fox Rothschild LLP          2000 Market
            Street       Philadelphia, PA 19103
cr          40 West Main Street LLC           c/o Ansell Grimm & Aaron, P.C.            365 Rifle Camp Road          Woodland Park,
            NJ 07424
cr          James Agresta Carpentry, Inc.         4444 Scotts Valley Drive         Suite 9−C         Scotts Valley, CA 95066
cr          Crawford Memorial Hospital           1000 N. Allen St.       Robinson, IL 62454 UNITED STATES
cr          ANRO INC.           c/o Stradley Ronon Stevens & Young LLP             Attn: Daniel M. Pereira         1000 N. West
            Street       Suite 1200        Wilmington, DE 19801
cr          Michigan Department of Treasury            3030 W Grand Blvd, suite 10−200            Cadillac Place        Detroit, MI
            48202
tr          David W. Carickhoff          Archer & Greiner, P.C.        300 Delaware Ave, Suite 1100            Wilmington, DE 19801
op          Epiq Corporate Restructuring, LLC           www.epiqsystems.com            777 Third Avenue, 12th Floor           New
            York, NY 10017
aty         Adam Hiller         Hiller Law, LLC          300 Delaware Avenue           Suite 210, #227        Wilmington, DE 19801
aty         Adam L. Fletcher         Baker & Hostetler LLP          Key Tower           127 Public Square, Suite
            2000        Cleveland, OH 44114
aty         Alan Michael Root          Archer & Greiner P.C.        300 Delaware Avenue             Suite 1100        Wilmington, DE
            19801
aty         Alexander G. Rheaume           Morrison & Foerster LLP          200 Clarendon Street           Floor 21        Boston, MA
            02116
aty         Alexander Gary Rheaume            Morrison & Foerster LLP          200 Clarendon Street, Floor 20           Boston, MA
            02116
aty         Alexander H. Ramon           Hoge, Fenton, Jones, & Appel Inc.          55 South Market St.         Suite 900        San
            Jose, CA 95113
aty         Allison Carr        Pennsylvania Office of Attorney General          1251 Waterfront Place          Pittsburgh, PA 15222
aty         Andrew L Magaziner           Young Conaway Stargatt & Taylor, LLP              Rodney Square          1000 North King
            Street       Wilmington, DE 19801
aty         Anthony J. D'Artiglio         Ansell Grimm & Aaron, P.C.          365 Rifle Camp Road            Woodland Park, NJ
            07424
aty         Bradley Shraiberg         Shraiberg, Landau & Page, P.A.         2385 NW Executive Center Dr.              Suite
            300       Boca Raton, FL 33431
aty         Brian J. McLaughlin         Offit Kurman, PA         222 Delaware Avenue             Suite 1105        Wilmington, DE
            19801
aty         Cheryl Ann Santaniello          Porzio, Bromberg & Newman, P.C.             300 Delaware Ave, Suite
            1220        Wilmington, DE 19801
aty         Daniel Michael Pereira         Stradley Ronon Stevens & Young, LLP              1000 N. West Street         Suite
            1200        Wilmington, DE 19801
aty         Darren Azman          One Vanderbilt Avenue          New York, NY 10017−3852
aty         David E. Sklar        Porzio, Bromberg & Newman, P.C.            100 Southgate Parkway            P.O. Box
            1997        Morristown, NJ 07962
aty         David R. Hurst         McDermott Will & Emery LLP             The Nemours Building            1007 North Orange
            Street       4th Floor        Wilmington, DE 19801
aty         David William Giattino          McDermott Will & Emery LLP             1007 North Orange Street           10th
            Floor       Wilmington, DE 19801
aty         Drew McGehrin           c/o Duane Morris LLP          30 S. 17th Street        Philadelphia, PA 19103−4196
aty         Dustin Parker Branch         Ballard Spahr LLP         2029 Century Park East           Suite 1400         Los Angeles,
            CA 90067−2915
aty         Gregory A. Taylor         Ashby & Geddes          500 Delaware Avenue, 8th Floor             P.O. Box
            1150        Wilmington, DE 19899
aty         Howard A. Cohen           Fox Rothschild LLP         919 N. Market Street          Suite 300        Wilmington, DE
            19899−2323
aty         Jake Jumbeck         444 West Lake Street         Suite 4000        Chicago, IL 60606−0029
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aty   James P. Muenker          DLA Piper LLP (US)            1900 North Pearl Street, Suite 2200        Dallas, TX 75201
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      1000        Dallas, TX 75207
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aty   Julie H Rome−Banks            LBA Realty Fund II Co II LLC          2775 Park Ave          Santa Clara, CA 95050
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      700        Wilmington, DE 19801
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      1380        Wilmington, DE 19899−1380
aty   Kwame O Akuffo            Pillsbury Winthrop Shaw Pittman LLP            31 West 52nd Street         New York, NY
      10019−6131
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      DE 19801
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      3430        San Francisco, CA 94104−4436
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      PA 19103−3222
aty   Michael J. Kaczka         McDonald Hopkins LLC              600 Superior Ave., East        Suite 2100         Cleveland,
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      43604−2261
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aty   Terri Jane Freedman          Chiesa Shahinian & Giantomasi PC           105 Eisenhower Parkway            Roseland, NJ
      07068
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aty   Tobey M. Daluz          Ballard Spahr LLP          919 Market Street        12th Floor        Wilmington, DE 19801
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aty        Warren J. Martin, Jr.        Porzio, Bromberg & Newman, P.C.             100 Southgate Parkway         P.O. Box
           1997       Morristown, NJ 07962−1997
18187089   1−800−GOT−JUNK? OF BELLEVUE                     13930 NE 190TH ST            WOODINVILLE, WA 98072
18187090   1222−24 WALNUT ASSOCIATES LP                    C/O B&M LEASING                283 2ND STREET PIKE, STE
           110       SOUTHAMPTON, PA 18966
18187091   ADOBE INC           345 PARK AVE              SAN JOSE, CA 95110
18187092   ALCHIMIE FOREVER LLC                  1602 28TH ST NW            WASHINGTON, DC 20007
18187093   ALCHIMIE FOREVER LLC                  ATTN ADA POLLA               1600 28TH ST NW, APT 3            WASHINGTON,
           DC 20007
18187094   ALVAREZ & MARSAL TRANSACTION ADVISORY GR                              ATTN LEGAL DEPARTMENT                   600
           MADISON AVE, 8TH FL                NEW YORK, NY 10022
18187095   AMBER BATH LLC                ATTN ELIZABETH PARKHURST                    41575 ARROYO VISTA
           DR        TEMECULA, CA 92592
18187096   ANDA INC           C/O SHRAIBERG PAGE PA                  ATTN BRADLEY S SHRAIBERG, ESQ                   2385 NW
           EXECUTIVE CENTER DR, #300                  BOCA RATON, FL 33431
18187097   ARAPAHOE COUNTY TREASURER                        ATTN BANKRUPTCY DIVISION                   5334 S PRINCE
           ST       LITTLETON, CO 80108
18187098   ATELIER VULCAN INC                 66 W FLAGLER ST, STE 900, #6799                MIAMI, FL 33130
18187100   BEAUTORIUM LLC                401 HAWTHORNE LN, STE 110−180                    CHARLOTTE, NC 28204
18187099   BEAUTORIUM LLC                ATTN BETSY WILLIAMS                 401 HAWTHORNE LN, STE
           110−180        CHARLOTTE, NC 28173
18187101   BEE LUCIA CO             1825 SE FRANKLIN ST, STE B               PORTLAND, OR 97202
18187102   BEE LUCIA CO             ATTN JAMESON MORRIS                 3335 NW TANNER ST               CAMAS, WA 98607
18187103   BODYBIO INC             45 REESE RD            MILLVILLE, NJ 08332
18187104   BONOMO, JEFFREY                317 6TH ST, UNIT 3           BROOKLYN, NY 11215
18187105   BOODY NORTH AMERICA                    11633 SORRENTO VALLEY RD, STE 402                   SAN DIEGO, CA
           92121
18187106   BOOST OXYGEN LLC                 125 OLD GATE LN             MILFORD, CT 06460
18187107   BOSS FACILITY SERVICES INC                  60 ADAMS AVE, STE 109                HAUPPAUGE, NY 11788
18187108   CDW DIRECT LLC               ATTN VIDA KRUG               200 N MILWAUKEE AVE                VERNON HILLS, IL
           60061
18187109   CFGI LLC          ATTN KAITLIN KOHL                 1 LINCOLN ST, STE 1301             BOSTON, MA 02111
18187110   CFGI LLC          C/O NELSON MULLINS RILEY & SCARBOROUGH                            ATTN KEVIN P POLANSKY,
           ESQ        ONE FINANCIAL CENTER, STE 3500                    BOSTON, MA 02111
18187111   CHEONG−A−SHACK, MADISON                      158 NORWOOD AVE, APT 2                 BROOKLYN, NY 11208
18187112   COMMONWEALTH EDISON COMPANY                           ATTN BANKRUPTCY DEPARTMENT                      1919 SWIFT
           DR        OAKBROOK, IL 60523
18187113   COMMONWEALTH OF VIRGINIA                      DEPARTMENT OF TAXATION                     PO BOX
           2156       RICHMOND, VA 23218
18187114   COMPTROLLER OF THE TREASURY                       301 W PRESTON ST, RM #409               BALTIMORE, MD
           21201
18187115   CONSOLIDATED EDISON COMPANY OF NEW YORK                              4 IRVING PL, 9TH FL            NEW YORK, NY
           10003
18187116   COOLA LLC             6023 INNOVATION WAY, STE 110                  CARLSBAD, CA 92009
18187117   COOLEY LLP             C/O COOLEY LLP              ATTN MICHAEL KELLY                 3 EMBARCADERO CENTER,
           20TH FL        SAN FRANCISCO, CA 94111
18187118   CORPORATION SERVICE COMPANY                        251 LITTLE FALLS DR              WILMINGTON, DE 19808
18187119   COUNTY OF SONOMA                  585 FISCAL DR, #100           SANTA ROSA, CA 95403
18187120   CT CORPORATION                ATTN BRIAN BARTHOLOMEW                     28 LIBERTY ST, 42ND FL             NEW YORK,
           NY 10005
18187121   CT CORPORATION                PO BOX 4349           CAROL STREAM, IL 60197
18187122   CURE INC          244 FIFTH AVE, #1269              NEW YORK, NY 10001
18187123   CURE INC          ATTN LAUREN PICASSO                   888 LORIMER ST, #2            BROOKLYN, NY 11222
18187124   CUSTOM GROUP OF COMPANIES INC                       49 SOMERSET DR S              GREAT NECK, NY 11020
18213946   County of Santa Clara Department of Tax/Collection            852 N. First St.       San Jose, CA 95112
18187125   DASTON CORPORATION, THE                    19 E MARKET ST, STE LL01                LEESBURG, VA 20176
18187126   DATADOME INC               524 BROADWAY, 11TH FL                NEW YORK, NY 10012
18187129   DEPARTMENT OF TREASURY − IRS                      ATTN MH AGENT, BANKRUPTCY SPECIALIST                        31
           HOPKINS PLAZA, RM 1150                 BALTIMORE, MD 21201
18187128   DEPARTMENT OF TREASURY − IRS                      ATTN MILLIE AGENT, BK SPECIALIST                   31 HOPKINS
           PLAZA, RM 1150             BALTIMORE, MD 21201
18187127   DEPARTMENT OF TREASURY − IRS                      PO BOX 7346           PHILADELPHIA, PA 19101−7346
18187130   DUER, ROBERT              ADDRESS ON FILE
18222348   Department of Labor          Division of Unemployment Insurance            P.O. Box 9953         Wilmington, DE
           19809
18187131   EARTHLITE LLC              D/B/A TARA SPA THERAPY                 990 JOSHUA WAY              VISTA, CA 92081
18187132   EDWARD C STAHL TRAVEL ADVISORS                         ATTN EDWARD C STAHL                 56 N SANTA CRUZ
           AVE        LOS GATOS, CA 95030
18187133   EHRLICH           C/O RENTOKIL NORTH AMERICA                     ATTN BANKRUPTCY TEAM                   1125
           BERKSHIRE BLVD, STE 150                 READING, PA 19610
18187134   EMERSON HEALTHCARE                    407 E LANCASTER AVE               WAYNE, PA 19087
18187135   ETHICALXCHANGE                 110 E MAIN ST, STE 702            MADISON, WI 53703
18187136   EULER HERMES AGENT FOR SUN BUM LLC                         C/O ALLIANZ TRADE                800 RED BROOK BLVD,
           #400C        OWINGS MILLS, MD 21117
18187137   EURO PHARMA INC                955 CHALLENGER DR                GREEN BAY, WI 54311
18187138   EXTRABUX INC              3500 S DUPONT HWY, STE OO−101                   DOVER, DE 19901
18188196   Elder−Jones, Inc.        c/o Duane Morris LLP Attn: Drew S. McGehrin              30 S. 17th Street      Philadelphia,
           PA 19103
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18187139   FRAN'S CHOCOLATES LTD                5900 AIRPORT WAY S           SEATTLE, WA 98108
18187140   FRANCHISE TAX BOARD                ATTN BANKRUPTCY SECTION MS A340                   PO BOX
           2952       SACRAMENTO, CA 95812−2952
18187141   GARDEN OF LIFE LLC             4200 NORTHCORP PKWY, STE 200               PALM BEACH GARDENS, FL
           33410
18187142   GOODLIGHT NATURAL CANDLES                    PO BOX 3593        TELLURIDE, CO 81435
18187143   GORDON FEINBLATT LLC                ATTN BRYAN M MULL              1001 FLEET ST, STE 700         BALTIMORE,
           MD 21202
18187144   GREYCROFT ACI EVOLUTION FUND I LP                   ATTN HANK ZHOU              292 MADISON AVE, FL
           8       NEW YORK, NY 10017
18187145   GREYCROFT PARTNERS V LP                 ATTN HANK ZHOU            292 MADISON AVE, FL 8           NEW YORK,
           NY 10017
18187146   GROWVE           239 2ND AVE S, STE 200           SAINT PETERSBURG, FL 33701
18187147   HAMILTON BROOK SMITH & REYNOLDS PC                     ATTN CRISTINA SHINNICK              530 VIRGINIA
           RD        CONCORD, MA 01742
18187148   HARTFORD FIRE INSURANCE COMPANY                     ATTN BANKRUPTCY UNIT                HO2−R, HOME
           OFFICE         HARTFORD, CT 06155
18187149   HARTFORD FIRE INSURANCE COMPANY                     ATTN HANK HOFFMAN                ONE HARTFORD
           PLAZA         HARTFORD, CT 06155
18187150   HEALTHJUMP INC             1150 FIRST AVE, STE 501          KING OF PRUSSIA, PA 19406
18187151   HERB PHARM LLC             PO BOX 116          WILLIAMS, OR 97544
18187152   HTC GLOBAL SERVICES INC                ATTN LAURIE MARIA            3270 W BIG BEAVER RD            TROY, MI
           48084
18187153   HUSAIN, SYED           C/O DARROWEVERETT LLP                ATTN JAMES G ATCHISON, ESQ              ONE
           TURKS HEAD PL, 12TH FL              PROVIDENCE, RI 02903
18187154   IDAHO STATE TAX COMMISSION                  PO BOX 36        BOISE, ID 83722
18187155   INDIGO HANDLOOM INC                15 WAILAU PL         LAHAINA, HI 96761
18187156   JACKSON LEWIS PC             1133 WESTCHESTER AVE, STE S125               WEST HARRISON, NY 10604
18187157   JARROW FORMULAS INC                15233 VENTURA BLVD, STE 900              SHERMAN OAKS, CA 91403
18187158   JOB STORE STAFFING              7555 E HAMPDEN AVE, STE 300            DENVER, CO 80231
18187159   JOYYA US PBC           2943 RIVERSIDE DR           CINCINNATI, OH 45226
18187160   JURLIQUE HOLISTIC SKINCARE INC                 ATTN REBECCA MICHELIDES                LEVEL 7, 227 ELIZABETH
           ST       SYDNEY, NW 2000 AUSTRALIA
18187026   Jeffrey M. Hawkinson        Jameson Pepple Cantu PLLC         801 Second Avenue, Suite 700       Seattle, WA
           98104
18187161   KENNETH PARK ARCHITECT PLLC                   360 LEXINGTON AVE            NEW YORK, NY 10017
18187162   KODIAK ISLAND HEALTHCARE FOUNDATION                       D/B/A KODIAK COMMUNITY HEALTH
           CENTER          1911 E REZANOF DR             KODIAK, AK 99615
18187163   KSL−FM RADIO            C/O SZABO ASSOCIATES INC              3355 LENOX RD NE, STE 945           ATLANTA,
           GA 30326
18187164   LAGO BELLO LLC            1215 GESSNER RD            HOUSTON, TX 77055
18187165   LANE POWELL PC             ATTN BRUCE H CAHN             601 SW 2ND AVE, STE 2100            PORTLAND, OR
           97204
18187166   LEVEL 3 COMMUNICATIONS LLC                   C/O CENTURYLINK COMMUNICATIONS LLC                   ATTN JESSIE
           SCHAFER, BMG BANKRUPTCY                   220 N 5TH ST       BISMARCK, ND 58501
18187167   LEVEL 3 COMMUNICATIONS LLC                   C/O CENTURYLINK COMMUNICATIONS LLC                   ATTN
           LEGAL−BKY            1025 EL DORADO BLVD             BROOMFIELD, CO 80021
18187168   LIFT CHOCOLATE INC              6395 GUNPARK DR, STE R           BOULDER, CO 80301
18187169   LITTLER MENDELSON PC                333 BUSH ST, 34TH FL         SAN DIEGO, CA 94104
18187170   LITTLER MENDELSON PC                333 BUSH ST, 34TH FL         SAN FRANCISCO, CA 94104
18187171   LOUISIANA DEPARTMENT OF REVENUE                    ATTN BANKRUPTCY SECTION                 PO BOX
           66658       BATON ROUGE, LA 70896
18187172   LOVE SUN BODY INC              50 CUMMINGS CIR           WEST ORANGE, NJ 07052
18187173   LOWELL T PATTON TR & PATTON FAM REV TR                     C/O STEVE AND SALLY WALTER                972 E
           DEER ARCH LN            DRAPER, UT 84020
18187174   MASSACHUSETTS DEPARTMENT OF REVENUE                       ATTN BANKRUPTCY UNIT                PO BOX
           7090       BOSTON, MA 02204−7090
18187175   MD SOLARSCIENCES CORP                 88 POST ROAD W          WESTPORT, CT 06880
18187176   MMP SOLUTIONS             18730 OXNARD ST, STE 210           TARZANA, CA 91356
18187177   MUCHILA HOLDINGS LTD                 PO BOX 57013        TEL AVIV, IL 6775323 ISRAEL
18187178   MULTNOMAH COUNTY − DART                    PO BOX 2716        PORTLAND, OR 97208
18187179   NANTUCKET SPIDER LLC                PO BOX 536        WILTON, CT 06897
18187180   NATURAL IMMUNOGENICS CORP                    7504 PENNSYLVANIA AVE               SARASOTA, FL 34243
18187181   NEW YORK CITY DEPARTMENT OF FINANCE                     375 PEARL ST, 27TH FL           NEW YORK, NY
           10038
18187182   NEW YORK STATE DEPARTMENT OF LABOR                      STATE CAMPUS BLDG 12, RM 256              ALBANY,
           NY 12240
18187183   NGUYEN, PETER            1001 E JAMES WAY            MAGR 4204         SEATTLE, WA 98122
18187184   NJ DEPT OF LABOR DIV OF EMP ACC                 PO BOX 379        TRENTON, NJ 08625
18187185   NM TAXATION & REVENUE DEPARTMENT                      PO BOX 8575         ALBUQUERQUE, NM
           87198−8575
18187186   NY STATE DEPT OF TAXATION AND FINANCE                    ATTN BANKRUPTCY SECTION                 PO BOX
           5300       ALBANY, NY 12205−0300
18187027   Nelgroup Properties, LLC        c/o Jameson Pepple Cantu PLLC        Attn: Jeffrey M. Hawkinson       801 Second
           Avenue, Suite 700       Seattle, WA 98104
18187187   OMNISYS LLC           15950 DALLAS PKWY, STE 350             DALLAS, TX 75248
18187188   PARA'KITO USA CORP              2040 NW 29TH ST         FORT LAUDERDALE, FL 33311
18187189   PAROLINE & ASSOCIATES                3617 SW CHARLESTOWN ST              SEATTLE, WA 98126
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18187190   PARTICLE HEALTH INC              36 W 20TH ST, FL 9        NEW YORK, NY 10011
18187191   PEAK PERFORMANCE PARTNERS LLC                   PO BOX 435          JOHNS ISLAND, SC 29457
18187192   PEARTREE APOTHECARY                 2840 W DEERFIELD CT           EAGLE, ID 83616
18187193   PEYRE, JEAN−CHRISTOPHE                ADDRESS REDACTED             LOS ANGELES, CA 90035
18187194   PLUME COSMETICS INC               209 32 AVE NW         CALGARY, AB T2M 2P8 CANADA
18187195   PUBLIC SERVICE COMPANY OF NEW MEXICO                     414 SILVER AVE SW,
           MS0525          ALBUQUERQUE, NM 87102
18187196   QOL LABS LLC            C/O GROUP CONTROLLER              2975 WESTCHESTER AVE               PURCHASE, NY
           10577
18187197   QUAGGA ACCESSORIES LLC                 9083 FROST AVE          BERKELEY, MO 63134
18187198   QUANTUM TELECOMMUNICATIONS INC                     2975 B MANCHESTER RD               MANCHESTER, MD
           21102
18187199   REGENCY PROTECTION SERVICES                  16512 ARMINTA ST            VAN NUYS, CA 91406
18187200   RMS ORGANICS LLC              1460 TOBIAS GADSON BLVD, STE 140                CHARLESTON, SC 29414
18187201   ROSENTHAL & ROSENTHAL INC                 ATTN MELINDA DEJESUS                1370 BROADWAY, 3RD
           FL        NEW YORK, NY 10018
18187202   RUGGLES SIGN            93 INDUSTRY DR          VERSAILLES, KY 40383
18187203   S WALTER PACKAGING CORP                 1210 NORTBROOK DR, STE 350               TREVOSE, PA 19053
18187204   SCALER DESIGN LLC              32 PECKHAM ST          GREENVILLE, SC 29607
18187205   SCOUT CURATED WEARS                 PO BOX 660        EASTHAMPTON, MA 01027
18187206   SEQIRUS USA INC            ATTN JASON MESSNER             25 DEFOREST AVE             SUMMIT, NJ 07901
18187207   SEQIRUS USA INC            C/O BALLARD SPAHR LLP             ATTN TOBEY M DALUZ, ESQ               919 N
           MARKET ST, 11TH FL             WILMINGTON, DE 19801
18187208   SERGIO MANNINO LLC               117 GRATTAN ST, STE 204           BROOKLYN, NY 11237
18187209   SERVICECHANNEL.COM INC                 6200 STONERIDGE MALL RD, STE 450               PLEASANTON, CA
           94588
18187210   SLG GRAYBAR MESNE LEASE LLC                  C/O CYRULI SHANKS & ZIZMOR LLP                 ATTN EDMOND
           O'BRIEN, ESQ          420 LEXINGTON AVE, STE 2320            NEW YORK, NY 10170
18187211   SOYOUNG INC            ATTN CHERISSE RECENO              134 PARK LAWN RD, STE 103              ETOBICOKE,
           ON M8Y 3H6 CANADA
18187212   SOYOUNG INC            ATTN CHERISSE RECENO              134 PARK LAWN RD, STE 103              ETOBICOKE,
           ON M8Y 3H8 CANADA
18187213   SPECTRUM            1600 DUBLIN RD          COLUMBUS, OH 43215
18187214   STATE OF NJ DIVISION OF TAXATION BK SEC                  ATTN VICTORIA WRIGHT               3 JOHN FITCH
           WAY          PO BOX 245         TRENTON, NJ 08695
18187215   STERICYCLE INC            2333 WAUKEGAN RD, STE 300              BANNOCKBURN, IL 60015
18187216   STERICYCLE INC            ATTN KRISTINA BAHNS, CREDIT ANALYST                    7734 S 133RD ST       OMAHA,
           NE 68138
18222347   State of Delaware       Division of Revenue      820 N. French Street, 8th Floor      Wilmington, DE
           19801−0820
18187217   TABLE MESA SHOPPING CENTER LLC                  1375 WALNUT ST, STE 10             BOULDER, CO 80302
18187218   TEAM AIR EXPRESS INC              D/B/A TEAM WORLDWIDE               639 W BROADWAY
           ST        WINNSBORO, TX 75494
18187219   TESSERACT MEDICAL RESEARCH LLC                   1370 TRANCAS ST, #376            NAPA, CA 94558
18213954   TEXAS HEALTH & HUMAN SERVICES COMMISSION                       4601 W. GUADALUPE STREET Mailcode
           1100        Austin, TX 78751
18187221   TEXAS WORKFORCE COMMISSION                   ATTN JANAHA CRAWFORD                  101 E 15TH ST, RM
           556       AUSTIN, TX 78778
18187220   TEXAS WORKFORCE COMMISSION                   ATTN OFFICE OF ATTORNEY GENERAL−BANKR                      PO
           BOX 12548, MC−008            AUSTIN, TX 78711
18187222   THORNE RESEARCH INC                ATTN ACCOUNTS RECEIVABLE                 620 OMNI INDUSTRIAL
           BLVD          SUMMERVILLE, SC 29486
18187223   TOPBLOC LLC            600 W CHICAGO AVE, STE 275            CHICAGO, IL 60654
18187225   TOPCASHBACK USA INC                340 W PASSAIC ST, FL 1         ROCHELLE PARK, NJ 07662
18187224   TOPCASHBACK USA INC                C/O TOPCASHBACK OFFICES IN THE UK                 ATTN CRISTINA
           PERIS−MIRO           TEMERAIRE HOUSE, NELSON COURT                  STAFFORDSHIRE TECHNOLOGY
           PARK          STAFFORD ST18 0WQ UNITED KINGDOM
18187226   TOTAL BEAUTY NETWORK (USA) INC                  33 WINFIELD AVE             HARRISON, NY 10528
18187227   TRACE MINERALS              1996 W 3300 S       OGDEN, UT 84401
18187228   TRACKMY SOLUTIONS INC                8700 MONROVIA ST, STE 310             LENEXA, KS 66215
18187229   TRILIPID RESEARCH INSTITUTE LLC                PO BOX 15450          JACKSON, WY 83002
18187230   ULINE          12575 ULINE DR         PLEASANT PRAIRIE, WI 53158
18187231   UNIWEB INC           222 S PROMENADE AVE             CORONA, CA 92879
17602109   UTAH STATE TAX COMMISSION                 ATTN: BANKRUPTCY UNIT                210 N 1950 W       SALT LAKE
           CITY, UT 84134−9000
18187232   V & D MECHANICAL              103−21 98TH ST        OZONE PARK, NY 11417
18187233   VALISURECL LLC             ATTN JESSICA WILLISTON             5 SCIENCE PARK            NEW HAVEN, CT
           06511
18187234   VALUATION RESEARCH CORPORATION                    ATTN TYLER WENDORF                 330 E KILBOURN AVE, STE
           1425        MILWAUKEE, WI 53202
18187235   VANTAGE RISK SPECIALTY INSURANCE COMPANY                        123 N WACKER DR, STE 1300            CHICAGO,
           IL 60606
18187236   VITANICA LLC            12401 SW LEVETON DR            TUALATIN, OR 97062
18187237   VITTA, JAYSON            2920 BRIGHTON FOURTH ST, #2B             BROOKLYN, NY 11235
18187238   WEAR PACT LLC             ATTN DREW COOK            3200 CARBON PL, STE 102             BOULDER, CO
           80301
18187240   WILKIN & GUTTENPLAN PC                ATTN VINAY NAVANI, SHAREHOLDER                   1200 TICES
           LN        EAST BRUNSWICK, NJ 08816
                    Case
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18187239   WILKIN & GUTTENPLAN PC               C/O NORDLAW          190 STATE HWY 18, STE 201      EAST
           BRUNSWICK, NJ 08816
18187241   WISHGARDEN HERBS INC               321 S TAYLOR AVE, UNIT 100        LOUISVILLE, CO 80027
18187243   WORKDAY INC           ATTN ALEXANDER ROBINSON                5110 STONERIDGE MALL
           RD       PLEASANTON, CA 94588
18187242   WORKDAY INC           C/O BRAD COSMAN             2901 N CENTRAL AVE, STE 2000        PHOENIX, AZ
           85012
18187244   WORKERS COMPENSATION BOARD OF THE                    STATE OF NEW YORK          ATTN
           JUDGMENT          328 STATE ST          SCHENECTADY, NY 12305
17606912   Wells Fargo Vendor Financial Services, LLC      1738 Bass Road     PO Box 13708      Macon, GA
           31210
18187245   YOTPO INC         233 SPRING ST, FL 6         NEW YORK, NY 10013
18187246   YU−BE INC         3282 STONER AVE            LOS ANGELES, CA 90066−1111
18187247   ZIG ZAG ASIAN COLLECTION               6500A HWY 9, STE A       FELTON, CA 95018
18187248   ZUFALL HEALTH CENTER INC                ATTN PETER BEBEL, CFO         18 W BLACKWELL
           ST       DOVER, NJ 07801
18187249   ZUFALL HEALTH CENTER INC                C/O RIKER DANZIG LLP        ATTN CURTIS M PLAZA        PO
           BOX 1981        MORRISTOWN, NJ 07962
18187250   ZURICH AMERICAN INSURANCE                 C/O CARLOTA ESMEDILLA           PO BOX
           19253       MINNEAPOLIS, MN 55419
18187251   ZURICH AMERICAN INSURANCE                 PO BOX 68549        SCHAUMBURG, IL 60196
                                                                                                    TOTAL: 255
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                                                                                                              UNSECURED
 CLAIM SCHEDULE CASE
                                             DEBTOR NAME                                 CLAIM NAME            CLAIMED
NUMBER  NUMBER NUMBER
                                                                                                               AMOUNT

            258000010   22-11258   Care Well Pharmacy, Inc.         340B TECHNOLOGIES INC                           $80.00
            258000020   22-11258   Care Well Pharmacy, Inc.         AMAZON BUSINESS                               $693.27
            258000040   22-11258   Care Well Pharmacy, Inc.         ANDA INC                                     $2,832.54
            258000060   22-11258   Care Well Pharmacy, Inc.         BOSS FACILITY SERVICES INC                    $566.15
            258000070   22-11258   Care Well Pharmacy, Inc.         BRINCO MECHANICAL MGMT SERVICES               $653.25
            258000080   22-11258   Care Well Pharmacy, Inc.         CARDINAL HEALTH LLC                         $46,425.86

Epiq 20019 258000090 22-11258      Care Well Pharmacy, Inc.         CONSOLIDATED EDISON COMPANY OF NEW YORK       $153.32
 Epiq 34             22-11258      Care Well Pharmacy, Inc.         DEPARTMENT OF TREASURY - IRS                    $37.51
           258000120 22-11258      Care Well Pharmacy, Inc.         FALSO CARTING CO INC                          $372.36
           258000160 22-11258      Care Well Pharmacy, Inc.         J.J.J. DISTRIBUTOR                            $116.98
           258000170 22-11258      Care Well Pharmacy, Inc.         JA CARPENTRY INC                            $16,638.00
           258000180 22-11258      Care Well Pharmacy, Inc.         JOURNEY MEDICAL CORPORATION                  $3,383.54
           258000190 22-11258      Care Well Pharmacy, Inc.         JPA                                          $1,137.50
           258000220 22-11258      Care Well Pharmacy, Inc.         MAYNE PHARMA                                  $698.40
           258000240 22-11258      Care Well Pharmacy, Inc.         MG SECURITY SERVICES LLC                    $11,635.43
           258000250 22-11258      Care Well Pharmacy, Inc.         MICRO MERCHANT SYSTEMS INC                    $261.88
           258000270 22-11258      Care Well Pharmacy, Inc.         NEW YORK CITY WATER BOARD                     $112.15
 Epiq 12             22-11258      Care Well Pharmacy, Inc.         NY STATE DEPT OF TAXATION AND FINANCE          $283.45
           258000280 22-11258      Care Well Pharmacy, Inc.         ORKIN EXTERMINATING CO                          $93.00
           258000300 22-11258      Care Well Pharmacy, Inc.         ROBINSON+COLE                                $1,746.00
           258000310 22-11258      Care Well Pharmacy, Inc.         RRAM SERVICES                                $1,283.00
           258000320 22-11258      Care Well Pharmacy, Inc.         SAFEWATCH INC                                 $669.58
           258000330 22-11258      Care Well Pharmacy, Inc.         SETTLEMENT HEALTH & MEDICAL SERVICES         $7,698.84
           258000350 22-11258      Care Well Pharmacy, Inc.         TIME WARNER CABLE (5582)                      $588.72
Court 5-1               22-11258 Care Well Pharmacy, Inc.           NY STATE DEPT OF TAXATION AND FINANCE         $283.45

            259000010   22-11259   Grubbs Care Pharmacy NW Inc.     340B TECHNOLOGIES INC                         $240.00
            259000020   22-11259   Grubbs Care Pharmacy NW Inc.     ADP                                             $78.82
            259000030   22-11259   Grubbs Care Pharmacy NW Inc.     AMAZON BUSINESS                              $2,631.09
            259000040   22-11259   Grubbs Care Pharmacy NW Inc.     ANDA, INC.                                  $35,626.60
            259000060   22-11259   Grubbs Care Pharmacy NW Inc.     ANSWERHERO, LLC                               $177.67
            259000070   22-11259   Grubbs Care Pharmacy NW Inc.     BRINCO MECHANICAL MGMT SERVICES               $421.88
            259000080   22-11259   Grubbs Care Pharmacy NW Inc.     CDW DIRECT                                   $1,065.79
            259000090   22-11259   Grubbs Care Pharmacy NW Inc.     COMCAST (0071)                                $246.81
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Epiq 20275               22-11259 Grubbs Care Pharmacy NW Inc.     COMPTROLLER OF THE TREASURY                     $741.00

Epiq 20210               22-11259   Grubbs Care Pharmacy NW Inc.   CORPORATION SERVICE COMPANY                    $450.00
             259000100   22-11259   Grubbs Care Pharmacy NW Inc.   CSC (4736)                                    $1,650.12
             259000130   22-11259   Grubbs Care Pharmacy NW Inc.   FEDEX                                            $78.39
             259000140   22-11259   Grubbs Care Pharmacy NW Inc.   GOOD FRIENDS WASTE MANAGEMENT LLC              $200.00
             259000200   22-11259   Grubbs Care Pharmacy NW Inc.   MAY KEE                                       $6,407.50

Epiq 20196               22-11259   Grubbs Care Pharmacy NW Inc.   OMNISYS LLC                                    $879.72
             259000240   22-11259   Grubbs Care Pharmacy NW Inc.   PEPCO (9410)                                   $203.39
             259000250   22-11259   Grubbs Care Pharmacy NW Inc.   PIONEERRX PHARMACY SOFTWARE                    $235.80
             259000270   22-11259   Grubbs Care Pharmacy NW Inc.   RRAM SERVICES                                  $750.00
             259000280   22-11259   Grubbs Care Pharmacy NW Inc.   SEQIRUS                                       $4,223.51
             259000290   22-11259   Grubbs Care Pharmacy NW Inc.   SIGNAGE SOLUTIONS CORPORATION                $12,807.00
             259000310   22-11259   Grubbs Care Pharmacy NW Inc.   STERICYCLE INC                                 $109.00
             259000320   22-11259   Grubbs Care Pharmacy NW Inc.   TAYLOR COMMUNICATIONS INC                      $193.96
             259000340   22-11259   Grubbs Care Pharmacy NW Inc.   THE SPECIAL INTEREST GROUP FOR IIAS STAN       $100.00
             259000380   22-11259   Grubbs Care Pharmacy NW Inc.   WASHINGTON GAS                                   $59.21

             260000010 22-11260 Marg Pharmacy, Inc.                40 WEST MAIN ST. LLC                         $11,024.17

Epiq 20245               22-11260   Marg Pharmacy, Inc.            40 WEST MAIN STREET LLC                     $162,507.46
             260000030   22-11260   Marg Pharmacy, Inc.            ACTIVE DISPOSAL SERVICE INC                    $110.25
             260000040   22-11260   Marg Pharmacy, Inc.            AMAZON BUSINESS                               $2,784.79
             260000050   22-11260   Marg Pharmacy, Inc.            ANDA INC                                    $124,358.95
             260000060   22-11260   Marg Pharmacy, Inc.            ASSOCIATED COURIERS, LLC                      $7,220.69

Epiq 20040             22-11260     Marg Pharmacy, Inc.            BLUE VISTA LLC                                $40,942.92
             260000070 22-11260     Marg Pharmacy, Inc.            BOSS FACILITY SERVICES INC                      $346.53
             260000080 22-11260     Marg Pharmacy, Inc.            BRINCO MECHANICAL MGMT SERVICES                 $421.17
             260000090 22-11260     Marg Pharmacy, Inc.            BUDDIES OF NEW JERSEY INC                     $14,017.37
             260000100 22-11260     Marg Pharmacy, Inc.            CARDINAL HEALTH LLC                        $2,018,173.24
             260000110 22-11260     Marg Pharmacy, Inc.            CARWIN PHARMACEUTICAL ASSOCIATES LLC           $2,557.92
             260000120 22-11260     Marg Pharmacy, Inc.            CLIA LABORATORY PROGRAM                         $180.00
             260000130 22-11260     Marg Pharmacy, Inc.            CURASCRIPT SD                                 $35,026.90
 Epiq 36               22-11260     Marg Pharmacy, Inc.            DEPARTMENT OF TREASURY - IRS                      $59.79
             260000160 22-11260     Marg Pharmacy, Inc.            GENEFORCE INCORPORATED                         $5,439.00
             260000190 22-11260     Marg Pharmacy, Inc.            HAIG SERVICE CORPORATION                        $815.67
             260000210 22-11260     Marg Pharmacy, Inc.            JG PHARMA INC                                  $1,529.82
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             260000220   22-11260   Marg Pharmacy, Inc.         JOURNEY MEDICAL CORPORATION                $69,869.97
             260000230   22-11260   Marg Pharmacy, Inc.         KENNETH PARK ARCHITECT PLLC                $13,260.00
             260000250   22-11260   Marg Pharmacy, Inc.         LITTLER MENDELSON P.C.                     $40,531.79
             260000260   22-11260   Marg Pharmacy, Inc.         MAYNE PHARMA                                 $748.73
             260000290   22-11260   Marg Pharmacy, Inc.         METROPOLITAN FAMILY HEALTH NETWORK, INC      $411.64
             260000300   22-11260   Marg Pharmacy, Inc.         MICRO MERCHANT SYSTEMS INC                  $3,701.09

Epiq 20002               22-11260 Marg Pharmacy, Inc.           MX LOGISTICS                               $16,652.31

Epiq 20184               22-11260   Marg Pharmacy, Inc.         NJ DEPT OF LABOR DIV OF EMP ACC                 $3.62
             260000310   22-11260   Marg Pharmacy, Inc.         NJDA                                         $250.00
             260000320   22-11260   Marg Pharmacy, Inc.         NORTH HUDSON COMMUNITY ACTION CORP         $10,209.20
             260000330   22-11260   Marg Pharmacy, Inc.         NOVABAY PHARMACEUTICALS, INC.               $4,568.00
             260000340   22-11260   Marg Pharmacy, Inc.         OMNISYS LLC                                  $207.64
             260000350   22-11260   Marg Pharmacy, Inc.         OPTIMUM (5021)                               $445.46
             260000360   22-11260   Marg Pharmacy, Inc.         ORKIN EXTERMINATING CO                         $83.00
             260000370   22-11260   Marg Pharmacy, Inc.         ORKIN, LLC                                   $249.51
             260000380   22-11260   Marg Pharmacy, Inc.         OSBORN FAMILY HEALTH CENTER                  $618.01
             260000390   22-11260   Marg Pharmacy, Inc.         PARATA SYSTEMS, LLC                        $10,875.75
             260000410   22-11260   Marg Pharmacy, Inc.         ROBINSON+COLE                                $683.00
             260000420   22-11260   Marg Pharmacy, Inc.         RRAM SERVICES                               $1,208.26
             260000430   22-11260   Marg Pharmacy, Inc.         SAFEWATCH INC                                $146.98
             260000440   22-11260   Marg Pharmacy, Inc.         SAINT JAMES HEALTH INC.                    $16,494.54
             260000450   22-11260   Marg Pharmacy, Inc.         SEQIRUS                                     $4,223.51
             260000460   22-11260   Marg Pharmacy, Inc.         SERVICE EXPERTS NJ                          $2,606.98
             260000470   22-11260   Marg Pharmacy, Inc.         SHRED-IT                                    $1,530.29
             260000490   22-11260   Marg Pharmacy, Inc.         STERICYCLE INC                               $327.00
             260000510   22-11260   Marg Pharmacy, Inc.         ULINE (5289)                                 $399.65
             260000520   22-11260   Marg Pharmacy, Inc.         VERIZON (0142)                               $577.55
             260000530   22-11260   Marg Pharmacy, Inc.         VERIZON (0154)                               $459.99
             260000540   22-11260   Marg Pharmacy, Inc.         VERIZON (0164)                               $910.30
             260000550   22-11260   Marg Pharmacy, Inc.         VISTA VISUAL GROUP                          $9,437.05
             260000580   22-11260   Marg Pharmacy, Inc.         ZUFALL HEALTH CENTER INC.                 $229,513.65

             261000020   22-11261   Medly Atlanta Inc.          1688 INVESTMENT GROUP LLC                   $7,864.24
             261000030   22-11261   Medly Atlanta Inc.          ACC BUSINESS                                 $617.79
             261000040   22-11261   Medly Atlanta Inc.          AMAZON BUSINESS                             $3,388.33
             261000050   22-11261   Medly Atlanta Inc.          ANDA INC                                  $123,384.24
             261000060   22-11261   Medly Atlanta Inc.          CARDINAL HEALTH LLC                       $231,896.65
             261000070   22-11261   Medly Atlanta Inc.          CDW DIRECT                                   $545.46
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             261000080   22-11261   Medly Atlanta Inc.           COMCAST (0580)                           $251.63
             261000090   22-11261   Medly Atlanta Inc.           CSC (4736)                               $300.03
             261000100   22-11261   Medly Atlanta Inc.           CURASCRIPT SD                              $33.68
             261000130   22-11261   Medly Atlanta Inc.           GENEFORCE INCORPORATED                  $5,439.00
             261000180   22-11261   Medly Atlanta Inc.           MAYNE PHARMA                               $34.92
             261000200   22-11261   Medly Atlanta Inc.           MICRO MERCHANT SYSTEMS INC               $706.57
             261000210   22-11261   Medly Atlanta Inc.           OPERATIONAL TECHNOLOGY, LLC              $502.00
             261000220   22-11261   Medly Atlanta Inc.           ORKIN EXTERMINATING CO                     $83.00
             261000240   22-11261   Medly Atlanta Inc.           SEQIRUS                                 $4,223.51
             261000260   22-11261   Medly Atlanta Inc.           STERICYCLE INC                           $105.00

             263000010 22-11263 Medly Baltimore Inc.             300 ST PAUL PLACE TENANT LLC           $11,845.00

Epiq 20150               22-11263   Medly Baltimore Inc.         300 ST PAUL PLACE TENANT LLC          $271,404.20
             263000030   22-11263   Medly Baltimore Inc.         340B TECHNOLOGIES INC                      $80.00
             263000040   22-11263   Medly Baltimore Inc.         AMAZON BUSINESS                         $2,601.10
             263000050   22-11263   Medly Baltimore Inc.         ANDA INC                              $137,496.04
             263000060   22-11263   Medly Baltimore Inc.         ASSOCIATED COURIERS, LLC                 $230.70
             263000070   22-11263   Medly Baltimore Inc.         CARDINAL HEALTH LLC                   $726,162.96
             263000080   22-11263   Medly Baltimore Inc.         COMMUNITY CLINIC INC                   $18,768.60
             263000090   22-11263   Medly Baltimore Inc.         CSC (4736)                               $300.03
             263000100   22-11263   Medly Baltimore Inc.         CURASCRIPT SD                          $39,697.16
             263000120   22-11263   Medly Baltimore Inc.         FEDEX                                      $75.24
             263000130   22-11263   Medly Baltimore Inc.         GENEFORCE INCORPORATED                  $5,439.00
             263000150   22-11263   Medly Baltimore Inc.         HUMANA                                 $20,080.52
             263000160   22-11263   Medly Baltimore Inc.         INDEPENDENT PHARMACY DISTRIBUTOR         $136.89
             263000170   22-11263   Medly Baltimore Inc.         LIFE SAFETY ENGINEERED SYSTEMS INC.      $502.50
             263000190   22-11263   Medly Baltimore Inc.         MARNEL PHARMACEUTICALS LLC               $630.00
             263000200   22-11263   Medly Baltimore Inc.         MAYNE PHARMA                            $5,420.16
             263000210   22-11263   Medly Baltimore Inc.         MG SECURITY SERVICES LLC               $11,439.12
             263000220   22-11263   Medly Baltimore Inc.         MICRO MERCHANT SYSTEMS INC              $1,239.84
             263000230   22-11263   Medly Baltimore Inc.         ORKIN EXTERMINATING CO                     $83.00
             263000240   22-11263   Medly Baltimore Inc.         POWERHOUSE RETAIL SERVICES LLC          $8,742.50
             263000250   22-11263   Medly Baltimore Inc.         QUANTUM TELECOMMUNICATIONS, INC.         $123.43
             263000260   22-11263   Medly Baltimore Inc.         RRAM SERVICES                           $3,473.37
             263000270   22-11263   Medly Baltimore Inc.         SEQIRUS                                 $8,857.55
             263000300   22-11263   Medly Baltimore Inc.         ULINE (5289)                            $2,858.06
             263000310   22-11263   Medly Baltimore Inc.         VERIZON (6052)                          $1,211.24
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Epiq 20281               22-11265 Medly Bedford Ave Pharmacy Inc.   SLG GRAYBAR MESNE LEASE LLC        $42,223.24

             268000010   22-11268   Medly Bristol Inc.              AMAZON BUSINESS                     $4,533.57
             268000020   22-11268   Medly Bristol Inc.              CARDINAL HEALTH LLC                 $4,824.73
             268000030   22-11268   Medly Bristol Inc.              CSC (4736)                           $300.03
             268000110   22-11268   Medly Bristol Inc.              MICRO MERCHANT SYSTEMS INC           $463.40
             268000130   22-11268   Medly Bristol Inc.              SAFEWATCH INC                        $146.98
             268000150   22-11268   Medly Bristol Inc.              STERICYCLE INC                       $221.27
             268000170   22-11268   Medly Bristol Inc.              UNIWEB INC.                         $1,242.83

             269000010   22-11269   Medly Bronx Inc.                AMAZON BUSINESS                     $6,964.48
             269000020   22-11269   Medly Bronx Inc.                BOSS FACILITY SERVICES INC           $404.47
             269000030   22-11269   Medly Bronx Inc.                BRINCO MECHANICAL MGMT SERVICES      $653.25
             269000040   22-11269   Medly Bronx Inc.                CONEDISON (0102)                    $4,526.27
             269000050   22-11269   Medly Bronx Inc.                CORNELL STOREFRONT                   $188.12

Epiq 20211               22-11269   Medly Bronx Inc.                CORPORATION SERVICE COMPANY          $194.00
             269000060   22-11269   Medly Bronx Inc.                CSC (4736)                           $194.00
             269000120   22-11269   Medly Bronx Inc.                INSTAKEY SECURITY SYSTEMS INC.      $1,636.66
             269000130   22-11269   Medly Bronx Inc.                J.J.J. DISTRIBUTOR                   $578.20
             269000160   22-11269   Medly Bronx Inc.                MICRO MERCHANT SYSTEMS INC             $60.05
             269000180   22-11269   Medly Bronx Inc.                ROYAL WASTE SERVICES, INC.           $156.78
             269000200   22-11269   Medly Bronx Inc.                RRAM SERVICES                        $343.75
             269000210   22-11269   Medly Bronx Inc.                SAFEWATCH INC                        $146.98
             269000220   22-11269   Medly Bronx Inc.                SEQIRUS                             $4,223.51
             269000240   22-11269   Medly Bronx Inc.                STERICYCLE INC                       $240.90

             272000010   22-11272   Medly Chicago Inc.              ACC BUSINESS                        $1,217.32
             272000020   22-11272   Medly Chicago Inc.              AMAZON BUSINESS                      $500.81
             272000030   22-11272   Medly Chicago Inc.              BOSS FACILITY SERVICES INC           $771.88
             272000040   22-11272   Medly Chicago Inc.              BRINCO MECHANICAL MGMT SERVICES      $464.64
             272000050   22-11272   Medly Chicago Inc.              CDW DIRECT                          $2,027.20
             272000060   22-11272   Medly Chicago Inc.              COMCAST BUSINESS (4607)              $176.95
             272000070   22-11272   Medly Chicago Inc.              COMED (3223)                         $410.83
             272000080   22-11272   Medly Chicago Inc.              CSC (4736)                           $300.03
             272000160   22-11272   Medly Chicago Inc.              MG SECURITY SERVICES LLC           $19,619.08
             272000170   22-11272   Medly Chicago Inc.              MICRO MERCHANT SYSTEMS INC              $6.75
             272000180   22-11272   Medly Chicago Inc.              ORKIN EXTERMINATING CO               $283.00
             272000210   22-11272   Medly Chicago Inc.              SEQIRUS                             $4,223.51
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             272000230 22-11272 Medly Chicago Inc.                   STERICYCLE INC                                    $112.32

             273000010 22-11273 Medly Dallas Inc.                    AMERISOURCEBERGEN (4081)                        $23,398.69

Epiq 20290               22-11273 Medly Dallas Inc.                  RELIANT ENERGY RETAIL SERVICES LLC                $577.68
 Epiq 64                 22-11273 Medly Dallas Inc.                  TEXAS COMPTROLLER OF PUBLIC ACCOUNTS               $50.00

 Epiq 102              22-11276 Medly DC Inc.                        COMMONWEALTH OF VIRGINIA                            $30.00
             276000030 22-11276 Medly DC Inc.                        GENEFORCE INCORPORATED                           $5,526.00


Epiq 20149               22-11262 Medly Enterprise LLC               THRESHOLD ENTERPRISES                           $46,913.30

             266000010   22-11266   Medly Grand Central Inc.         ACTION ENVIRONMENTAL SERVICES                     $922.64
             266000020   22-11266   Medly Grand Central Inc.         AMAZON BUSINESS                                  $1,612.08
             266000030   22-11266   Medly Grand Central Inc.         BRINCO MECHANICAL MGMT SERVICES                   $653.25
             266000040   22-11266   Medly Grand Central Inc.         CORNELL STOREFRONT                               $1,278.85
             266000050   22-11266   Medly Grand Central Inc.         CSC (4736)                                        $300.03
             266000110   22-11266   Medly Grand Central Inc.         JA CARPENTRY INC                               $185,708.07
             266000120   22-11266   Medly Grand Central Inc.         LIDO LIGHTING, INC.                              $2,977.08
             266000140   22-11266   Medly Grand Central Inc.         MICRO MERCHANT SYSTEMS INC                        $107.23
             266000150   22-11266   Medly Grand Central Inc.         MILROSE CONSULTANTS LLC                          $1,675.00
 Epiq 111                22-11266   Medly Grand Central Inc.         NY STATE DEPT OF TAXATION AND FINANCE            $1,000.00
             266000160   22-11266   Medly Grand Central Inc.         ORKIN EXTERMINATING CO                              $93.00
             266000180   22-11266   Medly Grand Central Inc.         RUGGLES SIGN                                    $13,553.14
             266000190   22-11266   Medly Grand Central Inc.         SAFEWATCH INC                                     $528.04
             266000200   22-11266   Medly Grand Central Inc.         SEQIRUS                                          $4,223.51
             266000210   22-11266   Medly Grand Central Inc.         SIGNAGE SOLUTIONS CORPORATION                   $20,040.58
             266000230   22-11266   Medly Grand Central Inc.         SL GREEN REALTY CORP.                           $44,343.12
             266000250   22-11266   Medly Grand Central Inc.         STERICYCLE INC                                    $244.51
             266000260   22-11266   Medly Grand Central Inc.         TIME WARNER CABLE (8901)                          $143.45
             266000280   22-11266   Medly Grand Central Inc.         UNIWEB INC.                                         $16.35
             266000290   22-11266   Medly Grand Central Inc.         VISTA VISUAL GROUP                              $10,889.51
Court 4-1                22-11266   Medly Grand Central Inc.         SLG Graybar Mesne Lease LLC                     $83,219.84
Court 5-1                22-11266   Medly Grand Central Inc.         NY State Deparatment of Taxation and Finance     $1,000.00

             257000030 22-11257 Medly Health Inc.                    ACCORIAN                                         $4,250.00
             257000040 22-11257 Medly Health Inc.                    ADELE NADEL                                       $780.84
 Epiq 95               22-11257 Medly Health Inc.                    ADOBE INC                                       $83,022.64
             257000050 22-11257 Medly Health Inc.                    AFLAC                                             $250.34
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Epiq 20029             22-11257 Medly Health Inc.            ALCHIMIE FOREVER LLC                         $12,075.89
             257000060 22-11257 Medly Health Inc.            ALIXPARTNERS LLP                            $191,016.42

Epiq 20162 257000070    22-11257   Medly Health Inc.         ALVAREZ & MARSAL TRANSACTION ADVISORY GR    $167,900.00
           257000080    22-11257   Medly Health Inc.         AMAZON BUSINESS                               $10,966.56
 Epiq 113               22-11257   Medly Health Inc.         AMBER BATH LLC                                  $441.50
           257000090    22-11257   Medly Health Inc.         AMETHYST CONSULTING & SERVICES                 $6,825.00
Epiq 20172              22-11257   Medly Health Inc.         ANDA INC                                   $1,453,864.70
           257000120    22-11257   Medly Health Inc.         ANDELA, INC.                                   $2,200.00
           257000130    22-11257   Medly Health Inc.         ANNE WERBER MD                                    $15.92
           257000140    22-11257   Medly Health Inc.         ANRO INC.                                   $246,891.85
           257000150    22-11257   Medly Health Inc.         APPLE INC                                      $5,470.97
           257000160    22-11257   Medly Health Inc.         ASPIRE TECHNOLOGY PARTNERS, LLC               $91,437.45

Epiq 20000             22-11257 Medly Health Inc.            ATELIER VULCAN INC                           $82,712.76
             257000170 22-11257 Medly Health Inc.            AVTEX SOLUTIONS LLC                         $232,611.12
             257000180 22-11257 Medly Health Inc.            AXIS PROMOTIONS                              $17,867.39
             257000190 22-11257 Medly Health Inc.            BAIRESDEV LLC                                $44,145.00

Epiq 20243              22-11257 Medly Health Inc.           BEAUTORIUM LLC                               $92,293.38

Epiq 20282              22-11257 Medly Health Inc.           BEE LUCIA CO                                  $7,584.00

Epiq 20016 284000620 22-11257 Medly Health Inc.              BODYBIO INC                                  $61,369.83

Epiq 20065              22-11257 Medly Health Inc.           BONOMO, JEFFREY                             $154,162.50

Epiq 20081              22-11257 Medly Health Inc.           BOODY NORTH AMERICA                         $144,866.70

Epiq 20159             22-11257 Medly Health Inc.            BOSS FACILITY SERVICES INC                   $26,641.33
             257000200 22-11257 Medly Health Inc.            BRINKS INCORPORATED                           $7,864.94
             257000210 22-11257 Medly Health Inc.            CBT NUGGETS                                   $2,396.00
 Epiq 68               22-11257 Medly Health Inc.            CDW DIRECT LLC                              $218,865.83
 Epiq 29               22-11257 Medly Health Inc.            CFGI LLC                                     $67,900.00
             257000240 22-11257 Medly Health Inc.            CISCO SYSTEMS CAPITAL CORP                    $8,034.34
             257000250 22-11257 Medly Health Inc.            CODAL INC                                     $1,239.60
             257000260 22-11257 Medly Health Inc.            COGNIRA, LLC                                 $26,620.00

Epiq 20124              22-11257 Medly Health Inc.           COMMONWEALTH EDISON COMPANY                   $1,924.17
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 Epiq 101               22-11257 Medly Health Inc.           COMMONWEALTH OF VIRGINIA                      $38.72

Epiq 20274              22-11257 Medly Health Inc.           COMPTROLLER OF THE TREASURY                  $565.00

Epiq 20042             22-11257 Medly Health Inc.            CONSOLIDATED EDISON COMPANY OF NEW YORK     $2,482.68
             257000270 22-11257 Medly Health Inc.            CONTEMPORARY LEADERSHIP ADVISORS, LLC        $605.00

Epiq 20109              22-11257 Medly Health Inc.           COOLA LLC                                  $27,927.02

Epiq 20238              22-11257 Medly Health Inc.           COOLEY LLP                                $156,738.76

Epiq 20212              22-11257 Medly Health Inc.           CORPORATION SERVICE COMPANY                  $561.05

Epiq 20120             22-11257 Medly Health Inc.            COUNTY OF SONOMA                               $92.00
             257000290 22-11257 Medly Health Inc.            CSC (4736)                                 $10,602.07

Epiq 20287             22-11257 Medly Health Inc.            CT CORPORATION                               $926.00
             257000300 22-11257 Medly Health Inc.            CULTURE AMP INC.                           $12,851.35

Epiq 20052 284001280 22-11257 Medly Health Inc.              CURE INC                                    $4,705.80

Epiq 20053             22-11257 Medly Health Inc.            CUSTOM GROUP OF COMPANIES INC              $62,980.25
             257000310 22-11257 Medly Health Inc.            CXPERTS                                    $34,204.96

Epiq 20020              22-11257 Medly Health Inc.           DASTON CORPORATION, THE                    $68,620.43

Epiq 20156 284001340    22-11257   Medly Health Inc.         DATADOME INC                               $34,086.00
           257000320    22-11257   Medly Health Inc.         DATSON CORPORATION                         $57,354.47
           257000330    22-11257   Medly Health Inc.         DEGREE INC DBA LATTICE                     $29,702.46
 Epiq 33                22-11257   Medly Health Inc.         DEPARTMENT OF TREASURY - IRS                $1,341.48

Epiq 20115              22-11257 Medly Health Inc.           DUER, ROBERT                                $3,016.85

Epiq 20085              22-11257 Medly Health Inc.           EARTHLITE LLC                              $13,394.37
  Epiq 8                22-11257 Medly Health Inc.           EDWARD C STAHL TRAVEL ADVISORS             $15,150.00

Epiq 20236             22-11257 Medly Health Inc.            EHRLICH                                      $642.36
             257000370 22-11257 Medly Health Inc.            ELSEVIER INC                               $49,564.26

Epiq 20103              22-11257 Medly Health Inc.           EMERSON HEALTHCARE                         $31,406.16
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Epiq 20004             22-11257 Medly Health Inc.             ETHICALXCHANGE                        $12,904.00
             257000380 22-11257 Medly Health Inc.             ETON VENTURE SERVICES                  $7,000.00
 Epiq 19               22-11257 Medly Health Inc.             EULER HERMES AGENT FOR SUN BUM LLC    $47,064.66

Epiq 20207               22-11257   Medly Health Inc.         EURO PHARMA INC                      $165,301.72
             257000390   22-11257   Medly Health Inc.         EVE LOWE                                  $54.56
             257000420   22-11257   Medly Health Inc.         FEDEX                                 $25,104.00
             257000430   22-11257   Medly Health Inc.         FIGG, INC.                            $10,665.82
             257000440   22-11257   Medly Health Inc.         FIGMA                                  $1,894.43
             257000450   22-11257   Medly Health Inc.         FIVE -TOWN HEALTH ALLIANCE INC         $1,027.17
             257000460   22-11257   Medly Health Inc.         FLIPMODE INC                           $2,500.00

Epiq 20101             22-11257 Medly Health Inc.             FRAN'S CHOCOLATES LTD                 $31,897.17
             257000470 22-11257 Medly Health Inc.             FRIER & LEVITT LLC                        $41.97
             257000480 22-11257 Medly Health Inc.             FUNCTIONAL SOFTWARE INC                $4,450.81

Epiq 20014             22-11257 Medly Health Inc.             GARDEN OF LIFE LLC                   $428,213.22
             257000490 22-11257 Medly Health Inc.             GITHUB                                 $1,944.40
             257000500 22-11257 Medly Health Inc.             GLOBAL LANGUAGE                       $10,659.00

Epiq 20163           22-11257 Medly Health Inc.               GOODLIGHT NATURAL CANDLES             $22,717.00
 Epiq 22   257000510 22-11257 Medly Health Inc.               GORDON FEINBLATT LLC                   $9,170.99
           257000520 22-11257 Medly Health Inc.               GREENHOUSE SOFTWARE, INC              $26,089.85

Epiq 20121               22-11257 Medly Health Inc.           GROWVE                                $52,814.01

Epiq 20036 257000550 22-11257 Medly Health Inc.               HAMILTON BROOK SMITH & REYNOLDS PC    $60,309.00

Epiq 20204               22-11257 Medly Health Inc.           HARTFORD FIRE INSURANCE COMPANY            $0.00

Epiq 20179             22-11257 Medly Health Inc.             HEALTHJUMP INC                        $12,348.90
             257000560 22-11257 Medly Health Inc.             HEAP INC                             $152,317.38

Epiq 20058             22-11257 Medly Health Inc.             HERB PHARM LLC                        $57,227.56
             257000570 22-11257 Medly Health Inc.             HIRERIGHT, LLC                         $5,572.80

Epiq 20137             22-11257 Medly Health Inc.             HUSAIN, SYED                         $855,833.00
             257000590 22-11257 Medly Health Inc.             IDAHO DEPT. OF LABOR                      $78.84
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Epiq 20257              22-11257 Medly Health Inc.           IDAHO STATE TAX COMMISSION              $2,388.90

Epiq 20276             22-11257 Medly Health Inc.            IDAHO STATE TAX COMMISSION              $1,678.90
             257000660 22-11257 Medly Health Inc.            INCENDIUM STRATEGIES LLC                $4,000.00
             257000670 22-11257 Medly Health Inc.            INDEED INC.                            $12,708.03
  Epiq 3               22-11257 Medly Health Inc.            INDIGO HANDLOOM INC                    $21,454.00
             257000680 22-11257 Medly Health Inc.            INSTAKEY SECURITY SYSTEMS INC              $40.35
             257000690 22-11257 Medly Health Inc.            JA CARPENTRY INC                       $20,261.18
             257000700 22-11257 Medly Health Inc.            JACK NADEL INTERNATIONAL               $27,370.95
 Epiq 106              22-11257 Medly Health Inc.            JACKSON LEWIS PC                       $25,641.57

Epiq 20098             22-11257 Medly Health Inc.            JARROW FORMULAS INC                   $294,808.31
             257000710 22-11257 Medly Health Inc.            JOAN ISAACS                             $1,227.15

Epiq 20209              22-11257 Medly Health Inc.           JOB STORE STAFFING                     $31,274.29

Epiq 20168              22-11257 Medly Health Inc.           JOYYA US PBC                            $9,430.00

Epiq 20055             22-11257 Medly Health Inc.            JURLIQUE HOLISTIC SKINCARE INC         $73,287.59
             257000730 22-11257 Medly Health Inc.            KATON PARTNERS LLC                     $23,097.29

Epiq 20263             22-11257 Medly Health Inc.            KENNETH PARK ARCHITECT PLLC           $245,074.23
 Epiq 30               22-11257 Medly Health Inc.            KODIAK ISLAND HEALTHCARE FOUNDATION   $201,940.07
             257000740 22-11257 Medly Health Inc.            KORN FERRY (US)                       $112,000.00

Epiq 20138              22-11257   Medly Health Inc.         KSL-FM RADIO                            $4,925.00
 Epiq 32                22-11257   Medly Health Inc.         LAGO BELLO LLC                         $30,213.32
  Epiq 9                22-11257   Medly Health Inc.         LANE POWELL PC                         $12,025.00
 Epiq 15                22-11257   Medly Health Inc.         LEVEL 3 COMMUNICATIONS LLC              $3,887.20

Epiq 20024             22-11257 Medly Health Inc.            LIFT CHOCOLATE INC                      $8,525.48
             257000760 22-11257 Medly Health Inc.            LINKEDIN                              $273,333.15
             257000770 22-11257 Medly Health Inc.            LITCHFIELD CAVO LLP                     $1,236.92
 Epiq 96               22-11257 Medly Health Inc.            LITTLER MENDELSON PC                   $47,184.29
 Epiq 97               22-11257 Medly Health Inc.            LITTLER MENDELSON PC                   $65,033.99
             257000780 22-11257 Medly Health Inc.            LOFT, LLC                              $30,366.87
             257000790 22-11257 Medly Health Inc.            LOIS BROWN                               $823.57

Epiq 20152              22-11257 Medly Health Inc.           LOUISIANA DEPARTMENT OF REVENUE         $8,065.58
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Epiq 20061             22-11257   Medly Health Inc.         LOVE SUN BODY INC                             $6,652.68
 Epiq 109              22-11257   Medly Health Inc.         LOWELL T PATTON TR & PATTON FAM REV TR       $92,420.45
             257000800 22-11257   Medly Health Inc.         LUCID SOFTWARE INC.                            $203.82
             257000810 22-11257   Medly Health Inc.         MAGENTO, INC.                                $83,022.64
  Epiq 6               22-11257   Medly Health Inc.         MASSACHUSETTS DEPARTMENT OF REVENUE           $2,324.72
  Epiq 7               22-11257   Medly Health Inc.         MASSACHUSETTS DEPARTMENT OF REVENUE               $0.00

Epiq 20090             22-11257 Medly Health Inc.           MD SOLARSCIENCES CORP                        $54,342.06
             257000840 22-11257 Medly Health Inc.           MEDPOINT, LLC                                  $763.75
             257000850 22-11257 Medly Health Inc.           MICRO MERCHANT SYSTEMS                      $130,000.00
             257000870 22-11257 Medly Health Inc.           MINTZ, LEVIN, COHN, FERRIS, GLOVSKY & PO    $233,200.39

Epiq 20171             22-11257 Medly Health Inc.           MMP SOLUTIONS                                   $614.94
             257000880 22-11257 Medly Health Inc.           MOOD MEDIA                                        $17.53
             257000890 22-11257 Medly Health Inc.           MORGAN LEWIS & BOCKIUS LLP                 $1,063,361.26
             257000900 22-11257 Medly Health Inc.           MOTUS LLC                                      $5,151.53

Epiq 20194             22-11257 Medly Health Inc.           MUCHILA HOLDINGS LTD                            $387.17
             257000910 22-11257 Medly Health Inc.           MUNICIPAL BUILDING CONSULTANTS, INC.            $450.00

Epiq 20273             22-11257 Medly Health Inc.           NANTUCKET SPIDER LLC                          $5,403.48
             257000930 22-11257 Medly Health Inc.           NATIONAL GRID (4783)                             $45.57
             257000940 22-11257 Medly Health Inc.           NATIONWIDE SCREENING SERVICES LLC            $12,248.40

Epiq 20035             22-11257   Medly Health Inc.         NATURAL IMMUNOGENICS CORP                    $28,961.38
             257000950 22-11257   Medly Health Inc.         NAVEX GLOBAL INC                              $5,230.00
 Epiq 65               22-11257   Medly Health Inc.         NM TAXATION & REVENUE DEPARTMENT                  $2.60
 Epiq 107              22-11257   Medly Health Inc.         NY STATE DEPT OF TAXATION AND FINANCE        $15,768.60

Epiq 20195             22-11257 Medly Health Inc.           OMNISYS LLC                                    $451.26
             257000970 22-11257 Medly Health Inc.           ON POINT ENGINEERING                          $8,000.00
             257000980 22-11257 Medly Health Inc.           OPTIMIZERX CORPORATION                       $15,000.00
             257000990 22-11257 Medly Health Inc.           ORDER DESIGN, LLC                            $52,500.00
  Epiq 2               22-11257 Medly Health Inc.           PARA'KITO USA CORP                           $10,107.08

Epiq 20143              22-11257 Medly Health Inc.          PAROLINE & ASSOCIATES                         $3,982.04

Epiq 20239              22-11257 Medly Health Inc.          PARTICLE HEALTH INC                           $3,500.00
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Epiq 20127              22-11257 Medly Health Inc.          PEAK PERFORMANCE PARTNERS LLC           $45,000.00

Epiq 20268              22-11257 Medly Health Inc.          PEARTREE APOTHECARY                      $1,125.00

Epiq 20102             22-11257 Medly Health Inc.           PEYRE, JEAN-CHRISTOPHE                 $758,817.47
             257001030 22-11257 Medly Health Inc.           PINEAPPLE GROUP LLC                      $9,275.86
             257001040 22-11257 Medly Health Inc.           PLAN LEFT LLC                           $37,996.90

Epiq 20028              22-11257 Medly Health Inc.          PLUME COSMETICS INC                     $11,624.04

Epiq 20021             22-11257 Medly Health Inc.           PUBLIC SERVICE COMPANY OF NEW MEXICO     $1,010.24
             257001060 22-11257 Medly Health Inc.           QLIKTECH INC                            $51,242.67

Epiq 20125              22-11257 Medly Health Inc.          QOL LABS LLC                            $11,923.19

Epiq 20027             22-11257 Medly Health Inc.           QUAGGA ACCESSORIES LLC                   $8,770.80
             257001070 22-11257 Medly Health Inc.           QUALTRICS, LLC                         $136,566.12
 Epiq 26               22-11257 Medly Health Inc.           QUANTUM TELECOMMUNICATIONS INC            $246.77

Epiq 20046             22-11257 Medly Health Inc.           REGENCY PROTECTION SERVICES              $1,440.00
             257001080 22-11257 Medly Health Inc.           RELAYHEALTH                             $10,273.97
             257001090 22-11257 Medly Health Inc.           RELEX SOLUTIONS, INC.                    $3,538.96
             257001100 22-11257 Medly Health Inc.           RITA CHOTINER                               $27.86

Epiq 20080              22-11257 Medly Health Inc.          RMS ORGANICS LLC                        $14,212.72

Epiq 20030              22-11257 Medly Health Inc.          ROSENTHAL & ROSENTHAL INC               $13,862.22

Epiq 20093              22-11257 Medly Health Inc.          RUGGLES SIGN                            $97,362.80

Epiq 20267             22-11257 Medly Health Inc.           S WALTER PACKAGING CORP                $102,351.75
             257001120 22-11257 Medly Health Inc.           SAFEWATCH INC                             $650.00
             257001130 22-11257 Medly Health Inc.           SALESFORCE.COM INC                      $57,187.76

Epiq 20289              22-11257 Medly Health Inc.          SCALER DESIGN LLC                        $8,314.00

Epiq 20248             22-11257 Medly Health Inc.           SCOUT CURATED WEARS                      $7,686.54
             257001150 22-11257 Medly Health Inc.           SCRIPTCYCLE LLC                          $4,822.22
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Epiq 20225               22-11257 Medly Health Inc.           SEQIRUS USA INC                      $789,742.37

Epiq 20242               22-11257 Medly Health Inc.           SERGIO MANNINO LLC                    $11,000.00

Epiq 20200             22-11257 Medly Health Inc.             SERVICECHANNEL.COM INC                $18,376.45
             257001170 22-11257 Medly Health Inc.             SHRED-IT                              $15,772.27
             257001190 22-11257 Medly Health Inc.             SKYLINE ENGINEERING LLC                 $500.00

Epiq 20280               22-11257 Medly Health Inc.           SLG GRAYBAR MESNE LEASE LLC           $13,294.73

Epiq 20068               22-11257 Medly Health Inc.           SOYOUNG INC                             $340.65

Epiq 20073               22-11257 Medly Health Inc.           SOYOUNG INC                             $211.38

Epiq 20176               22-11257 Medly Health Inc.           SPECTRUM                                $443.75
 Epiq 104                22-11257 Medly Health Inc.           STERICYCLE INC                         $3,444.48

Epiq 20215               22-11257 Medly Health Inc.           TABLE MESA SHOPPING CENTER LLC       $369,541.75
 Epiq 21                 22-11257 Medly Health Inc.           TEAM AIR EXPRESS INC                   $3,635.51

Epiq 20135               22-11257   Medly Health Inc.         TESSERACT MEDICAL RESEARCH LLC         $5,882.82
             257001230   22-11257   Medly Health Inc.         THE CUSTOM GROUP OF COMPANIES         $33,840.00
             257001240   22-11257   Medly Health Inc.         THE HARTFORD (4805)                   $22,077.65
             257001250   22-11257   Medly Health Inc.         THE SPECIAL INTEREST GROUP              $100.00
             257001260   22-11257   Medly Health Inc.         THINK-CELL SOFTWARE GMBH                $650.64

Epiq 20083               22-11257 Medly Health Inc.           THORNE RESEARCH INC                  $230,624.30

Epiq 20205               22-11257 Medly Health Inc.           TOPBLOC LLC                           $26,651.32

Epiq 20094               22-11257 Medly Health Inc.           TOPCASHBACK USA INC                   $79,000.00

Epiq 20010               22-11257 Medly Health Inc.           TOTAL BEAUTY NETWORK (USA) INC        $97,848.21

Epiq 20026               22-11257 Medly Health Inc.           TRACE MINERALS                        $18,285.41

Epiq 20045               22-11257 Medly Health Inc.           TRACKMY SOLUTIONS INC                 $26,355.00

Epiq 20113               22-11257 Medly Health Inc.           TRILIPID RESEARCH INSTITUTE LLC        $5,853.70
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             257001290 22-11257 Medly Health Inc.             TUSK STRATEGIES                              $38,500.00
             257001300 22-11257 Medly Health Inc.             TWENTYEIGHT HEALTH                          $174,768.88
             257001310 22-11257 Medly Health Inc.             UNIT 9 LTD                                    $1,550.00
  Epiq 5               22-11257 Medly Health Inc.             UNIWEB INC                                  $551,664.41

Epiq 20038               22-11257 Medly Health Inc.           VALISURECL LLC                             $2,555,170.73

Epiq 20219               22-11257 Medly Health Inc.           VALUATION RESEARCH CORPORATION                $7,733.00

Epiq 20015               22-11257   Medly Health Inc.         VANTAGE RISK SPECIALTY INSURANCE COMPANY    $119,662.37
             257001330   22-11257   Medly Health Inc.         VELVETJOBS LLC                               $52,500.00
             257001340   22-11257   Medly Health Inc.         VERIZON (0133)                                 $296.44
             257001350   22-11257   Medly Health Inc.         VINCO MECHANICAL                             $13,652.94
             257001360   22-11257   Medly Health Inc.         VIRTRU CORPORATION                            $5,174.25

Epiq 20165             22-11257 Medly Health Inc.             VITANICA LLC                                 $37,473.23
             257001390 22-11257 Medly Health Inc.             VOYS SATER SEYMOUR & PEASE LLP                 $210.00
             257001400 22-11257 Medly Health Inc.             VSP INSURANCE CO. (CT)                        $1,443.83
             257001410 22-11257 Medly Health Inc.             WATERLOGIC AMERICAS LLC                       $2,018.28

Epiq 20059               22-11257 Medly Health Inc.           WEAR PACT LLC                                $37,150.25
 Epiq 76                 22-11257 Medly Health Inc.           WILKIN & GUTTENPLAN PC                       $48,887.25

Epiq 20262               22-11257 Medly Health Inc.           WISHGARDEN HERBS INC                         $34,525.20

Epiq 20271             22-11257     Medly Health Inc.         WORKDAY INC                                $2,587,475.47
 Epiq 105              22-11257     Medly Health Inc.         WORKERS COMPENSATION BOARD OF THE             $13,471.00
             257001440 22-11257     Medly Health Inc.         WORKRAMP INC                                  $35,799.50
             257001450 22-11257     Medly Health Inc.         XSI RETAIL PARTNERS                            $2,727.50

Epiq 20033               22-11257 Medly Health Inc.           YOTPO INC                                    $27,863.58

Epiq 20078             22-11257 Medly Health Inc.             YU-BE INC                                     $2,504.83
             257001460 22-11257 Medly Health Inc.             ZENDESK, INC                                $346,975.76
             257001470 22-11257 Medly Health Inc.             ZOOMINFO                                      $4,500.00

Epiq 20254               22-11257 Medly Health Inc.           ZUFALL HEALTH CENTER INC                    $226,340.39

Epiq 20104               22-11257 Medly Health Inc.           ZURICH AMERICAN INSURANCE                         $1.00
 Court 2-1               22-11257 Medly Health Inc.           Nelgroup Properties LLC                     $247,230.39
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Court 6-1              22-11257   Medly Health Inc.         Bel Aire Plaza LLC                                     $454,900.71
Court 7-1              22-11257   Medly Health Inc.         Michigan Department of Treasury                           $103.47
Court 8-1              22-11257   Medly Health Inc.         1222-24 Walnut Associates, L.P.                        $191,003.43
Court 10-1             22-11257   Medly Health Inc.         Papyrus-Recycled Greetings, Inc.                        $13,013.53
Court 11-1             22-11257   Medly Health Inc.         Rhode Island Division of Taxation                           $10.33
Court 12-1             22-11257   Medly Health Inc.         Tebo Partnership, LLP                                  $171,345.77
Court 14-1             22-11257   Medly Health Inc.         Workers compensation board of the                       $14,191.00
Court 17-1             22-11257   Medly Health Inc.         DC Gov't Office of Tax and Revenue                        $194.36
Court19-1              22-11257   Medly Health Inc.         TriplePoint Private Venture Credit Inc.             $25,778,212.66
Court 21-1             22-11257   Medly Health Inc.         TriplePoint Venture Growth BDC Corp.                $37,668,893.16
Court 22-1             22-11257   Medly Health Inc.         TriplePoint Capital LLC                             $24,407,185.89
Court 23-1             22-11257   Medly Health Inc.         rareESSENCE LLC                                          $8,915.76
Court25-1              22-11257   Medly Health Inc.         Barlean's Organic Oils, LLC                             $15,903.98
Court 26-1             22-11257   Medly Health Inc.         New Chapter Inc.                                       $426,026.08
Court27-1              22-11257   Medly Health Inc.         Pricetrace LLC                                           $1,720.56
Court 28-1             22-11257   Medly Health Inc.         BDO 961, L.C.                                          $242,390.02
Court 29-1             22-11257   Medly Health Inc.         The Republic of Tea                                     $23,282.38
Court 30-1             22-11257   Medly Health Inc.         New Wave Enviro Products, Inc.                           $5,846.69
Court 31-1             22-11257   Medly Health Inc.         Juice Beauty Inc.                                       $40,888.86
Court32-1              22-11257   Medly Health Inc.         Blue Sky Mining Company LLC                                $773.70
Court 33-1             22-11257   Medly Health Inc.         Jay Robb Enterprises, Inc.                              $56,545.14
Court 34-1             22-11257   Medly Health Inc.         Health Care Logistics                                    $3,880.16
Court 35-1             22-11257   Medly Health Inc.         Spectrum                                                 $1,333.25
Court 36-1             22-11257   Medly Health Inc.         N-ABLE SOLUTIONS ULC                                    $15,231.62
Court 37-1             22-11257   Medly Health Inc.         RTV Electronics                                           $685.47
Court 38-1             22-11257   Medly Health Inc.         Nelevid Corporatio                                    $159,811.00
Court 39-1             22-11257   Medly Health Inc.         ZS ASSOCIATES, INC.                                    $562,000.00
Court 40-1             22-11257   Medly Health Inc.         RUSSELL TOBIN AND ASSOCIATES LLC                        $11,994.00
Court 41-1             22-11257   Medly Health Inc.         Fungi Perfecti,LLC                                     $247,488.71
Court 42-1             22-11257   Medly Health Inc.         CONSOLIDATED EDISON COMPANY OF NEW YORK                 $55,359.50
Court 43-1             22-11257   Medly Health Inc.         TTEC Digital, LLC f/k/a Avtex Solutions, LLC           $397,451.44
Court 44-1             22-11257   Medly Health Inc.         Loami Nails LLC Catalyst Nails Supply LLC                $8,824.77
Court 45-1             22-11257   Medly Health Inc.         Cardinal Health 110, LLC/Cardinal Health 112, LLC    $9,621,999.46
Court 46-1             22-11257   Medly Health Inc.         Leader Drugstores Inc.                                 $140,098.11
Court 47-1             22-11257   Medly Health Inc.         RRAM Services                                           $46,191.00
Court 48-1             22-11257   Medly Health Inc.         Brooklyn Plaza Medical Center                           $75,983.00
Court 49-1             22-11257   Medly Health Inc.         IBSA Pharma Inc.                                       $277,833.62

             271000010 22-11271 Medly Houston Inc.          ACC BUSINESS                                             $622.59
             271000020 22-11271 Medly Houston Inc.          AMAZON BUSINESS                                        $11,387.83
             271000030 22-11271 Medly Houston Inc.          BRINCO MECHANICAL MANAGEMENT SERVICES IN                 $401.28
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           271000040   22-11271   Medly Houston Inc.             BRINCO MECHANICAL MGMT SERVICES               $401.28
           271000050   22-11271   Medly Houston Inc.             CSC (4736)                                    $300.03
           271000080   22-11271   Medly Houston Inc.             FESTIVAL PROPERTIES INC                     $15,106.66
           271000140   22-11271   Medly Houston Inc.             MICRO MERCHANT SYSTEMS INC                      $15.25
           271000150   22-11271   Medly Houston Inc.             OPTUMRX                                      $1,500.00
 Epiq
20291                22-11271 Medly Houston Inc.                 RELIANT ENERGY RETAIL SERVICES LLC            $218.19
           271000170 22-11271 Medly Houston Inc.                 RRAM SERVICES                               $10,876.88
           271000180 22-11271 Medly Houston Inc.                 SEQIRUS                                      $4,223.51
Epiq 84              22-11271 Medly Houston Inc.                 TEXAS COMPTROLLER OF PUBLIC ACCOUNTS            $70.13
Epiq 86              22-11271 Medly Houston Inc.                 TEXAS COMPTROLLER OF PUBLIC ACCOUNTS            $50.00
 Epiq
20185                  22-11271 Medly Houston Inc.               TEXAS HEALTH & HUMAN SERVICES COMMISSION         $0.00

           274000010   22-11274   Medly Jersey City Inc.         AMAZON BUSINESS                              $1,284.23
           274000020   22-11274   Medly Jersey City Inc.         ASSOCIATED COURIERS, LLC                     $2,601.57
           274000030   22-11274   Medly Jersey City Inc.         BOSS FACILITY SERVICES INC                    $287.89
           274000040   22-11274   Medly Jersey City Inc.         BRINCO MECHANICAL MGMT SERVICES               $421.17
           274000050   22-11274   Medly Jersey City Inc.         CARDINAL HEALTH LLC                        $563,771.99
           274000060   22-11274   Medly Jersey City Inc.         CSC (4736)                                    $300.03
           274000070   22-11274   Medly Jersey City Inc.         CURASCRIPT SD                                $4,740.30
           274000130   22-11274   Medly Jersey City Inc.         JA CARPENTRY INC                             $6,812.50
           274000150   22-11274   Medly Jersey City Inc.         MARG PHARMACY                                   $40.86
           274000170   22-11274   Medly Jersey City Inc.         MG SECURITY SERVICES LLC                     $6,050.66
           274000180   22-11274   Medly Jersey City Inc.         MICRO MERCHANT SYSTEMS INC                   $1,019.64
Epiq 110               22-11274   Medly Jersey City Inc.         NY STATE DEPT OF TAXATION AND FINANCE        $1,000.00
           274000190   22-11274   Medly Jersey City Inc.         ORKIN EXTERMINATING CO                          $83.00
           274000210   22-11274   Medly Jersey City Inc.         PSE&G (4300)                                  $164.78
           274000220   22-11274   Medly Jersey City Inc.         RAMON & GLADYS CRUZ                         $16,443.95
           274000240   22-11274   Medly Jersey City Inc.         SAFEWATCH INC                                 $146.98
           274000250   22-11274   Medly Jersey City Inc.         SEQIRUS                                      $4,223.51
           274000270   22-11274   Medly Jersey City Inc.         STERICYCLE INC                                $112.27
           274000290   22-11274   Medly Jersey City Inc.         VERIZON (0177)                                  $90.13
 Epiq
20217                22-11274 Medly Jersey City Inc.             VERIZON BUSINESS GLOBAL LLC                  $4,111.15
           274000300 22-11274 Medly Jersey City Inc.             VISTA VISUAL GROUP                           $1,786.57

           279000010 22-11279 Medly Mail Service Pharmacy LLC    ADT (1907)                                      $73.90
           279000020 22-11279 Medly Mail Service Pharmacy LLC    ADT (5793)                                      $85.06
           279000030 22-11279 Medly Mail Service Pharmacy LLC    AMAZON BUSINESS                              $3,030.57
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          279000040   22-11279   Medly Mail Service Pharmacy LLC   ANDA INC                                     $8,885.32
          279000050   22-11279   Medly Mail Service Pharmacy LLC   ANSWERCONNECT                                $1,298.89
          279000060   22-11279   Medly Mail Service Pharmacy LLC   BOSS FACILITY SERVICES INC                    $202.07
          279000070   22-11279   Medly Mail Service Pharmacy LLC   COMCAST (7129)                                $211.43
 Epiq
20213               22-11279 Medly Mail Service Pharmacy LLC       CORPORATION SERVICE COMPANY                   $200.00
          279000080 22-11279 Medly Mail Service Pharmacy LLC       CSC (4736)                                    $200.00
          279000090 22-11279 Medly Mail Service Pharmacy LLC       DRUG PACKAGE, LLC                             $685.04
Epiq 24             22-11279 Medly Mail Service Pharmacy LLC       FRANCHISE TAX BOARD                           $388.94
          279000160 22-11279 Medly Mail Service Pharmacy LLC       JOHNSON CONTROLS SECURITY SOLUTIONS           $322.19
          279000190 22-11279 Medly Mail Service Pharmacy LLC       MICRO MERCHANT SYSTEMS INC                    $519.59
          279000200 22-11279 Medly Mail Service Pharmacy LLC       PRIORITY EXPRESS INC                          $920.50
          279000210 22-11279 Medly Mail Service Pharmacy LLC       PROSHRED SECURITY                             $143.19
          279000230 22-11279 Medly Mail Service Pharmacy LLC       ROBINSON+COLE                                $1,226.00
          279000240 22-11279 Medly Mail Service Pharmacy LLC       SALESFORCE.COM INC                          $12,880.53
 Epiq
20155               22-11279     Medly Mail Service Pharmacy LLC   SCIENCE PARK DEVELOPMENT CORPORATION         $9,519.25
          279000250 22-11279     Medly Mail Service Pharmacy LLC   SCIENCE PARK DEVELOPMENT CORPORATION         $5,574.25
Epiq 85             22-11279     Medly Mail Service Pharmacy LLC   TEXAS COMPTROLLER OF PUBLIC ACCOUNTS          $100.00
          279000280 22-11279     Medly Mail Service Pharmacy LLC   THE SPECIAL INTEREST GROUP FOR IIAS STAN      $100.00
          279000290 22-11279     Medly Mail Service Pharmacy LLC   THE VIAL COMPANY                              $358.95
          279000310 22-11279     Medly Mail Service Pharmacy LLC   UPS (439E74)                                  $283.33
          279000330 22-11279     Medly Mail Service Pharmacy LLC   VISUALMAX LLC                                $2,498.00

          282000010   22-11282   Medly Miami Inc.                  ACC BUSINESS                                  $396.64
          282000020   22-11282   Medly Miami Inc.                  AMAZON BUSINESS                              $2,592.32
          282000030   22-11282   Medly Miami Inc.                  ANDA INC                                    $47,286.59
          282000040   22-11282   Medly Miami Inc.                  BRINCO MECHANICAL MGMT SERVICES               $380.16
          282000050   22-11282   Medly Miami Inc.                  CARDINAL HEALTH LLC                        $245,314.63
          282000060   22-11282   Medly Miami Inc.                  CSC (4736)                                    $300.03
          282000070   22-11282   Medly Miami Inc.                  CURASCRIPT SD                                   $70.05
          282000100   22-11282   Medly Miami Inc.                  FEDEX                                            $4.42
          282000110   22-11282   Medly Miami Inc.                  GENEFORCE INCORPORATED                       $5,577.79
          282000160   22-11282   Medly Miami Inc.                  HUMANA                                      $15,650.62
          282000170   22-11282   Medly Miami Inc.                  INDEPENDENT PHARMACY DISTRIBUTOR                 $4.42
          282000180   22-11282   Medly Miami Inc.                  JA CARPENTRY INC.                          $197,890.08
          282000190   22-11282   Medly Miami Inc.                  JOURNEY MEDICAL CORPORATION                  $6,767.08
          282000210   22-11282   Medly Miami Inc.                  MAYNE PHARMA                                $14,145.47
          282000230   22-11282   Medly Miami Inc.                  MG SECURITY SERVICES LLC                    $30,211.91
          282000240   22-11282   Medly Miami Inc.                  MIAMI-DADE POLICE DEPARTMENT FALSE ALARM        $60.00
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        282000250   22-11282   Medly Miami Inc.           MICRO MERCHANT SYSTEMS INC                   $1,227.43
        282000260   22-11282   Medly Miami Inc.           ORKIN EXTERMINATING CO                          $83.00
        282000270   22-11282   Medly Miami Inc.           POWERHOUSE RETAIL SERVICES LLC               $3,900.00
        282000290   22-11282   Medly Miami Inc.           REDEVCO MANAGEMENT                          $11,439.20
        282000300   22-11282   Medly Miami Inc.           ROBINSON+COLE                                 $122.00
        282000330   22-11282   Medly Miami Inc.           THE CUSTOM GROUP OF COMPANIES                $2,043.76
        282000350   22-11282   Medly Miami Inc.           THERAPEUTICSMD                              $19,092.12
        282000370   22-11282   Medly Miami Inc.           UNIWEB INC.                                   $943.03
        282000380   22-11282   Medly Miami Inc.           VISTA VISUAL GROUP                           $2,651.45

        277000020   22-11277   Medly Orlando Inc.         ACC BUSINESS                                 $1,233.71
        277000030   22-11277   Medly Orlando Inc.         ANDA INC                                    $23,975.21
        277000040   22-11277   Medly Orlando Inc.         CARDINAL HEALTH LLC                         $49,500.37
        277000050   22-11277   Medly Orlando Inc.         CORNELL STOREFRONT                            $378.00
        277000060   22-11277   Medly Orlando Inc.         CSC (4736)                                    $300.03
        277000090   22-11277   Medly Orlando Inc.         FEDEX                                           $27.34
        277000100   22-11277   Medly Orlando Inc.         GENEFORCE INCORPORATED                       $5,278.00
        277000130   22-11277   Medly Orlando Inc.         LIFE SAFETY ENGINEERED SYSTEMS INC.           $255.61
        277000150   22-11277   Medly Orlando Inc.         MAYNE PHARMA                                  $540.00
        277000160   22-11277   Medly Orlando Inc.         MG SECURITY SERVICES LLC                     $6,760.62
        277000170   22-11277   Medly Orlando Inc.         MICRO MERCHANT SYSTEMS INC                      $91.39
        277000180   22-11277   Medly Orlando Inc.         OUC                                           $253.04
        277000210   22-11277   Medly Orlando Inc.         RRAM SERVICES                                 $786.00
        277000220   22-11277   Medly Orlando Inc.         SHRED-IT                                      $162.43
        277000240   22-11277   Medly Orlando Inc.         THE CUSTOM GROUP OF COMPANIES                $2,520.63
        277000250   22-11277   Medly Orlando Inc.         THE SPECIAL INTEREST GROUP FOR IIAS STAN      $100.00

        283000020 22-11283 Medly Pharmacy Inc.            ACTION ENVIRONMENTAL SERVICES                $4,764.16
 Epiq
20293             22-11283 Medly Pharmacy Inc.            ALIXPARTNERS LLP                           $385,305.92
        283000050 22-11283 Medly Pharmacy Inc.            ALPINE HEALTH                                 $148.50
        283000060 22-11283 Medly Pharmacy Inc.            AMAZON BUSINESS                             $11,250.39
        283000070 22-11283 Medly Pharmacy Inc.            ANDA INC                                    $72,078.34
 Epiq
20251             22-11283 Medly Pharmacy Inc.            ANRO INC                                   $241,650.55
        283000090 22-11283 Medly Pharmacy Inc.            APPLE FINANCIAL SERVICES                         $0.00
        283000100 22-11283 Medly Pharmacy Inc.            ARBOR PHARMACEUTICALS, INC.                 $10,201.92
        283000110 22-11283 Medly Pharmacy Inc.            ASSOCIATED COURIERS, LLC                     $9,394.51
 Epiq
20164               22-11283 Medly Pharmacy Inc.          BAMBOO INVESTMENTS LLC                     $205,000.00
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 Epiq
20247                22-11283     Medly Pharmacy Inc.         BASS BERRY & SIMS PLC                       $391,194.50
           283000130 22-11283     Medly Pharmacy Inc.         BRIGHTPOINT HEALTH                         $308,293.45
           283000140 22-11283     Medly Pharmacy Inc.         BROOKLYN PLAZA MEDICAL CENTER                $38,680.33
           283000150 22-11283     Medly Pharmacy Inc.         BROWNSVILLE MULTI-SERVICE FAMILY HEALTH      $27,876.91
           283000160 22-11283     Medly Pharmacy Inc.         CARDINAL HEALTH LLC                       $1,905,339.90
Epiq 100             22-11283     Medly Pharmacy Inc.         COMMONWEALTH OF VIRGINIA                         $20.00
           283000170 22-11283     Medly Pharmacy Inc.         COMMUNITY HEALTH INITIATIVES, INC.           $91,292.81
           283000180 22-11283     Medly Pharmacy Inc.         COMMUNITY HEALTHCARE NETWORK                 $40,035.41
 Epiq
20049                  22-11283 Medly Pharmacy Inc.           CORNELL STOREFRONT SYSTEMS                  $53,271.48
 Epiq
20226                  22-11283 Medly Pharmacy Inc.           CRUZ, RAMON AND GLADYS                           $0.00
 Epiq
20284                22-11283 Medly Pharmacy Inc.             CULTURE AMP INC                             $51,405.40
           283000210 22-11283 Medly Pharmacy Inc.             CURASCRIPT SD                              $125,765.72
           283000230 22-11283 Medly Pharmacy Inc.             DERMAVANT SCIENCES, INC.                    $24,115.00
 Epiq
20158                22-11283 Medly Pharmacy Inc.             DLL DE LAGE LANDEN ASSIGNEE FROM CISCO      $48,074.72
           283000240 22-11283 Medly Pharmacy Inc.             DOWNSTATE HEALTH SCIENCES UNIVERSITY        $55,396.05
           283000250 22-11283 Medly Pharmacy Inc.             DRUG PACKAGE, LLC                           $13,993.26
 Epiq
20218                  22-11283   Medly Pharmacy Inc.         FEDEX                                      $502,099.63
           283000290   22-11283   Medly Pharmacy Inc.         FEDEX                                        $3,295.04
           283000330   22-11283   Medly Pharmacy Inc.         HEALTH RESEARCH, INC                         $7,422.89
           283000340   22-11283   Medly Pharmacy Inc.         HOUSING WORKS HELTH SRVS III               $147,610.63
           283000360   22-11283   Medly Pharmacy Inc.         HUDSON RIVER HEALTHCARE                    $356,406.12
           283000370   22-11283   Medly Pharmacy Inc.         ICL HEALTHCARE CHOICES, INC.                $31,379.27
           283000380   22-11283   Medly Pharmacy Inc.         JA CARPENTRY INC                             $2,303.81
           283000390   22-11283   Medly Pharmacy Inc.         JC ERLICH                                     $860.11
           283000400   22-11283   Medly Pharmacy Inc.         JOURNEY MEDICAL CORPORATION                 $28,827.62
 Epiq
20082                22-11283 Medly Pharmacy Inc.             KATON PARTNERS LLC                          $22,493.31
           283000410 22-11283 Medly Pharmacy Inc.             KENNETH PARK ARCHITECT PLLC                  $9,100.00
 Epiq
20190                  22-11283 Medly Pharmacy Inc.           KORN FERRY (US)                            $168,000.00
 Epiq
20234                  22-11283 Medly Pharmacy Inc.           LINKEDIN CORPORATION                       $847,333.02
 Epiq
20151                  22-11283 Medly Pharmacy Inc.           LOUISIANA DEPARTMENT OF REVENUE                $568.17
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 Epiq
20095                 22-11283 Medly Pharmacy Inc.           MANHATTAN DIGITAL DIRECT MARKETING INC      $23,225.00
 Epiq
20174               22-11283 Medly Pharmacy Inc.             MAXREBATES                                   $1,000.00
          283000460 22-11283 Medly Pharmacy Inc.             MAYNE PHARMA                                 $2,444.40
 Epiq
20222               22-11283 Medly Pharmacy Inc.             MG SECURITY SERVICES LLC                   $196,695.82
          283000490 22-11283 Medly Pharmacy Inc.             MG SECURITY SERVICES LLC                    $60,659.09
 Epiq
20283               22-11283     Medly Pharmacy Inc.         MICHIGAN DEPARTMENT OF TREASURY              $4,000.00
          283000500 22-11283     Medly Pharmacy Inc.         MICRO MERCHANT SYSTEMS INC                  $23,696.85
Epiq 92             22-11283     Medly Pharmacy Inc.         MINTZ LEVIN COHN FERRIS GLOVSKY & POPEO    $244,698.31
          283000520 22-11283     Medly Pharmacy Inc.         NEW YORK CITY HEALTH AND HOSPITAL (2220)   $661,369.17
          283000530 22-11283     Medly Pharmacy Inc.         NOVABAY PHARMACEUTICALS, INC.                $1,386.00
Epiq 13             22-11283     Medly Pharmacy Inc.         NY STATE DEPT OF TAXATION AND FINANCE        $3,049.09
          283000540 22-11283     Medly Pharmacy Inc.         OMNICELL, INC.                               $3,278.89
          283000550 22-11283     Medly Pharmacy Inc.         OMNISYS LLC                                      $5.55
 Epiq
20233                 22-11283 Medly Pharmacy Inc.           OPTIMIZERX CORPORATION                      $15,000.00
 Epiq
20106     283000570 22-11283 Medly Pharmacy Inc.             ORKIN LLC                                    $5,845.90
          283000580 22-11283 Medly Pharmacy Inc.             PARATA SYSTEMS, LLC                         $22,858.31
Epiq 28             22-11283 Medly Pharmacy Inc.             ROBINSON & COLE LLP                         $13,132.50
 Epiq
20001                 22-11283   Medly Pharmacy Inc.         ROTH GENERAL CONTRACTING LLC                $97,655.00
          283000620   22-11283   Medly Pharmacy Inc.         SAFEWATCH INC                                 $180.00
          283000630   22-11283   Medly Pharmacy Inc.         SENTRY ELEVATOR CORP                          $381.06
          283000640   22-11283   Medly Pharmacy Inc.         SEQIRUS                                     $29,848.06
          283000650   22-11283   Medly Pharmacy Inc.         SHRED-IT                                     $1,169.04
 Epiq
20175               22-11283 Medly Pharmacy Inc.             SPECTRUM                                     $2,174.22
          283000670 22-11283 Medly Pharmacy Inc.             SPECTRUM CHEMICAL MFG. CORP.                 $1,178.03
 Epiq
20043                 22-11283   Medly Pharmacy Inc.         STAT ADVISORS LLC                          $111,289.04
          283000680   22-11283   Medly Pharmacy Inc.         STERICYCLE                                    $118.67
          283000690   22-11283   Medly Pharmacy Inc.         SUN RIVER HEALTH                           $276,038.09
          283000700   22-11283   Medly Pharmacy Inc.         TAYLOR COMMUNICATIONS INC                    $1,562.37
          283000710   22-11283   Medly Pharmacy Inc.         THE HARTFORD (3811)                           $100.50
          283000760   22-11283   Medly Pharmacy Inc.         ULINE (5289)                                 $4,123.69
          283000770   22-11283   Medly Pharmacy Inc.         VINCO MECHANICAL                            $11,019.24
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            283000780 22-11283 Medly Pharmacy Inc.                VISTA VISUAL GROUP                         $2,506.41
  Epiq
 20025                  22-11283 Medly Pharmacy Inc.              VITALITY WORKS                            $70,238.72
  Epiq
 20077                  22-11283 Medly Pharmacy Inc.              WORKRAMP INC                              $35,799.50
  Epiq
 20048                  22-11283   Medly Pharmacy Inc.            ZOOMINFO                                   $4,500.00
Court 6-1               22-11283   Medly Pharmacy Inc.            Salesforce, inc.                         $328,365.28
Court 7-1               22-11283   Medly Pharmacy Inc.            Spectrum                                   $5,298.33
Court 9-1               22-11283   Medly Pharmacy Inc.            NY STATE DEPT OF TAXATION AND FINANCE      $3,049.09

            285000020   22-11285   Medly Pharmacy PA Inc.         1222-24 WALNUT ASSOCIATES, LP              $21,155.46
            285000030   22-11285   Medly Pharmacy PA Inc.         ALPINE HEALTH                                $159.92
            285000040   22-11285   Medly Pharmacy PA Inc.         AMAZON BUSINESS                             $2,995.92
            285000050   22-11285   Medly Pharmacy PA Inc.         ANDA INC                                 $145,630.74
            285000060   22-11285   Medly Pharmacy PA Inc.         ASSOCIATED COURIERS, LLC                   $40,465.60
            285000070   22-11285   Medly Pharmacy PA Inc.         BOSS FACILITY SERVICES INC                   $590.00
            285000080   22-11285   Medly Pharmacy PA Inc.         CARDINAL HEALTH LLC                     $1,165,748.16
            285000090   22-11285   Medly Pharmacy PA Inc.         CSC (4736)                                   $300.03
            285000100   22-11285   Medly Pharmacy PA Inc.         CUBIC VISUAL SYSTEMS - USA, LLC             $1,379.00
            285000110   22-11285   Medly Pharmacy PA Inc.         CURASCRIPT SD                              $77,139.35
 Epiq 60                22-11285   Medly Pharmacy PA Inc.         DEPARTMENT OF TREASURY - IRS                   $35.69
            285000140   22-11285   Medly Pharmacy PA Inc.         FEDEX                                          $14.59
            285000190   22-11285   Medly Pharmacy PA Inc.         MAYNE PHARMA                                $6,488.82
            285000210   22-11285   Medly Pharmacy PA Inc.         MG SECURITY SERVICES LLC                    $9,626.75
            285000220   22-11285   Medly Pharmacy PA Inc.         MICRO MERCHANT SYSTEMS INC                  $2,338.70
            285000230   22-11285   Medly Pharmacy PA Inc.         ORKIN EXTERMINATING CO                         $83.00
  Epiq
 20070                22-11285 Medly Pharmacy PA Inc.             PA DEPARTMENT OF REVENUE                     $100.00
            285000240 22-11285 Medly Pharmacy PA Inc.             PECO (6050)                                  $690.16
  Epiq
 20136                  22-11285   Medly Pharmacy PA Inc.         PECO ENERGY COMPANY                         $926.76
            285000260   22-11285   Medly Pharmacy PA Inc.         READYREFRESH                                  $23.66
            285000280   22-11285   Medly Pharmacy PA Inc.         RRAM SERVICES                              $4,812.20
            285000290   22-11285   Medly Pharmacy PA Inc.         SASSONE LABWEAR LLC                         $299.98
            285000300   22-11285   Medly Pharmacy PA Inc.         SEQIRUS                                    $4,223.51
            285000320   22-11285   Medly Pharmacy PA Inc.         STERICYCLE                                  $327.00
            285000330   22-11285   Medly Pharmacy PA Inc.         TAYLOR COMMUNICATIONS INC                  $2,349.14
            285000340   22-11285   Medly Pharmacy PA Inc.         THE CUSTOM GROUP OF COMPANIES              $1,035.50
            285000350   22-11285   Medly Pharmacy PA Inc.         THERAPEUTICSMD                              $909.12
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        285000370 22-11285 Medly Pharmacy PA Inc.            ULINE (5289)                              $604.06

        287000010   22-11287   Medly Pittsburgh Inc.         COMCAST (1563)                            $201.29
        287000020   22-11287   Medly Pittsburgh Inc.         CSC (4736)                                $300.03
        287000050   22-11287   Medly Pittsburgh Inc.         GENEFORCE INCORPORATED                   $5,431.00
        287000100   22-11287   Medly Pittsburgh Inc.         PEOPLES (8535)                              $19.89
        287000110   22-11287   Medly Pittsburgh Inc.         POWERHOUSE RETAIL SERVICES LLC           $9,074.02
        287000130   22-11287   Medly Pittsburgh Inc.         S WALTER PACKAGING                      $93,757.15
        287000160   22-11287   Medly Pittsburgh Inc.         SM RET EI LLC, THE JUNCTION             $11,088.64

        264000010   22-11264   Medly Queens Inc.             AMAZON BUSINESS                          $4,695.97
        264000020   22-11264   Medly Queens Inc.             BRINCO MECHANICAL MGMT SERVICES           $652.16
        264000030   22-11264   Medly Queens Inc.             CARDINAL HEALTH LLC                       $107.92
        264000100   22-11264   Medly Queens Inc.             JA CARPENTRY INC                          $605.00
        264000120   22-11264   Medly Queens Inc.             MICRO MERCHANT SYSTEMS INC                  $74.29
        264000140   22-11264   Medly Queens Inc.             ROBINSON+COLE                            $2,320.50
        264000160   22-11264   Medly Queens Inc.             STERICYCLE INC                            $124.01

        267000010   22-11267   Medly Raleigh Inc.            ACC BUSINESS                              $388.35
        267000020   22-11267   Medly Raleigh Inc.            AMAZON BUSINESS                          $1,421.85
        267000030   22-11267   Medly Raleigh Inc.            ANDA INC                               $105,800.37
        267000040   22-11267   Medly Raleigh Inc.            BOSS FACILITY SERVICES INC               $3,095.00
        267000050   22-11267   Medly Raleigh Inc.            BRINCO MECHANICAL MGMT SERVICES           $421.49
        267000070   22-11267   Medly Raleigh Inc.            CARDINAL HEALTH LLC                    $310,042.74
        267000080   22-11267   Medly Raleigh Inc.            CDW DIRECT                                $126.54
        267000090   22-11267   Medly Raleigh Inc.            CLIA LABORATORY PROGRAM                   $180.00
        267000100   22-11267   Medly Raleigh Inc.            CSC (4736)                                $300.03
        267000110   22-11267   Medly Raleigh Inc.            CURASCRIPT SD                            $2,335.13
        267000120   22-11267   Medly Raleigh Inc.            DUKE ENERGY                               $509.88
        267000180   22-11267   Medly Raleigh Inc.            HUMANA                                   $8,116.08
        267000220   22-11267   Medly Raleigh Inc.            MICRO MERCHANT SYSTEMS INC                $674.45
        267000230   22-11267   Medly Raleigh Inc.            NC DHHS, DIVISION OF HEALTH BENEFITS    $13,231.47
        267000250   22-11267   Medly Raleigh Inc.            RED EAGLE MANAGEMENT                     $7,831.40
        267000260   22-11267   Medly Raleigh Inc.            SEQIRUS                                  $4,223.51
 Epiq
20177             22-11267 Medly Raleigh Inc.                SPECTRUM                                  $256.80
        267000280 22-11267 Medly Raleigh Inc.                THERAPEUTICSMD                          $19,092.12
        267000290 22-11267 Medly Raleigh Inc.                TIME WARNER CABLE (4661)                  $256.80

        270000010 22-11270 Medly San Antonio Inc.            ACC BUSINESS                              $621.99
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          270000020   22-11270   Medly San Antonio Inc.         AEGIS SECURITY SOLUTIONS                     $146.10
          270000030   22-11270   Medly San Antonio Inc.         AMAZON BUSINESS                              $654.34
          270000040   22-11270   Medly San Antonio Inc.         ANDA INC                                  $142,421.24
          270000050   22-11270   Medly San Antonio Inc.         BOSS FACILITY SERVICES INC                  $2,461.07
          270000060   22-11270   Medly San Antonio Inc.         CARDINAL HEALTH LLC                       $353,534.20
 Epiq
20216                 22-11270   Medly San Antonio Inc.         CBH ESTATE GROUP LLC                      $117,603.58
          270000070   22-11270   Medly San Antonio Inc.         CBH ESTATE GROUP, LLC                       $8,822.91
          270000090   22-11270   Medly San Antonio Inc.         CPS ENERGY                                   $358.29
          270000100   22-11270   Medly San Antonio Inc.         CSC (4736)                                   $300.03
          270000130   22-11270   Medly San Antonio Inc.         FEDEX                                        $146.35
          270000140   22-11270   Medly San Antonio Inc.         GENEFORCE INCORPORATED                      $5,472.00
          270000180   22-11270   Medly San Antonio Inc.         JA CARPENTRY INC                            $1,786.13
          270000200   22-11270   Medly San Antonio Inc.         MAYNE PHARMA                                $2,232.54
          270000220   22-11270   Medly San Antonio Inc.         MICRO MERCHANT SYSTEMS INC                   $964.46
          270000230   22-11270   Medly San Antonio Inc.         ORKIN, LLC                                     $72.53
          270000240   22-11270   Medly San Antonio Inc.         PIONEERRX PHARMACY SOFTWARE                  $108.25
          270000260   22-11270   Medly San Antonio Inc.         RRAM SERVICES                               $2,126.95
          270000270   22-11270   Medly San Antonio Inc.         SAN ANTONIO WATER SYSTEM                     $146.96
 Epiq
20178               22-11270 Medly San Antonio Inc.             SPECTRUM                                     $219.06
          270000290 22-11270 Medly San Antonio Inc.             STERICYCLE INC                               $109.00
Epiq 63             22-11270 Medly San Antonio Inc.             TEXAS COMPTROLLER OF PUBLIC ACCOUNTS          $47.50
 Epiq
20189                 22-11270   Medly San Antonio Inc.         TEXAS WORKFORCE COMMISSION                   $576.37
          270000300   22-11270   Medly San Antonio Inc.         THERAPEUTICSMD                             $95,460.60
          270000310   22-11270   Medly San Antonio Inc.         TIGER SANITATION                             $120.09
          270000320   22-11270   Medly San Antonio Inc.         TIME WARNER CABLE (7537)                     $137.63
          270000340   22-11270   Medly San Antonio Inc.         ULINE (5289)                                 $541.33
          270000350   22-11270   Medly San Antonio Inc.         UPS (461A)                                      $9.81

          275000010   22-11275   Medly Stamford Inc.            AMAZON BUSINESS                              $582.08
          275000020   22-11275   Medly Stamford Inc.            BRINCO MECHANICAL MGMT SERVICES              $441.35
          275000030   22-11275   Medly Stamford Inc.            CARDINAL HEALTH LLC                        $20,896.13
          275000040   22-11275   Medly Stamford Inc.            CSC (4736)                                   $300.03
          275000060   22-11275   Medly Stamford Inc.            EVERSOURCE                                   $330.03
          275000130   22-11275   Medly Stamford Inc.            MANHATTAN DIGITAL DIRECT MARKETING, INC    $14,847.50
          275000150   22-11275   Medly Stamford Inc.            MICRO MERCHANT SYSTEMS INC                     $33.39
          275000160   22-11275   Medly Stamford Inc.            OPTIMUM (2025)                               $180.00
          275000170   22-11275   Medly Stamford Inc.            ORKIN EXTERMINATING CO                         $83.00
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          275000190 22-11275 Medly Stamford Inc.                  ROBINSON+COLE                             $1,748.00
          275000200 22-11275 Medly Stamford Inc.                  RRAM SERVICES                              $680.89
          275000220 22-11275 Medly Stamford Inc.                  STERICYCLE INC                             $115.93

          278000010   22-11278   Medly Tampa Inc.                 AMAZON BUSINESS                           $2,487.40
          278000020   22-11278   Medly Tampa Inc.                 ANRO INC.                                  $733.70
          278000030   22-11278   Medly Tampa Inc.                 CORNELL STOREFRONT                        $9,653.94
          278000040   22-11278   Medly Tampa Inc.                 CSC (4736)                                 $300.03
          278000060   22-11278   Medly Tampa Inc.                 ELDER-JONES, INC.                       $155,705.89
          278000110   22-11278   Medly Tampa Inc.                 JA CARPENTRY INC                         $19,029.00
          278000120   22-11278   Medly Tampa Inc.                 KENNETH PARK ARCHITECT PLLC                $477.95
          278000130   22-11278   Medly Tampa Inc.                 LIDO LIGHTING, INC.                        $828.10
          278000140   22-11278   Medly Tampa Inc.                 LIFE SAFETY ENGINEERED SYSTEMS INC.      $38,550.54
          278000160   22-11278   Medly Tampa Inc.                 MICRO MERCHANT SYSTEMS INC                $8,100.57
          278000170   22-11278   Medly Tampa Inc.                 MIDTOWN TAMPA RETAIL LLC                 $16,165.31
          278000200   22-11278   Medly Tampa Inc.                 SIGNAGE SOLUTIONS CORPORATION            $17,550.31
          278000220   22-11278   Medly Tampa Inc.                 TAYLOR COMMUNICATIONS INC                  $271.22
          278000230   22-11278   Medly Tampa Inc.                 TECO (0053)                                $257.11
          278000250   22-11278   Medly Tampa Inc.                 ULINE (3025)                               $767.97
          278000260   22-11278   Medly Tampa Inc.                 UNIWEB INC.                              $80,631.81
          278000270   22-11278   Medly Tampa Inc.                 VISTA VISUAL GROUP                        $6,012.00

          280000010 22-11280     Medly UCHC Pharmacy Inc.         AMAZON BUSINESS                            $707.89
          280000020 22-11280     Medly UCHC Pharmacy Inc.         ANRO INC.                                 $1,065.00
          280000030 22-11280     Medly UCHC Pharmacy Inc.         BOSS FACILITY SERVICES INC                 $198.15
          280000040 22-11280     Medly UCHC Pharmacy Inc.         BRINCO MECHANICAL MGMT SERVICES            $653.25
          280000050 22-11280     Medly UCHC Pharmacy Inc.         CARDINAL HEALTH LLC                      $93,557.14
          280000060 22-11280     Medly UCHC Pharmacy Inc.         CSC (4736)                                 $300.03
          280000140 22-11280     Medly UCHC Pharmacy Inc.         MICRO MERCHANT SYSTEMS INC                $1,202.35
Epiq 11             22-11280     Medly UCHC Pharmacy Inc.         NY STATE DEPT OF TAXATION AND FINANCE        $84.41
          280000150 22-11280     Medly UCHC Pharmacy Inc.         OPTIMUM (8028)                             $196.50
          280000180 22-11280     Medly UCHC Pharmacy Inc.         STERICYCLE INC                             $118.67
          280000200 22-11280     Medly UCHC Pharmacy Inc.         UNION COMMUNITY HEALTH CENTER           $171,347.92

          281000010 22-11281     Medly Utah Inc.                  AMAZON BUSINESS                          $10,361.79
          281000020 22-11281     Medly Utah Inc.                  BDO 961 LC                               $22,278.90
          281000040 22-11281     Medly Utah Inc.                  COMCAST (1569)                            $1,112.53
          281000050 22-11281     Medly Utah Inc.                  CSC (4736)                                 $300.03
Epiq 66             22-11281     Medly Utah Inc.                  NM TAXATION & REVENUE DEPARTMENT             $90.00
          281000170 22-11281     Medly Utah Inc.                  WATERLOGIC AMERICAS LLC                   $1,265.28
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          284000020 22-11284 Pharmaca Integrative Pharmacy, Inc. 100 PURE                                       $23,373.91
          284000010 22-11284 Pharmaca Integrative Pharmacy, Inc. 1-800-GOT-JUNK                                   $502.46
          284000030 22-11284 Pharmaca Integrative Pharmacy, Inc. 365 MEDIA GROUP                                 $4,144.90
 Epiq
20197     284000040   22-11284   Pharmaca Integrative Pharmacy, Inc.   42ND & EAST MADISON LLC                   $5,349.19
          284000060   22-11284   Pharmaca Integrative Pharmacy, Inc.   5SENCO INC. DBA VIVAIODAYS                $4,339.41
          284000070   22-11284   Pharmaca Integrative Pharmacy, Inc.   AB1 LOCKSMITH SERVICE                      $947.73
          284000080   22-11284   Pharmaca Integrative Pharmacy, Inc.   ACC BUSINESS                               $608.66
Epiq 75               22-11284   Pharmaca Integrative Pharmacy, Inc.   ACCOUNTEMPS                               $7,750.25
          284000090   22-11284   Pharmaca Integrative Pharmacy, Inc.   ACOSTA, INC                              $63,251.00
          284000100   22-11284   Pharmaca Integrative Pharmacy, Inc.   ACURE                                    $65,834.72
          284000110   22-11284   Pharmaca Integrative Pharmacy, Inc.   ACUTENS, INC                              $2,246.78
          284000130   22-11284   Pharmaca Integrative Pharmacy, Inc.   ADAMS AND BERNHARD, LLC                  $32,161.09
          284000140   22-11284   Pharmaca Integrative Pharmacy, Inc.   ADT COMMERCIAL                             $256.28
          284000150   22-11284   Pharmaca Integrative Pharmacy, Inc.   ADVANCE INNOVATIVE SOLUTIONS, INC         $2,750.00
          284000160   22-11284   Pharmaca Integrative Pharmacy, Inc.   AIDANCE SKIN CARE                         $4,090.17
          284000170   22-11284   Pharmaca Integrative Pharmacy, Inc.   ALAMEDA COUNTY ENVIRONMENTAL HEALTH          $94.00
          284000180   22-11284   Pharmaca Integrative Pharmacy, Inc.   ALCHEMER LLC                              $1,059.37
          284000190   22-11284   Pharmaca Integrative Pharmacy, Inc.   ALCHIMIE FOREVER, LLC                    $11,786.08
          284000200   22-11284   Pharmaca Integrative Pharmacy, Inc.   ALFASIGMA USA, INC.-CONSUMER PRODUCTS    $56,426.04
          284000210   22-11284   Pharmaca Integrative Pharmacy, Inc.   ALL COPY PRODUCTS INC                      $444.46
          284000220   22-11284   Pharmaca Integrative Pharmacy, Inc.   ALL COPY PRODUCTS INC.                    $1,280.04
 Epiq
20142     284000230   22-11284   Pharmaca Integrative Pharmacy, Inc.   ALOE LIFE INTERNATIONAL                   $7,628.09
          284000240   22-11284   Pharmaca Integrative Pharmacy, Inc.   ALOHA BAY                                 $5,604.50
          284000250   22-11284   Pharmaca Integrative Pharmacy, Inc.   AMAZON BUSINESS                          $14,520.64
          284000260   22-11284   Pharmaca Integrative Pharmacy, Inc.   AMBER BATH LLC                             $441.50
          284000270   22-11284   Pharmaca Integrative Pharmacy, Inc.   AMERICAN BOTANICAL COUNCIL                 $837.51
 Epiq
20057     284000280 22-11284 Pharmaca Integrative Pharmacy, Inc. AMERICAN INTERNATIONAL INDUSTRIES               $2,710.70
 Epiq
20181                 22-11284 Pharmaca Integrative Pharmacy, Inc. AMEX TRS CO INC                               $5,447.29
 Epiq
20167     284000290   22-11284   Pharmaca Integrative Pharmacy, Inc.   ANCIENT BRANDS                          $137,134.67
          284000300   22-11284   Pharmaca Integrative Pharmacy, Inc.   ANDA INC.                               $223,954.81
          284000310   22-11284   Pharmaca Integrative Pharmacy, Inc.   ARK MADE,LLC                             $10,548.00
          284000320   22-11284   Pharmaca Integrative Pharmacy, Inc.   ARTNATURALS                               $4,287.10
 Epiq
20186                 22-11284 Pharmaca Integrative Pharmacy, Inc. ASA UNIVERSAL INC                            $20,008.78
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        284000330   22-11284   Pharmaca Integrative Pharmacy, Inc.   AT&T                                    $72.98
        284000340   22-11284   Pharmaca Integrative Pharmacy, Inc.   AT&T WIRELESS                         $434.16
        284000350   22-11284   Pharmaca Integrative Pharmacy, Inc.   ATELIER VULCAN INC                  $51,320.77
        284000360   22-11284   Pharmaca Integrative Pharmacy, Inc.   ATHENS SERVICES                      $1,065.26
        284000370   22-11284   Pharmaca Integrative Pharmacy, Inc.   ATLAS UPTOWN, LLC.                  $23,625.69
 Epiq
20256               22-11284 Pharmaca Integrative Pharmacy, Inc. ATRIUM-INNOVATIONS INC                 $361,276.76
 Epiq
20063   284000380   22-11284   Pharmaca Integrative Pharmacy, Inc.   AXIOM IMPRESSIONS LLC               $26,183.87
        284000390   22-11284   Pharmaca Integrative Pharmacy, Inc.   B & P COMPANY, INC.                 $11,547.55
        284000400   22-11284   Pharmaca Integrative Pharmacy, Inc.   BABO BOTANICALS, INC                $69,472.01
        284000410   22-11284   Pharmaca Integrative Pharmacy, Inc.   BACKJOY ORTHOTICS, LLC               $6,639.95
        284000420   22-11284   Pharmaca Integrative Pharmacy, Inc.   BARCODES, INC                        $1,860.00
        284000430   22-11284   Pharmaca Integrative Pharmacy, Inc.   BARLEAN'S ORGANIC OIL               $15,855.36
        284000440   22-11284   Pharmaca Integrative Pharmacy, Inc.   BAY ALARM COMPANY                     $662.82
        284000460   22-11284   Pharmaca Integrative Pharmacy, Inc.   BEAUTORIUM LLC                      $91,125.49
        284000470   22-11284   Pharmaca Integrative Pharmacy, Inc.   BEAUTY CLOTH INTL. LLC                $386.52
        284000480   22-11284   Pharmaca Integrative Pharmacy, Inc.   BEE LUCIA CO                         $7,998.00
        284000490   22-11284   Pharmaca Integrative Pharmacy, Inc.   BEE'S WRAP                           $6,514.27
        284000500   22-11284   Pharmaca Integrative Pharmacy, Inc.   BEL AIRE PLAZA, LLC                 $31,955.56
        284000510   22-11284   Pharmaca Integrative Pharmacy, Inc.   BELCAM, INC.                         $4,207.86
        284000520   22-11284   Pharmaca Integrative Pharmacy, Inc.   BIGELOW TRADING, LTD                 $3,828.43
        284000530   22-11284   Pharmaca Integrative Pharmacy, Inc.   BIO RESPONSE                         $4,216.51
 Epiq
20199   284000540 22-11284 Pharmaca Integrative Pharmacy, Inc. BIO-BOTANICAL RESEARCH INC                $13,206.12
        284000550 22-11284 Pharmaca Integrative Pharmacy, Inc. BIOMIC SCIENCES                            $5,262.72
 Epiq
20221             22-11284 Pharmaca Integrative Pharmacy, Inc. BIOZEAL LLC                                $4,853.64
        284000560 22-11284 Pharmaca Integrative Pharmacy, Inc. BLDG ACTIVE INC                            $6,111.46
        284000570 22-11284 Pharmaca Integrative Pharmacy, Inc. BLUE BONNET                               $72,068.96
 Epiq
20114   284000580   22-11284   Pharmaca Integrative Pharmacy, Inc.   BLUE POPPY ENTERPRISES               $7,076.08
        284000590   22-11284   Pharmaca Integrative Pharmacy, Inc.   BLUE Q                               $2,413.49
        284000600   22-11284   Pharmaca Integrative Pharmacy, Inc.   BLUE SKY MINING                       $773.70
        284000610   22-11284   Pharmaca Integrative Pharmacy, Inc.   BLUEBIRD BOTANICALS                   $159.84
        284000630   22-11284   Pharmaca Integrative Pharmacy, Inc.   BODYCEUTICALS                        $4,852.41
        284000640   22-11284   Pharmaca Integrative Pharmacy, Inc.   BOHO GYPSY                          $12,808.00
        284000650   22-11284   Pharmaca Integrative Pharmacy, Inc.   BOIRON USA                         $213,491.74
        284000660   22-11284   Pharmaca Integrative Pharmacy, Inc.   BOODA ORGANICS,INC                   $5,700.60
        284000670   22-11284   Pharmaca Integrative Pharmacy, Inc.   BOODY NORTH AMERICA                $149,419.65
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          284000680 22-11284 Pharmaca Integrative Pharmacy, Inc. BOOST OXYGEN LLC                                   $21,943.00
          284000690 22-11284 Pharmaca Integrative Pharmacy, Inc. BOSS FACILITY SERVICES INC                         $18,190.00
          284000700 22-11284 Pharmaca Integrative Pharmacy, Inc. BOTANICAL INTEREST INC                               $694.83
 Epiq
20220                 22-11284   Pharmaca Integrative Pharmacy, Inc.   BOULDER TRADING COMPANY                       $2,592.00
          284000710   22-11284   Pharmaca Integrative Pharmacy, Inc.   BREKKE STORAGE                                 $696.55
          284000730   22-11284   Pharmaca Integrative Pharmacy, Inc.   BRINCO MECHANICAL MANAGEMENT SERVICES IN      $3,364.22
          284000740   22-11284   Pharmaca Integrative Pharmacy, Inc.   BROADWAY IDEAL MANAGEMENT                    $19,082.00
          284000750   22-11284   Pharmaca Integrative Pharmacy, Inc.   BUBS NATURALS                                 $9,075.42
          284000760   22-11284   Pharmaca Integrative Pharmacy, Inc.   BUCKY, INC.                                  $22,097.29
          284000770   22-11284   Pharmaca Integrative Pharmacy, Inc.   BUSY BEAUTY                                   $4,665.60
          284000780   22-11284   Pharmaca Integrative Pharmacy, Inc.   BUZZFEED MEDIA ENTERPRISES, INC.              $4,000.00
          284000790   22-11284   Pharmaca Integrative Pharmacy, Inc.   BWX BRANDS USA, INC.                         $69,073.97
          284000810   22-11284   Pharmaca Integrative Pharmacy, Inc.   CALDERA INTERNATIONAL, INC.                   $8,852.11
          284000820   22-11284   Pharmaca Integrative Pharmacy, Inc.   CALIFORNIA DEPARTMENT OF HEALTH                  $50.00
          284000830   22-11284   Pharmaca Integrative Pharmacy, Inc.   CANN-EASE COMPANY                                $72.00
 Epiq
20039     284000840   22-11284   Pharmaca Integrative Pharmacy, Inc.   CAPGEMINI AMERICA INC                         $58,700.00
          284000850   22-11284   Pharmaca Integrative Pharmacy, Inc.   CARDINAL HEALTH LLC                        $2,264,646.34
          284000860   22-11284   Pharmaca Integrative Pharmacy, Inc.   CAREX HEALTH BRANDS                           $14,264.90
          284000870   22-11284   Pharmaca Integrative Pharmacy, Inc.   CARLSBAD POLICE DPT.                              $36.00
 Epiq
20148     284000880   22-11284   Pharmaca Integrative Pharmacy, Inc.   CARLSON LABORATORIES INC                     $33,884.50
          284000890   22-11284   Pharmaca Integrative Pharmacy, Inc.   CARTERA COMMERCE, INC                         $7,500.00
          284000900   22-11284   Pharmaca Integrative Pharmacy, Inc.   CDW DIRECT                                   $16,420.71
Epiq 16   284000910   22-11284   Pharmaca Integrative Pharmacy, Inc.   CENTURYLINK COMMUNICATIONS LLC                $5,842.75
 Epiq
20134     284000920   22-11284   Pharmaca Integrative Pharmacy, Inc.   CHANGE HEALTHCARE SOLUTIONS LLC             $259,479.94
          284000930   22-11284   Pharmaca Integrative Pharmacy, Inc.   CHARLOTTE'S WEB AND CW HEMP                  $15,984.32
          284000940   22-11284   Pharmaca Integrative Pharmacy, Inc.   CHERRY HILLS MARKETPLACE                     $18,242.50
          284000960   22-11284   Pharmaca Integrative Pharmacy, Inc.   CHICOECO INC.                                 $2,152.99
          284000970   22-11284   Pharmaca Integrative Pharmacy, Inc.   CHILD LIFE ESSENTIALS                         $4,853.64
          284000980   22-11284   Pharmaca Integrative Pharmacy, Inc.   CHUAO CHOCOLATIER                             $8,342.40
          284000990   22-11284   Pharmaca Integrative Pharmacy, Inc.   CITY MECHANICAL, INC                          $1,163.51
          284001000   22-11284   Pharmaca Integrative Pharmacy, Inc.   CITY OF LA - FALSE ALARMS                      $584.00
          284001010   22-11284   Pharmaca Integrative Pharmacy, Inc.   CITY OF SEATTLE                                $782.72
          284001020   22-11284   Pharmaca Integrative Pharmacy, Inc.   CLIA LABORATORY PROGRAM                        $540.00
          284001030   22-11284   Pharmaca Integrative Pharmacy, Inc.   COCOKIND                                     $19,126.18
          284001040   22-11284   Pharmaca Integrative Pharmacy, Inc.   COLORADO MECHANICAL SYSTEMS, INC.              $625.00
          284001050   22-11284   Pharmaca Integrative Pharmacy, Inc.   COLORADO PRINT AND APPAREL                       $56.43
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        284001060   22-11284   Pharmaca Integrative Pharmacy, Inc.   COMCAST CABLE                               $12,614.73
        284001070   22-11284   Pharmaca Integrative Pharmacy, Inc.   COMED (2050)                                  $504.64
        284001080   22-11284   Pharmaca Integrative Pharmacy, Inc.   COMMUNITY DEVELOPMENT AGENCY                  $411.00
        284001090   22-11284   Pharmaca Integrative Pharmacy, Inc.   COMPLETE BUSINESS SYSTEMS OF COLORADO, I     $9,582.76
        284001100   22-11284   Pharmaca Integrative Pharmacy, Inc.   CONSERVICE                                      $78.42
 Epiq
20097   284001110 22-11284 Pharmaca Integrative Pharmacy, Inc. CONTINENTAL VITAMIN COMPANY                       $22,627.44
        284001120 22-11284 Pharmaca Integrative Pharmacy, Inc. COOLA SUNCARE                                     $27,918.80
        284001130 22-11284 Pharmaca Integrative Pharmacy, Inc. COPELAND MECHANICAL INC.                            $650.00
 Epiq
20146   284001140 22-11284 Pharmaca Integrative Pharmacy, Inc. CORDIAL EXPERIENCE INC                            $51,484.26
 Epiq
20145             22-11284 Pharmaca Integrative Pharmacy, Inc. CORDIAL EXPERIENCE INC                            $17,716.66
        284001150 22-11284 Pharmaca Integrative Pharmacy, Inc. CORKCICLE                                         $23,715.80
        284001160 22-11284 Pharmaca Integrative Pharmacy, Inc. CORNELL STOREFRONT                                $40,072.57
 Epiq
20240             22-11284 Pharmaca Integrative Pharmacy, Inc. CORONADO CENTER STATION LLC                      $225,287.45
        284001170 22-11284 Pharmaca Integrative Pharmacy, Inc. CORONADO STATION CENTER LLC                       $16,499.79
 Epiq
20214             22-11284 Pharmaca Integrative Pharmacy, Inc. CORPORATION SERVICE COMPANY                         $810.00
        284001190 22-11284 Pharmaca Integrative Pharmacy, Inc. COSMEDIX, LC                                       $3,158.47
        284001200 22-11284 Pharmaca Integrative Pharmacy, Inc. COUNTRY LIFE                                      $41,058.17
 Epiq
20087   284001210 22-11284 Pharmaca Integrative Pharmacy, Inc. COUPONCABIN LLC                                   $10,000.00
        284001220 22-11284 Pharmaca Integrative Pharmacy, Inc. CRANE USA, INC.                                   $22,691.20
 Epiq
20089   284001230 22-11284 Pharmaca Integrative Pharmacy, Inc. CRITEO CORP                                       $20,686.63
        284001240 22-11284 Pharmaca Integrative Pharmacy, Inc. CRITICAL DIMENSIONS                                $4,507.54
        284001250 22-11284 Pharmaca Integrative Pharmacy, Inc. CSC (4736)                                          $300.03
 Epiq
20288               22-11284   Pharmaca Integrative Pharmacy, Inc.   CT CORPORATION                               $1,804.99
        284001260   22-11284   Pharmaca Integrative Pharmacy, Inc.   CULLIGAN BOTTLED WATER OF ALBQ                  $95.97
        284001270   22-11284   Pharmaca Integrative Pharmacy, Inc.   CULLIGAN OF OREGON                            $110.50
        284001290   22-11284   Pharmaca Integrative Pharmacy, Inc.   CV SCIENCES, INC                                $68.82
        284001300   22-11284   Pharmaca Integrative Pharmacy, Inc.   CYBERSOURCE CORPORATION                     $16,662.34
        284001310   22-11284   Pharmaca Integrative Pharmacy, Inc.   DABBLE & DOLLOP, LLC                          $325.14
        284001320   22-11284   Pharmaca Integrative Pharmacy, Inc.   DANA HERBERT                                 $9,441.48
        284001330   22-11284   Pharmaca Integrative Pharmacy, Inc.   DAR CHOCOLATE LLC                           $13,898.71
        284001350   22-11284   Pharmaca Integrative Pharmacy, Inc.   DCS MANAGEMENT, LLC                           $228.09
        284001360   22-11284   Pharmaca Integrative Pharmacy, Inc.   DENIK LLC                                     $458.83
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        284001370 22-11284 Pharmaca Integrative Pharmacy, Inc. DENVER PROPANE EXCHANGE                             $118.87
        284001380 22-11284 Pharmaca Integrative Pharmacy, Inc. DESIGNS FOR HEALTH                                $93,837.40
 Epiq
20292               22-11284   Pharmaca Integrative Pharmacy, Inc.   DESIGNS FOR HEALTH INC                      $92,759.00
        284001390   22-11284   Pharmaca Integrative Pharmacy, Inc.   DEVITA INTERNATIONAL INC                     $6,095.70
        284001400   22-11284   Pharmaca Integrative Pharmacy, Inc.   DEW PUFF                                     $2,592.00
        284001410   22-11284   Pharmaca Integrative Pharmacy, Inc.   DEWOLF REALTY COMPANY                       $13,910.52
        284001420   22-11284   Pharmaca Integrative Pharmacy, Inc.   DIANE THORNE                                 $2,500.00
 Epiq
20157               22-11284   Pharmaca Integrative Pharmacy, Inc.   DLL DE LAGE LANDEN ASSIGNEE FROM CISCO      $47,078.95
        284001430   22-11284   Pharmaca Integrative Pharmacy, Inc.   DOCTOR'S BEST INC                           $48,278.56
        284001470   22-11284   Pharmaca Integrative Pharmacy, Inc.   DR. HAUSCHKA SKIN CARE                     $270,160.80
        284001490   22-11284   Pharmaca Integrative Pharmacy, Inc.   DR.DENNIS GROSS SKINCARE                    $64,007.50
        284001500   22-11284   Pharmaca Integrative Pharmacy, Inc.   DRUG PACKAGE, LLC                             $215.04
        284001510   22-11284   Pharmaca Integrative Pharmacy, Inc.   E&M PRO MANUFACTURING                        $1,442.42
        284001520   22-11284   Pharmaca Integrative Pharmacy, Inc.   E.B.I. PROPERTIES                           $11,746.03
 Epiq
20160   284001530 22-11284 Pharmaca Integrative Pharmacy, Inc. EARTH MAMA ANGEL BABY LLC                         $22,522.85
        284001540 22-11284 Pharmaca Integrative Pharmacy, Inc. EARTHLINK                                          $5,711.26
 Epiq
20064               22-11284 Pharmaca Integrative Pharmacy, Inc. EBATES PERF MKT                                $412,189.78
 Epiq
20192   284001550   22-11284   Pharmaca Integrative Pharmacy, Inc.   EC SCOTT GROUP LLC                          $22,422.41
        284001560   22-11284   Pharmaca Integrative Pharmacy, Inc.   ECO VESSEL, LLC                               $999.98
        284001570   22-11284   Pharmaca Integrative Pharmacy, Inc.   ECOPIGGY LLC                                 $2,389.40
        284001580   22-11284   Pharmaca Integrative Pharmacy, Inc.   ECOTREND ECOLOGICS LTD                        $432.25
        284001590   22-11284   Pharmaca Integrative Pharmacy, Inc.   EDWARD C. STAHL                             $16,277.16
        284001610   22-11284   Pharmaca Integrative Pharmacy, Inc.   EEBOO                                         $373.23
 Epiq
20272             22-11284 Pharmaca Integrative Pharmacy, Inc. EEBOO CORPORATION                                   $373.23
        284001620 22-11284 Pharmaca Integrative Pharmacy, Inc. EGYPTIAN MAGIC SKIN CREAM                          $1,379.48
        284001640 22-11284 Pharmaca Integrative Pharmacy, Inc. ELDORADO ARTESIAN SPRING WATER                      $913.66
 Epiq
20191   284001650 22-11284 Pharmaca Integrative Pharmacy, Inc. ELEMENTAL HERBS                                   $13,363.20
 Epiq
20208   284001660   22-11284   Pharmaca Integrative Pharmacy, Inc.   ELWOOD STAFFING SERVICES INC                $78,489.29
        284001670   22-11284   Pharmaca Integrative Pharmacy, Inc.   EMERSON ECOLOGICS LLC                       $11,348.38
        284001680   22-11284   Pharmaca Integrative Pharmacy, Inc.   EMERSON HEALTHCARE LLC                      $29,501.84
        284001690   22-11284   Pharmaca Integrative Pharmacy, Inc.   EMINENCE ORGANIC SKIN CARE                   $6,776.47
        284001700   22-11284   Pharmaca Integrative Pharmacy, Inc.   EMPLOYMENT SOLUTIONS PERSONNEL SERVICES,    $14,916.35
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          284001710   22-11284   Pharmaca Integrative Pharmacy, Inc.   EN-VISION AMERICA, INC.                  $2,920.00
          284001720   22-11284   Pharmaca Integrative Pharmacy, Inc.   ENZYMEDICA                              $31,858.19
          284001730   22-11284   Pharmaca Integrative Pharmacy, Inc.   ERBAVIVA                                  $853.04
          284001740   22-11284   Pharmaca Integrative Pharmacy, Inc.   ERE PEREZ                               $63,672.30
          284001750   22-11284   Pharmaca Integrative Pharmacy, Inc.   ETHICA BEAUTY                            $2,481.54
Epiq 20               22-11284   Pharmaca Integrative Pharmacy, Inc.   EULER HERMES AGENT FOR RITE LITE LTD     $9,899.58
          284001760   22-11284   Pharmaca Integrative Pharmacy, Inc.   EUROPEAN SOAPS, LTD                     $23,112.72
          284001770   22-11284   Pharmaca Integrative Pharmacy, Inc.   EUROPHARMA                             $165,212.48
          284001780   22-11284   Pharmaca Integrative Pharmacy, Inc.   EVANHEALY                              $103,662.17
          284001790   22-11284   Pharmaca Integrative Pharmacy, Inc.   EVERGREEN HERBS & MEDICAL SUPPLIES       $3,922.73
          284001800   22-11284   Pharmaca Integrative Pharmacy, Inc.   EVOLVH INC.                             $11,616.50
          284001810   22-11284   Pharmaca Integrative Pharmacy, Inc.   EXCEL PRESS, INC                        $51,896.41
 Epiq
20107                 22-11284   Pharmaca Integrative Pharmacy, Inc.   EXEC PHARMA LLC                         $61,728.00
          284001830   22-11284   Pharmaca Integrative Pharmacy, Inc.   EXELTIST USA                             $1,759.50
          284001840   22-11284   Pharmaca Integrative Pharmacy, Inc.   EXPANSCIENCE LABORARIES                 $10,654.90
          284001860   22-11284   Pharmaca Integrative Pharmacy, Inc.   FAGRON                                   $2,116.96
          284001870   22-11284   Pharmaca Integrative Pharmacy, Inc.   FARM HOUSE FRESH                         $9,546.53
          284001880   22-11284   Pharmaca Integrative Pharmacy, Inc.   FASTSIGNS                                 $284.49
          284001890   22-11284   Pharmaca Integrative Pharmacy, Inc.   FEDEX (3129)                           $166,595.83
          284001900   22-11284   Pharmaca Integrative Pharmacy, Inc.   FEDEX (8196)                            $14,568.77
          284001910   22-11284   Pharmaca Integrative Pharmacy, Inc.   FEDEX FREIGHT                            $2,745.45
          284001920   22-11284   Pharmaca Integrative Pharmacy, Inc.   FEDEX SAMEDAY                           $14,212.31
 Epiq
20079     284001930   22-11284   Pharmaca Integrative Pharmacy, Inc.   FEELGOODZ LLC                           $11,808.36
          284001940   22-11284   Pharmaca Integrative Pharmacy, Inc.   FFF ENTERPRISES, INC.                    $8,606.78
          284001950   22-11284   Pharmaca Integrative Pharmacy, Inc.   FINDING HOME FARMS, LLC                  $3,130.22
          284001960   22-11284   Pharmaca Integrative Pharmacy, Inc.   FINEST ACCESSORIES                       $5,537.79
          284001970   22-11284   Pharmaca Integrative Pharmacy, Inc.   FIT FOR LIFE LLC                         $5,852.14
          284001980   22-11284   Pharmaca Integrative Pharmacy, Inc.   FLATIRONS LOCKSMITHS                      $114.00
          284001990   22-11284   Pharmaca Integrative Pharmacy, Inc.   FLEXENTIAL CORP                         $10,264.47
Epiq 31               22-11284   Pharmaca Integrative Pharmacy, Inc.   FLOATING WORLD INC                       $3,381.00
          284002000   22-11284   Pharmaca Integrative Pharmacy, Inc.   FLORA, INC.                             $23,272.17
          284002010   22-11284   Pharmaca Integrative Pharmacy, Inc.   FORCES OF NATURE                         $6,952.80
          284002030   22-11284   Pharmaca Integrative Pharmacy, Inc.   FRAN'S CHOCOLATES, LTD.                 $31,406.96
          284002040   22-11284   Pharmaca Integrative Pharmacy, Inc.   FREEDOM WINDOW CLEANING                   $157.00
          284002050   22-11284   Pharmaca Integrative Pharmacy, Inc.   FRENCH TRANSIST LTD                     $84,149.14
          284002060   22-11284   Pharmaca Integrative Pharmacy, Inc.   FRONTIER COMMUNICATIONS CORP              $979.54
          284002070   22-11284   Pharmaca Integrative Pharmacy, Inc.   FUNGI PERFECTI, LLC                    $248,686.01
          284002080   22-11284   Pharmaca Integrative Pharmacy, Inc.   GABRIEL COSMETICS                       $25,471.84
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        284002090   22-11284   Pharmaca Integrative Pharmacy, Inc.   GAIA HERBS INC                            $269,260.96
        284002110   22-11284   Pharmaca Integrative Pharmacy, Inc.   GARDEN OF LIFE                            $426,788.99
        284002120   22-11284   Pharmaca Integrative Pharmacy, Inc.   GARY'S WINDOW CLEANING LLC                   $265.00
        284002130   22-11284   Pharmaca Integrative Pharmacy, Inc.   GBA INC.                                   $12,300.00
        284002140   22-11284   Pharmaca Integrative Pharmacy, Inc.   GEN3 MARKETING, LLC                        $36,467.50
        284002150   22-11284   Pharmaca Integrative Pharmacy, Inc.   GENEFORCE INCORPORATED                     $33,856.00
        284002160   22-11284   Pharmaca Integrative Pharmacy, Inc.   GENEXA INC                                  $9,907.28
        284002170   22-11284   Pharmaca Integrative Pharmacy, Inc.   GENIUS CENTRAL SYSTEMS, INC                 $6,240.00
        284002180   22-11284   Pharmaca Integrative Pharmacy, Inc.   GETTY IMAGES (US) INC.                       $297.41
 Epiq
20086   284002190 22-11284 Pharmaca Integrative Pharmacy, Inc. GLADRAGS                                          $3,619.99
        284002200 22-11284 Pharmaca Integrative Pharmacy, Inc. GO MAX GO FOODS, LLC                              $3,069.00
        284002210 22-11284 Pharmaca Integrative Pharmacy, Inc. GOLDFADEN MD                                      $9,003.80
 Epiq
20232               22-11284   Pharmaca Integrative Pharmacy, Inc.   GOLDFADEN SKINCARE INC                     $12,379.80
        284002220   22-11284   Pharmaca Integrative Pharmacy, Inc.   GOOD CLEAN LOVE                            $12,810.16
        284002230   22-11284   Pharmaca Integrative Pharmacy, Inc.   GOODHEW, LLC                               $15,047.48
        284002240   22-11284   Pharmaca Integrative Pharmacy, Inc.   GOODLIGHT NATURAL CANDLES, LLC             $23,629.00
        284002250   22-11284   Pharmaca Integrative Pharmacy, Inc.   GOOGLE INC.                                $86,099.91
        284002260   22-11284   Pharmaca Integrative Pharmacy, Inc.   GREEN SPROUTS FKA IPLAY                     $1,444.45
        284002270   22-11284   Pharmaca Integrative Pharmacy, Inc.   GREEN TREE JEWELRY                           $534.00
        284002300   22-11284   Pharmaca Integrative Pharmacy, Inc.   GROWVE                                     $50,547.18
        284002310   22-11284   Pharmaca Integrative Pharmacy, Inc.   GU ENERGY LABS                              $2,966.40
        284002320   22-11284   Pharmaca Integrative Pharmacy, Inc.   HACHETTE BOOK GROUP USA                     $4,138.44
        284002330   22-11284   Pharmaca Integrative Pharmacy, Inc.   HAMILTON, BROOK, SMITH & REYNOLDS, P.C.    $10,821.82
        284002340   22-11284   Pharmaca Integrative Pharmacy, Inc.   HAMMOND'S CANDIES                           $8,044.80
        284002350   22-11284   Pharmaca Integrative Pharmacy, Inc.   HAND IN HAND SOAP LLC                       $1,024.20
        284002360   22-11284   Pharmaca Integrative Pharmacy, Inc.   HARVEST ROAST                               $1,531.39
 Epiq
20091             22-11284 Pharmaca Integrative Pharmacy, Inc. HBR MEDIA INC                                    $10,000.00
        284002380 22-11284 Pharmaca Integrative Pharmacy, Inc. HEALTH CARE LOGISTICS                             $3,892.14
 Epiq
20041   284002390 22-11284 Pharmaca Integrative Pharmacy, Inc. HEALTHFORCE SUPERFOODS INC                       $58,226.81
        284002400 22-11284 Pharmaca Integrative Pharmacy, Inc. HEMPFUSION, INC. DBA PROBULIN                    $10,147.68
        284002410 22-11284 Pharmaca Integrative Pharmacy, Inc. HERB PHARM                                       $60,034.26
 Epiq
20123   284002420   22-11284   Pharmaca Integrative Pharmacy, Inc.   HERB UK NORTH AMERICAN DISTRIBUTION INC    $21,369.46
        284002430   22-11284   Pharmaca Integrative Pharmacy, Inc.   HERBS, ETC.                                $36,690.52
        284002440   22-11284   Pharmaca Integrative Pharmacy, Inc.   HIBAR, INC                                  $1,014.44
        284002450   22-11284   Pharmaca Integrative Pharmacy, Inc.   HIMALAYA DRUG COMPANY, THE                 $34,644.04
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        284002460   22-11284   Pharmaca Integrative Pharmacy, Inc.   HL NATURAL, INC. DBA HILMA                  $1,281.60
        284002470   22-11284   Pharmaca Integrative Pharmacy, Inc.   HR DIRECT                                   $1,678.37
        284002490   22-11284   Pharmaca Integrative Pharmacy, Inc.   HUMBLE BRANDS, INC.                         $6,432.32
        284002500   22-11284   Pharmaca Integrative Pharmacy, Inc.   HUMMINGBIRD WINDOW CLEANING                  $458.70
        284002510   22-11284   Pharmaca Integrative Pharmacy, Inc.   HYDROS BOTTLE, LLC                          $3,991.70
        284002520   22-11284   Pharmaca Integrative Pharmacy, Inc.   HYLANDS INC.                               $31,761.66
        284002530   22-11284   Pharmaca Integrative Pharmacy, Inc.   ICU EYEWEAR, INC.                          $65,389.23
        284002540   22-11284   Pharmaca Integrative Pharmacy, Inc.   ILLUME HOLDING CO, LLC                     $44,490.80
 Epiq
20096             22-11284 Pharmaca Integrative Pharmacy, Inc. IMPACT TECH INC                                  $12,869.89
        284002550 22-11284 Pharmaca Integrative Pharmacy, Inc. IMPACT TECH, INC                                $435,328.62
 Epiq
20050   284002560   22-11284   Pharmaca Integrative Pharmacy, Inc.   INDABA TRADING LTD                         $12,585.87
        284002570   22-11284   Pharmaca Integrative Pharmacy, Inc.   INDIE LEE & CO. INC.                       $15,607.64
        284002580   22-11284   Pharmaca Integrative Pharmacy, Inc.   INDIGO HANDLOOM INC.                       $14,423.85
        284002590   22-11284   Pharmaca Integrative Pharmacy, Inc.   INDIGO WILD, LLC                           $27,022.27
        284002600   22-11284   Pharmaca Integrative Pharmacy, Inc.   INDUSTRIAS T. TAIO, LLC                     $2,419.20
        284002610   22-11284   Pharmaca Integrative Pharmacy, Inc.   INNERSENSE ORGANIC BEAUTY INC.              $4,767.22
        284002620   22-11284   Pharmaca Integrative Pharmacy, Inc.   INSTAKEY SECURITY SYSTEMS INC                $146.51
        284002630   22-11284   Pharmaca Integrative Pharmacy, Inc.   INSTITUTE FOR TRADITIONAL MEDICINE           $780.00
        284002640   22-11284   Pharmaca Integrative Pharmacy, Inc.   INTEGRAL RX                                    $81.39
        284002650   22-11284   Pharmaca Integrative Pharmacy, Inc.   INTEGRATED SYSTEM INSTALLERS INC.          $26,801.33
        284002660   22-11284   Pharmaca Integrative Pharmacy, Inc.   INTELEX USA LLC                             $4,680.00
        284002670   22-11284   Pharmaca Integrative Pharmacy, Inc.   INTERFACE SECURITY SYSTEMS LLC              $2,459.96
        284002680   22-11284   Pharmaca Integrative Pharmacy, Inc.   INTERMOUNTAIN STAFFING SERVICE, INC DBA    $21,434.22
        284002690   22-11284   Pharmaca Integrative Pharmacy, Inc.   INTERNATIONAL ARRIVALS                       $893.34
        284002700   22-11284   Pharmaca Integrative Pharmacy, Inc.   INTUITION                                  $13,839.50
        284002710   22-11284   Pharmaca Integrative Pharmacy, Inc.   IQVIA, INC                                  $3,228.50
 Epiq
20261               22-11284   Pharmaca Integrative Pharmacy, Inc.   IREDALE COSMETICS INC                     $245,703.16
        284002720   22-11284   Pharmaca Integrative Pharmacy, Inc.   IREDALE COSMETICS, INC.                   $174,317.24
        284002730   22-11284   Pharmaca Integrative Pharmacy, Inc.   IRON MOUNTAIN                              $21,856.51
        284002740   22-11284   Pharmaca Integrative Pharmacy, Inc.   IRWIN NATURALS                              $3,597.48
        284002750   22-11284   Pharmaca Integrative Pharmacy, Inc.   JA CARPENTRY INC                          $561,371.61
        284002770   22-11284   Pharmaca Integrative Pharmacy, Inc.   JACK BLACK LLC                              $3,372.00
        284002780   22-11284   Pharmaca Integrative Pharmacy, Inc.   JACK RABBIT CREATIONS INC.                  $5,687.90
        284002790   22-11284   Pharmaca Integrative Pharmacy, Inc.   JARROW FORMULAS                           $294,808.31
        284002800   22-11284   Pharmaca Integrative Pharmacy, Inc.   JAY ROBB ENTERPRISES, INC.                 $56,193.90
        284002820   22-11284   Pharmaca Integrative Pharmacy, Inc.   JESSICA JUHL                                $7,250.00
        284002830   22-11284   Pharmaca Integrative Pharmacy, Inc.   JETS NEWS DELIVERY                          $2,924.51
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        284002840   22-11284   Pharmaca Integrative Pharmacy, Inc.   JOB STORE STAFFING                       $30,130.29
        284002850   22-11284   Pharmaca Integrative Pharmacy, Inc.   JOHN MASTERS ORGANICS                    $18,452.15
        284002860   22-11284   Pharmaca Integrative Pharmacy, Inc.   JOYFUL BATH CO. LLC                       $7,929.00
        284002870   22-11284   Pharmaca Integrative Pharmacy, Inc.   JOYYA US PBC                              $9,430.00
        284002880   22-11284   Pharmaca Integrative Pharmacy, Inc.   JUDY BRANDON DBA JUDY BRANDON JEWELRY    $20,795.50
        284002890   22-11284   Pharmaca Integrative Pharmacy, Inc.   JUICE BEAUTY, INC.                       $40,637.50
        284002900   22-11284   Pharmaca Integrative Pharmacy, Inc.   JURATOYS US CORP                           $953.46
        284002910   22-11284   Pharmaca Integrative Pharmacy, Inc.   JURLIQUE                                 $71,220.12
        284002920   22-11284   Pharmaca Integrative Pharmacy, Inc.   KALAMAZOO CANDLE COMPANY                  $3,047.04
        284002930   22-11284   Pharmaca Integrative Pharmacy, Inc.   KANBERRA GROUP                            $4,437.94
        284002940   22-11284   Pharmaca Integrative Pharmacy, Inc.   KENNETH PARK ARCHITECT PLLC             $197,886.28
        284002950   22-11284   Pharmaca Integrative Pharmacy, Inc.   KIKKERLAND DESIGN INC                      $653.22
        284002960   22-11284   Pharmaca Integrative Pharmacy, Inc.   KITSCH LLC                                $2,936.21
 Epiq
20054   284002970 22-11284 Pharmaca Integrative Pharmacy, Inc. KLEAN KANTTEN INC                              $27,648.56
        284002980 22-11284 Pharmaca Integrative Pharmacy, Inc. KNASTER TECHNOLOGY GROUP                        $1,725.75
        284002990 22-11284 Pharmaca Integrative Pharmacy, Inc. KNOWN SUPPLY INC                                $8,055.12
 Epiq
20250               22-11284   Pharmaca Integrative Pharmacy, Inc.   KOGINGER GROUP LLC                       $47,572.12
        284003000   22-11284   Pharmaca Integrative Pharmacy, Inc.   KOREAN RED GINSENG CORP                   $2,799.72
        284003030   22-11284   Pharmaca Integrative Pharmacy, Inc.   KUPIEC & MARTIN, LLC                     $28,710.00
        284003040   22-11284   Pharmaca Integrative Pharmacy, Inc.   KUUMBA MADE INC.                          $1,592.10
        284003050   22-11284   Pharmaca Integrative Pharmacy, Inc.   LA CHATELAINE                            $10,822.78
 Epiq
20022   284003060   22-11284   Pharmaca Integrative Pharmacy, Inc.   LAFCO ENTERPRISES INC                     $4,475.38
        284003070   22-11284   Pharmaca Integrative Pharmacy, Inc.   LAKE CHAMPLAIN CHOCOLATES                 $6,730.55
        284003080   22-11284   Pharmaca Integrative Pharmacy, Inc.   LAMAS BEAUTY, INTL.                       $8,546.80
        284003090   22-11284   Pharmaca Integrative Pharmacy, Inc.   LANE POWELL PC                            $7,085.00
        284003100   22-11284   Pharmaca Integrative Pharmacy, Inc.   LAURA CRAWFORD INC                       $12,232.00
 Epiq
20259             22-11284 Pharmaca Integrative Pharmacy, Inc. LAVIDO NA LLC                                  $22,822.45
        284003110 22-11284 Pharmaca Integrative Pharmacy, Inc. LAVIDO NA LLC                                  $22,451.89
        284003120 22-11284 Pharmaca Integrative Pharmacy, Inc. LEASEQUERY, LLC                                 $1,275.00
 Epiq
20286               22-11284   Pharmaca Integrative Pharmacy, Inc.   LELAND M FORD & ASSOCIATES LP           $186,728.58
        284003140   22-11284   Pharmaca Integrative Pharmacy, Inc.   LELAND M. FORD ASSOCIATES                $61,054.29
        284003150   22-11284   Pharmaca Integrative Pharmacy, Inc.   LELO, INC.                               $22,176.31
        284003160   22-11284   Pharmaca Integrative Pharmacy, Inc.   LENERTZ INDUSTRIAL SUPPLY CO, INC        $17,982.23
        284003170   22-11284   Pharmaca Integrative Pharmacy, Inc.   LEPRINO PERFORMANCE BRANDS               $18,731.44
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 Epiq
20235               22-11284   Pharmaca Integrative Pharmacy, Inc.   LEPRINO PERFORMANCE BRANDS LLC            $18,731.44
        284003180   22-11284   Pharmaca Integrative Pharmacy, Inc.   LIDO LIGHTING, INC.                        $5,947.62
        284003190   22-11284   Pharmaca Integrative Pharmacy, Inc.   LIFE SCIENCE INSTITUTE LLC/HEALTHYCELL    $17,408.90
        284003200   22-11284   Pharmaca Integrative Pharmacy, Inc.   LIFETIME BRANDS, INC.                      $1,040.04
        284003210   22-11284   Pharmaca Integrative Pharmacy, Inc.   LIFT CHOCOLATE LLC                         $7,256.52
        284003220   22-11284   Pharmaca Integrative Pharmacy, Inc.   LIFTLAB SKIN                              $22,134.75
        284003260   22-11284   Pharmaca Integrative Pharmacy, Inc.   LIPPMANN ENTERPRISES LLC                   $2,522.16
        284003280   22-11284   Pharmaca Integrative Pharmacy, Inc.   LITTLER MENDELSON P.C.                    $63,522.17
        284003290   22-11284   Pharmaca Integrative Pharmacy, Inc.   LIVE WIRE NETWORKS INC                      $816.35
        284003300   22-11284   Pharmaca Integrative Pharmacy, Inc.   LOAMI NAILS LLC                            $8,460.63
        284003310   22-11284   Pharmaca Integrative Pharmacy, Inc.   LOGMEIN USA, INC.                           $490.74
        284003320   22-11284   Pharmaca Integrative Pharmacy, Inc.   LORIG MANAGEMENT SERVICES LLC             $14,751.34
        284003330   22-11284   Pharmaca Integrative Pharmacy, Inc.   LOS POBLANOS INN & CULTURAL CENTER          $969.00
        284003340   22-11284   Pharmaca Integrative Pharmacy, Inc.   LOTUS LIGHT ENTERPRISES, INC.              $7,978.62
        284003350   22-11284   Pharmaca Integrative Pharmacy, Inc.   LOVE REUSABLE BAGS, INC.                    $366.00
        284003360   22-11284   Pharmaca Integrative Pharmacy, Inc.   LOVE SUN BODY LLC                          $7,260.23
        284003370   22-11284   Pharmaca Integrative Pharmacy, Inc.   LOWELL T. PATTON TRUST                    $16,512.00
        284003390   22-11284   Pharmaca Integrative Pharmacy, Inc.   LUMEN                                      $4,092.44
        284003400   22-11284   Pharmaca Integrative Pharmacy, Inc.   M2 INGREDIENTS                            $43,952.14
        284003410   22-11284   Pharmaca Integrative Pharmacy, Inc.   MAD HIPPIE LLC                            $53,991.52
        284003420   22-11284   Pharmaca Integrative Pharmacy, Inc.   MADDIEBRIT PRODUCTS, LLC                   $8,969.18
        284003430   22-11284   Pharmaca Integrative Pharmacy, Inc.   MADE OF LLC                                $2,205.50
        284003440   22-11284   Pharmaca Integrative Pharmacy, Inc.   MADER NEWS, INC.                           $2,591.60
        284003450   22-11284   Pharmaca Integrative Pharmacy, Inc.   MAGIC FAIRY CANDLES                         $231.82
        284003460   22-11284   Pharmaca Integrative Pharmacy, Inc.   MAIN STREET MAT COMPANY                     $348.04
        284003470   22-11284   Pharmaca Integrative Pharmacy, Inc.   MALIN+GOETZ INC                            $2,155.84
        284003480   22-11284   Pharmaca Integrative Pharmacy, Inc.   MANHATTAN DIGITAL DIRECT MARKETING, INC    $8,377.50
        284003490   22-11284   Pharmaca Integrative Pharmacy, Inc.   MANIDAE BEAUTY BRANDS                     $10,096.57
        284003500   22-11284   Pharmaca Integrative Pharmacy, Inc.   MARICH CONFECTIONERY COMPANY               $5,529.96
        284003510   22-11284   Pharmaca Integrative Pharmacy, Inc.   MARKED PROMOTIONS (FORMERLY LABCOATS)      $1,328.30
        284003530   22-11284   Pharmaca Integrative Pharmacy, Inc.   MARLON SCOTT PONCE RAMIREZ                  $132.10
        284003540   22-11284   Pharmaca Integrative Pharmacy, Inc.   MAROMA USA, LLC                           $11,069.42
        284003550   22-11284   Pharmaca Integrative Pharmacy, Inc.   MATR BOOMIE/HANDMADE EXPRESSIONS            $135.54
        284003560   22-11284   Pharmaca Integrative Pharmacy, Inc.   MAX GREEN ALCHEMY LIMITED                  $6,855.77
        284003570   22-11284   Pharmaca Integrative Pharmacy, Inc.   MAX PACK                                  $33,378.11
        284003580   22-11284   Pharmaca Integrative Pharmacy, Inc.   MAXIM HYGIENE PRODUCTS                     $3,284.67
 Epiq
20088   284003590 22-11284 Pharmaca Integrative Pharmacy, Inc. MAYWAY CORP                                     $12,202.85
        284003600 22-11284 Pharmaca Integrative Pharmacy, Inc. MDSOLARSCIENCES, CORP                           $54,093.60
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        284003610 22-11284 Pharmaca Integrative Pharmacy, Inc. MEDINATURA INC.                               $12,070.70
 Epiq
20252               22-11284   Pharmaca Integrative Pharmacy, Inc.   MEDISCA INC                              $5,738.70
        284003620   22-11284   Pharmaca Integrative Pharmacy, Inc.   MEGAFOOD                               $214,945.77
        284003630   22-11284   Pharmaca Integrative Pharmacy, Inc.   MELISSA & DOUG, INC.                     $4,335.15
        284003640   22-11284   Pharmaca Integrative Pharmacy, Inc.   MERCHANDISE INC                          $6,429.68
        284003650   22-11284   Pharmaca Integrative Pharmacy, Inc.   METAGENICS, INC.                       $176,820.08
        284003660   22-11284   Pharmaca Integrative Pharmacy, Inc.   MG SECURITY SERVICES LLC                $10,828.88
        284003670   22-11284   Pharmaca Integrative Pharmacy, Inc.   MICRO MERCHANT SYSTEMS INC              $18,672.68
        284003680   22-11284   Pharmaca Integrative Pharmacy, Inc.   MICROPLANE PERSONAL CARE                  $425.00
        284003690   22-11284   Pharmaca Integrative Pharmacy, Inc.   MMP SOLUTIONS DBA MAKE ME HEAL            $614.94
        284003700   22-11284   Pharmaca Integrative Pharmacy, Inc.   MONACO LLC                               $1,632.66
        284003710   22-11284   Pharmaca Integrative Pharmacy, Inc.   MONTANA DATACOM                          $3,800.00
        284003720   22-11284   Pharmaca Integrative Pharmacy, Inc.   MOOD MEDIA                               $3,913.00
        284003730   22-11284   Pharmaca Integrative Pharmacy, Inc.   MOONSTRUCK CHOCOLATE COMPANY             $3,489.84
 Epiq
20047               22-11284   Pharmaca Integrative Pharmacy, Inc.   MORINGA TREE LLC                        $10,098.30
        284003740   22-11284   Pharmaca Integrative Pharmacy, Inc.   MORRELL PRINTING SOLUTIONS, LLC          $1,051.77
        284003750   22-11284   Pharmaca Integrative Pharmacy, Inc.   MOTHERLOVE HERBAL CO.                     $414.00
        284003760   22-11284   Pharmaca Integrative Pharmacy, Inc.   MOUNTAIN MIST                             $590.83
        284003770   22-11284   Pharmaca Integrative Pharmacy, Inc.   MOUNTAIN PEOPLE/UNITED NATURAL FOODS   $149,237.84
        284003780   22-11284   Pharmaca Integrative Pharmacy, Inc.   MQ DIRECT LLC                            $3,340.73
        284003790   22-11284   Pharmaca Integrative Pharmacy, Inc.   MRM/METABOLIC RESPONSE MODIFIERS        $10,515.45
        284003800   22-11284   Pharmaca Integrative Pharmacy, Inc.   MSCRIPTS, LLC                           $39,913.91
        284003810   22-11284   Pharmaca Integrative Pharmacy, Inc.   MURPHY & MILLER, INC.                    $3,144.90
        284003820   22-11284   Pharmaca Integrative Pharmacy, Inc.   MYFIGHT                                  $9,263.84
        284003830   22-11284   Pharmaca Integrative Pharmacy, Inc.   NANTUCKET SPIDER, LLC                    $5,375.92
        284003840   22-11284   Pharmaca Integrative Pharmacy, Inc.   NAPA COUNTY                               $376.00
        284003850   22-11284   Pharmaca Integrative Pharmacy, Inc.   NAPA RECYCLING & WASTE SERVICES, LLC      $576.34
        284003860   22-11284   Pharmaca Integrative Pharmacy, Inc.   NATROL LLC                              $16,186.31
        284003870   22-11284   Pharmaca Integrative Pharmacy, Inc.   NATURA HEALTH PRODUCTS, INC.            $26,133.82
        284003880   22-11284   Pharmaca Integrative Pharmacy, Inc.   NATURAL FACTORS                        $611,316.85
        284003890   22-11284   Pharmaca Integrative Pharmacy, Inc.   NATURAL HEALTH INTL.                    $13,764.90
        284003900   22-11284   Pharmaca Integrative Pharmacy, Inc.   NATURAL HEALTH PARTNERS, LLC           $101,861.84
        284003910   22-11284   Pharmaca Integrative Pharmacy, Inc.   NATURAL HEALTH SUPPLY                     $549.00
        284003920   22-11284   Pharmaca Integrative Pharmacy, Inc.   NATURAL ORGANICS INC                     $8,422.84
        284003930   22-11284   Pharmaca Integrative Pharmacy, Inc.   NATURAL PATH/SILVER WINGS                $9,140.16
        284003940   22-11284   Pharmaca Integrative Pharmacy, Inc.   NATURAL STACKS, INC.                    $12,830.78
        284003950   22-11284   Pharmaca Integrative Pharmacy, Inc.   NATURAL-IMMUNOGENICS CORP.              $29,388.24
        284003960   22-11284   Pharmaca Integrative Pharmacy, Inc.   NATURALLY SERIOUS                         $696.00
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          284003970 22-11284 Pharmaca Integrative Pharmacy, Inc. NATURE'S ANSWER INC                        $5,639.11
 Epiq
20128     284003980 22-11284 Pharmaca Integrative Pharmacy, Inc. NATURE'S WAY BRANDS LLC                  $184,244.47
          284003990 22-11284 Pharmaca Integrative Pharmacy, Inc. NCLA BEAUTY INC                           $19,843.20
          284004000 22-11284 Pharmaca Integrative Pharmacy, Inc. NDAL MFG INC                               $7,083.90
 Epiq
20110               22-11284 Pharmaca Integrative Pharmacy, Inc. NEIL PATEL DIGITAL                       $113,532.00
          284004010 22-11284 Pharmaca Integrative Pharmacy, Inc. NELGROUP PROPERTIES LLC                   $21,619.54
 Epiq
20255                 22-11284   Pharmaca Integrative Pharmacy, Inc.   NESTLE USA INC                     $142,256.80
          284004030   22-11284   Pharmaca Integrative Pharmacy, Inc.   NESTLE USA, INC.                    $70,052.13
          284004040   22-11284   Pharmaca Integrative Pharmacy, Inc.   NEUROHACKER COLLECTIVE LLC           $3,772.61
          284004050   22-11284   Pharmaca Integrative Pharmacy, Inc.   NEUROSCIENCE, INC.                   $9,005.40
          284004060   22-11284   Pharmaca Integrative Pharmacy, Inc.   NEW CHAPTER                        $419,042.84
          284004070   22-11284   Pharmaca Integrative Pharmacy, Inc.   NEW WAVE ENVIRO                      $5,781.70
          284004080   22-11284   Pharmaca Integrative Pharmacy, Inc.   NHIN, INC. (CHANGE HEALTHCARE)      $75,921.29
          284004090   22-11284   Pharmaca Integrative Pharmacy, Inc.   NIPPON KODO INC                      $1,574.79
Epiq 93               22-11284   Pharmaca Integrative Pharmacy, Inc.   NM TAXATION & REVENUE DEPARTMENT       $121.96
          284004100   22-11284   Pharmaca Integrative Pharmacy, Inc.   NONIKO                               $4,344.00
          284004110   22-11284   Pharmaca Integrative Pharmacy, Inc.   NORDIC NATURALS                    $418,773.46
          284004120   22-11284   Pharmaca Integrative Pharmacy, Inc.   NORTH AMERICA HERB & SPICE, LLC     $13,615.60
          284004140   22-11284   Pharmaca Integrative Pharmacy, Inc.   NORTH COAST ORGANICS, LLC            $2,490.00
          284004160   22-11284   Pharmaca Integrative Pharmacy, Inc.   NOW FOODS                           $76,719.26
          284004170   22-11284   Pharmaca Integrative Pharmacy, Inc.   NP DIGITAL                         $113,532.00
          284004180   22-11284   Pharmaca Integrative Pharmacy, Inc.   NUFACE                               $5,852.50
          284004190   22-11284   Pharmaca Integrative Pharmacy, Inc.   NULEAF NATURALS LLC                   $113.48
          284004200   22-11284   Pharmaca Integrative Pharmacy, Inc.   NUTRACEUTICAL FAMILY OF BRANDS     $123,875.18
          284004210   22-11284   Pharmaca Integrative Pharmacy, Inc.   NUTRANEXT, LLC                     $112,722.50
          284004220   22-11284   Pharmaca Integrative Pharmacy, Inc.   NUTRIGOLD                           $53,532.79
 Epiq
20112               22-11284 Pharmaca Integrative Pharmacy, Inc.       O2C BRANDS                           $1,035.18
          284004240 22-11284 Pharmaca Integrative Pharmacy, Inc.       OILOGIC                              $1,486.92
          284004250 22-11284 Pharmaca Integrative Pharmacy, Inc.       OLLY PUBLIC BENEFIT CORPORATION     $23,311.58
          284004260 22-11284 Pharmaca Integrative Pharmacy, Inc.       OMI INDUSTRIES                       $3,324.84
 Epiq
20062                 22-11284 Pharmaca Integrative Pharmacy, Inc. OMI INDUSTRIES INC                       $3,426.72
 Epiq
20032     284004270 22-11284 Pharmaca Integrative Pharmacy, Inc. OMNISYS LLC                               $15,027.88
          284004280 22-11284 Pharmaca Integrative Pharmacy, Inc. ONE TOUCH POINT MOUNTAIN STATES, LLC      $33,923.31
          284004290 22-11284 Pharmaca Integrative Pharmacy, Inc. ONNIT LABS, LLC                           $18,337.68
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        284004300   22-11284   Pharmaca Integrative Pharmacy, Inc.   ONTARIO REFRIGERATION SERVICE, INC     $4,618.38
        284004310   22-11284   Pharmaca Integrative Pharmacy, Inc.   ONYX AND BLUE CORPORATION             $16,862.04
        284004320   22-11284   Pharmaca Integrative Pharmacy, Inc.   OREGON'S WILD HARVEST                 $44,045.40
        284004330   22-11284   Pharmaca Integrative Pharmacy, Inc.   ORGAIN LLC                              $285.01
        284004340   22-11284   Pharmaca Integrative Pharmacy, Inc.   ORGANIC CANDY FACTORY                     $42.26
        284004350   22-11284   Pharmaca Integrative Pharmacy, Inc.   ORGANIC INDIA                         $15,112.27
        284004360   22-11284   Pharmaca Integrative Pharmacy, Inc.   ORKIN EXTERMINATING CO                 $2,432.00
 Epiq
20258               22-11284 Pharmaca Integrative Pharmacy, Inc. ORLY INTERNATIONAL INC                    $21,288.20
 Epiq
20023   284004370   22-11284   Pharmaca Integrative Pharmacy, Inc.   ORTHO MOLECULAR PRODUCTS INC         $118,753.41
        284004380   22-11284   Pharmaca Integrative Pharmacy, Inc.   OSMOSIS, LLC                           $5,115.10
        284004390   22-11284   Pharmaca Integrative Pharmacy, Inc.   PACHA SOAP COMPANY                    $15,688.52
        284004400   22-11284   Pharmaca Integrative Pharmacy, Inc.   PACT APPAREL                          $36,188.75
        284004410   22-11284   Pharmaca Integrative Pharmacy, Inc.   PANATRACK, INC.                       $50,656.40
        284004420   22-11284   Pharmaca Integrative Pharmacy, Inc.   PANGEA NATURALS, INC.                 $14,288.20
        284004430   22-11284   Pharmaca Integrative Pharmacy, Inc.   PAPER ROLLS PLUS                       $6,641.70
        284004440   22-11284   Pharmaca Integrative Pharmacy, Inc.   PAPYRUS-RECYCLED GREETINGS, INC.     $112,158.58
        284004460   22-11284   Pharmaca Integrative Pharmacy, Inc.   PARA'KITO USA CORP                    $10,107.08
        284004470   22-11284   Pharmaca Integrative Pharmacy, Inc.   PARIS PRESENTS, INC,                  $11,217.61
        284004480   22-11284   Pharmaca Integrative Pharmacy, Inc.   PASEO PROPERTIES                      $11,520.00
        284004490   22-11284   Pharmaca Integrative Pharmacy, Inc.   PAULING LABS                           $1,435.21
        284004500   22-11284   Pharmaca Integrative Pharmacy, Inc.   PCCA                                   $7,888.29
        284004510   22-11284   Pharmaca Integrative Pharmacy, Inc.   PDX, INC. (CHANGE HEALTHCARE)         $59,912.14
        284004520   22-11284   Pharmaca Integrative Pharmacy, Inc.   PEAK ENTERPRISES                        $914.85
        284004530   22-11284   Pharmaca Integrative Pharmacy, Inc.   PEAR TREE APOTHECARY                   $1,125.00
        284004540   22-11284   Pharmaca Integrative Pharmacy, Inc.   PENINSULA MESSENGER LLC                 $295.00
        284004550   22-11284   Pharmaca Integrative Pharmacy, Inc.   PERMIT ADVISORS, LLC                   $3,800.00
        284004560   22-11284   Pharmaca Integrative Pharmacy, Inc.   PETERSON MECHANICAL                    $2,200.00
        284004570   22-11284   Pharmaca Integrative Pharmacy, Inc.   PFDC USA, INC                        $101,701.87
        284004580   22-11284   Pharmaca Integrative Pharmacy, Inc.   PG&E                                  $11,335.43
        284004590   22-11284   Pharmaca Integrative Pharmacy, Inc.   PGE                                    $1,424.90
        284004600   22-11284   Pharmaca Integrative Pharmacy, Inc.   PHOTO CRAFT                           $20,563.51
 Epiq
20202             22-11284 Pharmaca Integrative Pharmacy, Inc. PIERRE FABRE USA INC                       $117,293.00
        284004610 22-11284 Pharmaca Integrative Pharmacy, Inc. PITNEY BOWES GLOBAL FINANCIAL SERVICES L     $1,284.00
 Epiq
20161             22-11284 Pharmaca Integrative Pharmacy, Inc. PLANTIVA LLC                                $16,650.46
        284004620 22-11284 Pharmaca Integrative Pharmacy, Inc. PLANTIVA LLC                                $16,629.92
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 Epiq
20277               22-11284 Pharmaca Integrative Pharmacy, Inc.       PLAZA PASEO REAL ASSOCIATES LLC            $359,046.10
          284004630 22-11284 Pharmaca Integrative Pharmacy, Inc.       PLAZA PASEO REAL ASSOCIATES, LLC            $22,529.36
          284004650 22-11284 Pharmaca Integrative Pharmacy, Inc.       PLUME COSMETICS, INC.                        $8,316.22
          284004660 22-11284 Pharmaca Integrative Pharmacy, Inc.       PNM                                           $577.93
Epiq 27             22-11284 Pharmaca Integrative Pharmacy, Inc.       PORTLAND GENERAL ELECTRIC (PGE)              $1,578.11
          284004670 22-11284 Pharmaca Integrative Pharmacy, Inc.       POSTAL ANNEX #71                              $206.90
 Epiq
20169                 22-11284   Pharmaca Integrative Pharmacy, Inc.   PRESTON, MICAELA                                $82.71
          284004680   22-11284   Pharmaca Integrative Pharmacy, Inc.   PRIMEX WIRELESS, INC.                        $1,613.88
          284004690   22-11284   Pharmaca Integrative Pharmacy, Inc.   PRIORI SKIN CARE                             $1,108.53
          284004700   22-11284   Pharmaca Integrative Pharmacy, Inc.   PRO THERA, INC.                             $72,166.00
          284004710   22-11284   Pharmaca Integrative Pharmacy, Inc.   PROGENA PROFESSIONAL FORMULATIONS            $9,886.23
          284004720   22-11284   Pharmaca Integrative Pharmacy, Inc.   PROJECT GENIUS                                  $90.00
 Epiq
20056               22-11284 Pharmaca Integrative Pharmacy, Inc. PSI HEALTH SOLUTIONS INC                           $3,060.00
          284004740 22-11284 Pharmaca Integrative Pharmacy, Inc. PSI HEALTH SOLUTIONS, INC.                         $3,060.00
 Epiq
20076                 22-11284 Pharmaca Integrative Pharmacy, Inc. PUBLIC SERVICE COMPANY                           $5,040.64
 Epiq
20131                 22-11284   Pharmaca Integrative Pharmacy, Inc.   PUGET SOUND ENERGY                           $1,720.55
          284004750   22-11284   Pharmaca Integrative Pharmacy, Inc.   PUGET SOUND ENERGY                            $883.33
          284004760   22-11284   Pharmaca Integrative Pharmacy, Inc.   PURCOR PEST SOLUTIONS                         $147.53
          284004770   22-11284   Pharmaca Integrative Pharmacy, Inc.   PURE ENCAPSULATION                         $323,414.77
          284004780   22-11284   Pharmaca Integrative Pharmacy, Inc.   PURE ESSENCE LABS                             $280.43
 Epiq
20241                 22-11284   Pharmaca Integrative Pharmacy, Inc.   PUREMEDY INC                                 $7,525.27
          284004790   22-11284   Pharmaca Integrative Pharmacy, Inc.   PUREMEDY, INC.                               $7,514.50
          284004800   22-11284   Pharmaca Integrative Pharmacy, Inc.   QING QI CHEN                                  $427.00
          284004810   22-11284   Pharmaca Integrative Pharmacy, Inc.   QUAGGA ACCESSORIES, LLC                      $8,770.80
          284004820   22-11284   Pharmaca Integrative Pharmacy, Inc.   QUALITAS HEALTH INC                         $13,025.63
          284004830   22-11284   Pharmaca Integrative Pharmacy, Inc.   QUALITY OF LIFE                             $12,917.34
          284004850   22-11284   Pharmaca Integrative Pharmacy, Inc.   QUICKSILVER EXPRESS COURIER INC OF COLOR     $1,914.54
          284004860   22-11284   Pharmaca Integrative Pharmacy, Inc.   QUICKSILVER SCIENTIFIC, INC.                $52,881.08
 Epiq
20129               22-11284     Pharmaca Integrative Pharmacy, Inc.   QUOTABLE CARDS INC                           $2,184.84
          284004870 22-11284     Pharmaca Integrative Pharmacy, Inc.   QUOTABLE CARDS, INC.                         $2,199.12
Epiq 17             22-11284     Pharmaca Integrative Pharmacy, Inc.   QWEST CORPORATION                             $190.05
          284004880 22-11284     Pharmaca Integrative Pharmacy, Inc.   RADIUS CORPORATION                          $12,769.56
          284004890 22-11284     Pharmaca Integrative Pharmacy, Inc.   RAHUA                                       $26,922.18
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          284004900 22-11284 Pharmaca Integrative Pharmacy, Inc. RAKUTEN REWARDS                                 $13,036.00
          284004910 22-11284 Pharmaca Integrative Pharmacy, Inc. RAMBO TOTAL PEST CONTROL                            $98.40
 Epiq
20201                 22-11284   Pharmaca Integrative Pharmacy, Inc.   RAR2 QUEEN ANNE - METRO MARKET QRS LLC   $199,570.93
          284004920   22-11284   Pharmaca Integrative Pharmacy, Inc.   RAR2 QUEEN ANNE-METRO MARKETS QRS, LLC    $15,724.33
          284004930   22-11284   Pharmaca Integrative Pharmacy, Inc.   RAREEARTH, LLC                             $8,915.76
          284004940   22-11284   Pharmaca Integrative Pharmacy, Inc.   RCB LION, LLC                             $31,855.23
          284004950   22-11284   Pharmaca Integrative Pharmacy, Inc.   RCH CONSULTING, INC                        $4,500.00
          284004960   22-11284   Pharmaca Integrative Pharmacy, Inc.   RECOLOGY KING COUNTY                       $1,433.87
          284004970   22-11284   Pharmaca Integrative Pharmacy, Inc.   RED HOT CERAMICS                           $4,467.35
          284004980   22-11284   Pharmaca Integrative Pharmacy, Inc.   REDWOOD WELLNESS                          $11,212.44
          284004990   22-11284   Pharmaca Integrative Pharmacy, Inc.   REED BROTHERS SECURITY                      $308.20
          284005000   22-11284   Pharmaca Integrative Pharmacy, Inc.   REGENCY ENTERPRISES, INC                    $275.95
          284005010   22-11284   Pharmaca Integrative Pharmacy, Inc.   REGENCY FIRE & SECURITY SERVICES            $420.00
          284005040   22-11284   Pharmaca Integrative Pharmacy, Inc.   RENEW LIFE FORMULAS, INC.                 $18,621.36
          284005050   22-11284   Pharmaca Integrative Pharmacy, Inc.   RICOH USA                                   $420.16
          284005060   22-11284   Pharmaca Integrative Pharmacy, Inc.   RICOH USA PROGRAM                         $10,534.24
 Epiq
20067               22-11284     Pharmaca Integrative Pharmacy, Inc.   RICOH-USA INC                             $16,652.63
          284005070 22-11284     Pharmaca Integrative Pharmacy, Inc.   RITE LITE LTD.                             $9,899.58
          284005080 22-11284     Pharmaca Integrative Pharmacy, Inc.   RIVER SOAP CO.                             $4,008.94
          284005090 22-11284     Pharmaca Integrative Pharmacy, Inc.   RMS BEAUTY                                $14,418.23
          284005100 22-11284     Pharmaca Integrative Pharmacy, Inc.   ROBERT DUER                               $10,391.38
          284005110 22-11284     Pharmaca Integrative Pharmacy, Inc.   ROBERT HALF FINANCE & ACCOUNTING           $7,750.25
          284005130 22-11284     Pharmaca Integrative Pharmacy, Inc.   ROBINSON+COLE                              $5,822.00
          284005140 22-11284     Pharmaca Integrative Pharmacy, Inc.   ROCKY MOUNTAIN NATURAL LABS              $101,689.48
Epiq 77             22-11284     Pharmaca Integrative Pharmacy, Inc.   ROIC CALIFORNIA LLC                      $366,037.41
Epiq 78             22-11284     Pharmaca Integrative Pharmacy, Inc.   ROIC MONTEREY LLC                        $246,679.26
          284005180 22-11284     Pharmaca Integrative Pharmacy, Inc.   ROSEBUD PERFUME COMPANY, INC.               $956.54
 Epiq
20031                 22-11284   Pharmaca Integrative Pharmacy, Inc.   ROSENTHAL & ROSENTHAL INC                 $13,862.22
          284005190   22-11284   Pharmaca Integrative Pharmacy, Inc.   ROSETTA TECHNOLOGIES CORPORATION            $217.69
          284005200   22-11284   Pharmaca Integrative Pharmacy, Inc.   ROTH GENERAL CONTRACTING LLC              $97,655.00
          284005210   22-11284   Pharmaca Integrative Pharmacy, Inc.   ROWPAR PHARMACEUTICALS                     $4,373.08
          284005220   22-11284   Pharmaca Integrative Pharmacy, Inc.   RR DONNELLEY                              $19,541.62
          284005230   22-11284   Pharmaca Integrative Pharmacy, Inc.   RRAM SERVICES                             $35,893.07
          284005240   22-11284   Pharmaca Integrative Pharmacy, Inc.   RTV ELECTRONICS                             $335.00
          284005250   22-11284   Pharmaca Integrative Pharmacy, Inc.   RUGGLES SIGN                              $39,539.36
 Epiq
20294                 22-11284 Pharmaca Integrative Pharmacy, Inc. RUSSO, NANCY A                                $42,562.36
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        284005260   22-11284   Pharmaca Integrative Pharmacy, Inc.   RX SYSTEMS, INC.                             $4,562.82
        284005270   22-11284   Pharmaca Integrative Pharmacy, Inc.   RXINSIDER, LTD                               $2,500.00
        284005280   22-11284   Pharmaca Integrative Pharmacy, Inc.   S WALTER PACKAGING                           $3,279.15
        284005290   22-11284   Pharmaca Integrative Pharmacy, Inc.   SAGELY NATURALS                              $6,923.67
        284005300   22-11284   Pharmaca Integrative Pharmacy, Inc.   SAMEDAY OFFICE SUPPLY                        $1,534.92
 Epiq
20133             22-11284 Pharmaca Integrative Pharmacy, Inc. SAN DIEGO HAT COMPANY                             $41,018.33
        284005320 22-11284 Pharmaca Integrative Pharmacy, Inc. SANARI CANDLE                                      $2,349.87
 Epiq
20119               22-11284   Pharmaca Integrative Pharmacy, Inc.   SANARI CANDLE CO USA LLC                     $2,349.87
        284005330   22-11284   Pharmaca Integrative Pharmacy, Inc.   SANTE FE NEW MEXICAN (CIRCULATION ONLY)      $3,560.28
        284005340   22-11284   Pharmaca Integrative Pharmacy, Inc.   SASSONE LABWEAR LLC                             $38.50
        284005350   22-11284   Pharmaca Integrative Pharmacy, Inc.   SCOTT ANDERSON LANDSCAPE & MAINTENANCE I      $759.00
        284005360   22-11284   Pharmaca Integrative Pharmacy, Inc.   SCOUT CURATED WEARS                         $10,559.74
        284005370   22-11284   Pharmaca Integrative Pharmacy, Inc.   SCRIPTDROP, INC.                             $1,375.00
        284005380   22-11284   Pharmaca Integrative Pharmacy, Inc.   SDGE                                         $4,018.88
        284005390   22-11284   Pharmaca Integrative Pharmacy, Inc.   SEATTLE CHOCOLATE COMPANY                   $13,606.92
        284005400   22-11284   Pharmaca Integrative Pharmacy, Inc.   SEED BEAUTY PRODUCTS, LLC                    $7,635.33
        284005410   22-11284   Pharmaca Integrative Pharmacy, Inc.   SEER INTERACTIVE                             $3,200.00
        284005420   22-11284   Pharmaca Integrative Pharmacy, Inc.   SENZACARE                                    $5,285.35
 Epiq
20132               22-11284   Pharmaca Integrative Pharmacy, Inc.   SENZACARE / SENZABAMBOO                      $6,486.91
        284005430   22-11284   Pharmaca Integrative Pharmacy, Inc.   SEQIRUS USA INC.                           $746,769.83
        284005440   22-11284   Pharmaca Integrative Pharmacy, Inc.   SEROYAL USA, INC.                           $36,446.70
        284005450   22-11284   Pharmaca Integrative Pharmacy, Inc.   SERVICE PERMITS FIRST, LLC                   $1,018.75
        284005460   22-11284   Pharmaca Integrative Pharmacy, Inc.   SEVENE USA                                   $1,404.50
 Epiq
20154               22-11284   Pharmaca Integrative Pharmacy, Inc.   SHANKARA INC                                 $6,636.73
        284005470   22-11284   Pharmaca Integrative Pharmacy, Inc.   SHANKARA. INC.                               $6,986.23
        284005480   22-11284   Pharmaca Integrative Pharmacy, Inc.   SHI INTERNATION CORP                        $15,395.20
        284005490   22-11284   Pharmaca Integrative Pharmacy, Inc.   SHOPBUX INC                                  $1,000.00
        284005500   22-11284   Pharmaca Integrative Pharmacy, Inc.   SHRED-IT                                    $13,419.35
        284005510   22-11284   Pharmaca Integrative Pharmacy, Inc.   SIERRA SAGE HERBS LLC                        $1,025.05
        284005520   22-11284   Pharmaca Integrative Pharmacy, Inc.   SIGNAGE SOLUTIONS CORPORATION               $52,851.21
        284005540   22-11284   Pharmaca Integrative Pharmacy, Inc.   SINCLAIR INSTITUTE                            $287.60
        284005550   22-11284   Pharmaca Integrative Pharmacy, Inc.   SIX PERSIMMONS APOTHECARY                    $1,850.69
 Epiq
20100             22-11284 Pharmaca Integrative Pharmacy, Inc. SKIN AUTHORITY LLC                                 $9,634.95
        284005560 22-11284 Pharmaca Integrative Pharmacy, Inc. SKIN AUTHORITY, LLC                                $9,797.47
        284005570 22-11284 Pharmaca Integrative Pharmacy, Inc. SMARTSENSE BY DIGI                                  $420.00
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        284005580   22-11284   Pharmaca Integrative Pharmacy, Inc.   SMARTY PANTS, INC.                      $20,419.42
        284005590   22-11284   Pharmaca Integrative Pharmacy, Inc.   SO YOUNG INC.                             $552.03
        284005600   22-11284   Pharmaca Integrative Pharmacy, Inc.   SONAGE                                  $16,452.74
        284005610   22-11284   Pharmaca Integrative Pharmacy, Inc.   SONOMA COUNTY TAX COLLECTOR              $7,164.34
 Epiq
20147             22-11284 Pharmaca Integrative Pharmacy, Inc.       SONOMA GABAGE COLLECTORS                 $1,320.06
        284005620 22-11284 Pharmaca Integrative Pharmacy, Inc.       SONOMA GARBAGE COLLECTORS, INC.           $718.15
        284005630 22-11284 Pharmaca Integrative Pharmacy, Inc.       SONOMA LAVENDER                          $5,258.00
        284005640 22-11284 Pharmaca Integrative Pharmacy, Inc.       SOURCE MANAGEMENT, INC                  $54,386.95
 Epiq
20009             22-11284 Pharmaca Integrative Pharmacy, Inc.       SOURCE OFFICE & TECHNOLOGY              $54,386.95
        284005650 22-11284 Pharmaca Integrative Pharmacy, Inc.       SOUTHERN CALIFORNIA EDISON               $1,108.06
        284005660 22-11284 Pharmaca Integrative Pharmacy, Inc.       SPACE BRANDS USA. LLC                    $2,947.08
        284005670 22-11284 Pharmaca Integrative Pharmacy, Inc.       SPARITUAL                               $17,253.48
 Epiq
20180               22-11284   Pharmaca Integrative Pharmacy, Inc.   SPECTRUM                                  $469.63
        284005680   22-11284   Pharmaca Integrative Pharmacy, Inc.   SPECTRUM CHEMICAL                           $54.25
        284005690   22-11284   Pharmaca Integrative Pharmacy, Inc.   STANDARD PROCESS, INC.                  $35,292.03
        284005700   22-11284   Pharmaca Integrative Pharmacy, Inc.   STANLEY CONVERGENT SECURITY SOLUTIONS   $12,280.88
        284005710   22-11284   Pharmaca Integrative Pharmacy, Inc.   STASHER                                  $6,468.94
        284005720   22-11284   Pharmaca Integrative Pharmacy, Inc.   STCHEALTH, LLC                           $1,104.00
        284005730   22-11284   Pharmaca Integrative Pharmacy, Inc.   STEPHEN JOSEPH INC.                     $13,608.21
        284005740   22-11284   Pharmaca Integrative Pharmacy, Inc.   STERICYCLE                               $9,866.36
        284005750   22-11284   Pharmaca Integrative Pharmacy, Inc.   STERICYCLE INC                           $1,296.28
        284005760   22-11284   Pharmaca Integrative Pharmacy, Inc.   STERLING                                 $1,146.77
        284005780   22-11284   Pharmaca Integrative Pharmacy, Inc.   STICKERS NORTHWEST INC.                   $375.00
        284005790   22-11284   Pharmaca Integrative Pharmacy, Inc.   SUMMIT APPLIANCE                         $7,697.35
 Epiq
20122             22-11284 Pharmaca Integrative Pharmacy, Inc.       SUN BROTHERS LLC                        $37,108.19
        284005800 22-11284 Pharmaca Integrative Pharmacy, Inc.       SUN BROTHERS, LLC                       $37,108.19
        284005810 22-11284 Pharmaca Integrative Pharmacy, Inc.       SUN BUM LLC                             $44,580.45
        284005820 22-11284 Pharmaca Integrative Pharmacy, Inc.       SUPPLIES DISTRIBUTORS, INC              $51,773.97
 Epiq
20170               22-11284 Pharmaca Integrative Pharmacy, Inc. SWOPE, SUZANNAH                               $161.21
 Epiq
20139               22-11284   Pharmaca Integrative Pharmacy, Inc.   SYMPHONY NATURAL HEALTH                 $13,800.58
        284005830   22-11284   Pharmaca Integrative Pharmacy, Inc.   TABLE MESA SHOPPING CENTER P/S           $9,643.88
        284005840   22-11284   Pharmaca Integrative Pharmacy, Inc.   TAOS AER                                 $5,456.64
        284005850   22-11284   Pharmaca Integrative Pharmacy, Inc.   TARA SPA THERAPY                          $300.58
        284005860   22-11284   Pharmaca Integrative Pharmacy, Inc.   TAYLOR COMMUNICATIONS INC                 $909.74
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          284005870   22-11284   Pharmaca Integrative Pharmacy, Inc.   TCC TWINLAB CONOLIDATED CORP            $67,051.62
          284005880   22-11284   Pharmaca Integrative Pharmacy, Inc.   TEAM AIR EXPRESS, INC                    $3,440.00
          284005890   22-11284   Pharmaca Integrative Pharmacy, Inc.   TEAPIGS US, LLC                          $1,873.00
          284005910   22-11284   Pharmaca Integrative Pharmacy, Inc.   TEBO PARTNERSHIP, LLC                   $94,998.71
 Epiq
20011               22-11284     Pharmaca Integrative Pharmacy, Inc.   TELLI INDUSTRIES INC                      $541.97
          284005930 22-11284     Pharmaca Integrative Pharmacy, Inc.   TESSERACT MEDICAL RESEARCH              $13,887.06
Epiq 89             22-11284     Pharmaca Integrative Pharmacy, Inc.   TEXAS COMPTROLLER OF PUBLIC ACCOUNTS      $100.00
          284005940 22-11284     Pharmaca Integrative Pharmacy, Inc.   THE BEAUTY OF HOPE LLC                   $2,080.00
          284005950 22-11284     Pharmaca Integrative Pharmacy, Inc.   THE BRUSH AND MALLETT                    $1,106.49
          284005960 22-11284     Pharmaca Integrative Pharmacy, Inc.   THE CAT'S PAJAMAS                       $47,540.79
          284005980 22-11284     Pharmaca Integrative Pharmacy, Inc.   THE FLOATING WORLD                       $3,120.00
          284005990 22-11284     Pharmaca Integrative Pharmacy, Inc.   THE REPUBLIC OF TEA                     $21,327.56
          284006000 22-11284     Pharmaca Integrative Pharmacy, Inc.   THERABODY, INC.                          $2,368.60
          284006010 22-11284     Pharmaca Integrative Pharmacy, Inc.   THERMOS LLC                               $588.16
          284006020 22-11284     Pharmaca Integrative Pharmacy, Inc.   THINK OPERATION, INC.                   $22,745.24
 Epiq
20193               22-11284 Pharmaca Integrative Pharmacy, Inc. THOMAS, KAREN                                   $122.36
          284006030 22-11284 Pharmaca Integrative Pharmacy, Inc. THORNE RESEARCH INC                          $222,552.45
          284006040 22-11284 Pharmaca Integrative Pharmacy, Inc. THRESHOLD ENTERPRISES, LTD                    $47,190.64
 Epiq
20173                 22-11284   Pharmaca Integrative Pharmacy, Inc.   THYMES LLC, THE                        $110,158.85
          284006050   22-11284   Pharmaca Integrative Pharmacy, Inc.   THYMES, LLC                             $86,468.09
          284006060   22-11284   Pharmaca Integrative Pharmacy, Inc.   TIGER TOOTH MARKETING                     $780.00
          284006080   22-11284   Pharmaca Integrative Pharmacy, Inc.   TIMBERLINE MECHANICAL SYSTEMS LLC         $699.71
          284006090   22-11284   Pharmaca Integrative Pharmacy, Inc.   TIME WARNER (2678)                          $86.25
          284006100   22-11284   Pharmaca Integrative Pharmacy, Inc.   TIME WARNER CABLE (5201)                  $219.98
          284006110   22-11284   Pharmaca Integrative Pharmacy, Inc.   TIME WARNER CABLE (9256)                  $319.96
          284006120   22-11284   Pharmaca Integrative Pharmacy, Inc.   TOPCASHBACK USA INC                     $79,000.00
          284006130   22-11284   Pharmaca Integrative Pharmacy, Inc.   TOPICAL BIOMEDICS, INC                  $10,985.77
          284006140   22-11284   Pharmaca Integrative Pharmacy, Inc.   TOTAL BEAUTY NETWORK (USA), INC.        $30,119.47
          284006150   22-11284   Pharmaca Integrative Pharmacy, Inc.   TOTAL SYSTEMS SERVICES, INC               $369.73
          284006160   22-11284   Pharmaca Integrative Pharmacy, Inc.   TPX COMMUNICATIONS                        $676.53
          284006170   22-11284   Pharmaca Integrative Pharmacy, Inc.   TRACE MINERALS/WHITE EGRET              $18,318.57
          284006180   22-11284   Pharmaca Integrative Pharmacy, Inc.   TRADER JOE'S COMPANY                    $54,893.31
 Epiq
20017               22-11284 Pharmaca Integrative Pharmacy, Inc. TREE STAR GROUP INC                            $3,124.57
          284006200 22-11284 Pharmaca Integrative Pharmacy, Inc. TRILIPID RESEARCH INSITITUTE, LLC              $5,867.80
 Epiq
20141                 22-11284 Pharmaca Integrative Pharmacy, Inc. TRILOGY MEDWASTE                              $346.00
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        284006230   22-11284   Pharmaca Integrative Pharmacy, Inc.   TROPICEEL PRODUCTS, INC.                      $600.00
        284006240   22-11284   Pharmaca Integrative Pharmacy, Inc.   TRU KID, INC.                                $3,116.27
        284006250   22-11284   Pharmaca Integrative Pharmacy, Inc.   TRUE GRACE NUTRITION, LLC                   $10,027.63
        284006260   22-11284   Pharmaca Integrative Pharmacy, Inc.   TRUE MORINGA                                 $2,077.20
        284006270   22-11284   Pharmaca Integrative Pharmacy, Inc.   TRULY NOLEN OF AMERICA                          $92.07
        284006280   22-11284   Pharmaca Integrative Pharmacy, Inc.   TULIPAN HERBALS                              $1,582.00
        284006290   22-11284   Pharmaca Integrative Pharmacy, Inc.   TWEEZERMAN                                  $20,423.34
 Epiq
20230               22-11284   Pharmaca Integrative Pharmacy, Inc.   UKG INC                                      $3,121.57
        284006300   22-11284   Pharmaca Integrative Pharmacy, Inc.   ULINE (3025)                                 $7,571.73
        284006310   22-11284   Pharmaca Integrative Pharmacy, Inc.   ULINE (5289)                                  $121.77
        284006320   22-11284   Pharmaca Integrative Pharmacy, Inc.   UNIWEB INC.                                $423,278.72
        284006330   22-11284   Pharmaca Integrative Pharmacy, Inc.   UPCIRCLE BEAUTY, INC.                       $14,760.22
        284006340   22-11284   Pharmaca Integrative Pharmacy, Inc.   UPG BOULDER EAST FLATIRONS PROPERTY OWNE    $20,461.41
        284006350   22-11284   Pharmaca Integrative Pharmacy, Inc.   UPLIFTER'S PRIMA                             $5,394.56
        284006360   22-11284   Pharmaca Integrative Pharmacy, Inc.   UPS (1587FE)                                $12,152.67
        284006370   22-11284   Pharmaca Integrative Pharmacy, Inc.   UPS (307Y06)                                    $16.46
        284006380   22-11284   Pharmaca Integrative Pharmacy, Inc.   UPS (A0951W)                                $39,845.22
        284006400   22-11284   Pharmaca Integrative Pharmacy, Inc.   VALASSIS DIRECT MAIL, INC.                  $41,375.42
        284006410   22-11284   Pharmaca Integrative Pharmacy, Inc.   VAPOUR BEAUTY, LLC                          $17,476.49
        284006420   22-11284   Pharmaca Integrative Pharmacy, Inc.   VIBRANT HEALTH                              $29,280.71
        284006430   22-11284   Pharmaca Integrative Pharmacy, Inc.   VIPER CABLING INC.                           $3,678.63
        284006440   22-11284   Pharmaca Integrative Pharmacy, Inc.   VIRK BROTHERS PROPERITES, LLC                $7,667.40
        284006450   22-11284   Pharmaca Integrative Pharmacy, Inc.   VISTA VISUAL GROUP                           $7,713.28
 Epiq
20118             22-11284 Pharmaca Integrative Pharmacy, Inc. VITAL NUTRIENTS                                   $49,212.03
        284006460 22-11284 Pharmaca Integrative Pharmacy, Inc. VITAL NUTRIENTS                                   $49,748.13
 Epiq
20037               22-11284   Pharmaca Integrative Pharmacy, Inc.   VITAL PLANET LLC                            $10,295.70
        284006470   22-11284   Pharmaca Integrative Pharmacy, Inc.   VITAL PLANET, LLC                           $10,210.51
        284006480   22-11284   Pharmaca Integrative Pharmacy, Inc.   VITALITY WORKS, INC.                        $68,357.20
        284006490   22-11284   Pharmaca Integrative Pharmacy, Inc.   VITAMER LABS                                 $9,512.98
        284006500   22-11284   Pharmaca Integrative Pharmacy, Inc.   VITANICA                                    $36,698.90
        284006530   22-11284   Pharmaca Integrative Pharmacy, Inc.   VOLUSPA                                      $3,471.00
        284006540   22-11284   Pharmaca Integrative Pharmacy, Inc.   WASHINGTON DOOR SERVICE, LLC                  $420.05
        284006550   22-11284   Pharmaca Integrative Pharmacy, Inc.   WATERLOGIC AMERICAS LLC                       $489.64
        284006560   22-11284   Pharmaca Integrative Pharmacy, Inc.   WAY OUT WAX - VERMONT NATURALS               $1,776.40
        284006570   22-11284   Pharmaca Integrative Pharmacy, Inc.   WEDDERSPOON ORGANIC USA, LLC                $25,935.73
 Epiq
20265               22-11284 Pharmaca Integrative Pharmacy, Inc. WELEDA INC                                      $96,364.64
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             284006580 22-11284 Pharmaca Integrative Pharmacy, Inc. WELEDA, INC                                   $89,584.75
             284006590 22-11284 Pharmaca Integrative Pharmacy, Inc. WELLY HEALTH PBC                               $4,506.80
             284006600 22-11284 Pharmaca Integrative Pharmacy, Inc. WESTERN DISPOSAL SERVICE                        $500.37
   Epiq
  20237                22-11284 Pharmaca Integrative Pharmacy, Inc. WESTERN EXTERMINATOR                            $744.07
             284006610 22-11284 Pharmaca Integrative Pharmacy, Inc. WESTERN EXTERMINATOR CO.                        $545.20
   Epiq
  20066                22-11284 Pharmaca Integrative Pharmacy, Inc.       WESTERN RESERVE PACKAGING INC           $33,378.11
             284006620 22-11284 Pharmaca Integrative Pharmacy, Inc.       WESTWAYS STAFFING SERVICES, INC         $19,818.75
             284006630 22-11284 Pharmaca Integrative Pharmacy, Inc.       WHAT'S HOT!, INC.                        $4,075.00
             284006640 22-11284 Pharmaca Integrative Pharmacy, Inc.       WHITE FOX                                $5,750.00
   Epiq
  20126                22-11284 Pharmaca Integrative Pharmacy, Inc. WHOLESCRIPTS                                  $17,718.52
             284006650 22-11284 Pharmaca Integrative Pharmacy, Inc. WHOLESCRIPTS                                  $18,423.50
             284006660 22-11284 Pharmaca Integrative Pharmacy, Inc. WILD CARROT HERBALS                            $7,494.88
   Epiq
  20108                  22-11284   Pharmaca Integrative Pharmacy, Inc.   WILD CARROT HERBALS LLC                 $11,243.81
             284006670   22-11284   Pharmaca Integrative Pharmacy, Inc.   WILEY'S FINEST WILD ALASKAN FISH OIL    $32,709.70
             284006680   22-11284   Pharmaca Integrative Pharmacy, Inc.   WINDMILL HEALTH PRODUCTS, LLC            $8,534.22
             284006690   22-11284   Pharmaca Integrative Pharmacy, Inc.   WINGED NUTRITION                         $5,929.92
             284006700   22-11284   Pharmaca Integrative Pharmacy, Inc.   WIS INTERNATIONAL                       $24,604.57
             284006710   22-11284   Pharmaca Integrative Pharmacy, Inc.   WISH GARDEN HERBS                       $33,592.24
             284006720   22-11284   Pharmaca Integrative Pharmacy, Inc.   WM CORPORATE SERVICES, INC.              $1,511.42
             284006730   22-11284   Pharmaca Integrative Pharmacy, Inc.   WS BADGER COMPANY                       $21,532.70
             284006740   22-11284   Pharmaca Integrative Pharmacy, Inc.   WUNDERKIND CORPORATION                 $127,629.00
             284006750   22-11284   Pharmaca Integrative Pharmacy, Inc.   XCEL ENERGY                              $2,646.61
   Epiq
  20018                  22-11284   Pharmaca Integrative Pharmacy, Inc.   YELP INC                                 $6,325.00
             284006760   22-11284   Pharmaca Integrative Pharmacy, Inc.   YOGA DESIGN LAB, INC.                    $9,678.07
             284006770   22-11284   Pharmaca Integrative Pharmacy, Inc.   YOTPO INC                               $37,391.67
             284006780   22-11284   Pharmaca Integrative Pharmacy, Inc.   YU-BE, INC.                              $2,541.64
             284006790   22-11284   Pharmaca Integrative Pharmacy, Inc.   ZIPLY FIBER                               $333.88
             284006800   22-11284   Pharmaca Integrative Pharmacy, Inc.   ZOE ORGANICS, INC.                       $7,524.00
             284006810   22-11284   Pharmaca Integrative Pharmacy, Inc.   ZURICH DEDUCTIBLE RECOVERY GROUP          $149.36
Court 1-1                22-11284   Pharmaca Integrative Pharmacy, Inc.   Rhode Island Div. of Taxation            $4,188.24
Court 4-1                22-11284   Pharmaca Integrative Pharmacy, Inc.   San Diago Hat Company                   $42,511.40
Court 9-1                22-11284   Pharmaca Integrative Pharmacy, Inc.   SPECTRUM CHEMICAL                        $3,867.64
Court 10-1               22-11284   Pharmaca Integrative Pharmacy, Inc.   CENTURYLINK COMMUNICATIONS LLC           $2,847.06
Court18-1                22-11284   Pharmaca Integrative Pharmacy, Inc.   NW Natural                                $866.06
Court 19-1               22-11284   Pharmaca Integrative Pharmacy, Inc.   LIPT NW Cedar Falls Drive, LLC         $391,454.85
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Court 20-1               22-11284   Pharmaca Integrative Pharmacy, Inc.   DR. HAUSCHKA SKIN CARE                     $270,468.60
Court 21-1               22-11284   Pharmaca Integrative Pharmacy, Inc.   Lincoln Fullerton REIT Property LLC        $199,011.07
Court 22-1               22-11284   Pharmaca Integrative Pharmacy, Inc.   SENZACARE                                    $6,486.91
Court 24-1               22-11284   Pharmaca Integrative Pharmacy, Inc.   Leader Drugstores Inc.                     $140,098.11
Court 25-1               22-11284   Pharmaca Integrative Pharmacy, Inc.   Renault & Handley Oakmead Solar JV         $391,694.69
Court 26-1               22-11284   Pharmaca Integrative Pharmacy, Inc.   Hilma Inc.                                   $1,281.60
Court 27-1               22-11284   Pharmaca Integrative Pharmacy, Inc.   MScripts, LLC                               $29,456.22

             286000010   22-11286   Tango340B LLC                         1401 BRANDING LLC                            $4,105.00
             286000020   22-11286   Tango340B LLC                         4IMPRINT, INC.                               $4,465.93
             286000030   22-11286   Tango340B LLC                         ADAMS COUNTY REGIONAL MEDICAL CENTER        $23,065.94
             286000040   22-11286   Tango340B LLC                         ALL CARE HEALTH CENTER                      $14,998.48
             286000050   22-11286   Tango340B LLC                         BLUESTEM HEALTH                             $19,793.59
             286000060   22-11286   Tango340B LLC                         BOUNDARY REGIONAL COMMUNITY HEALTH CENTE    $89,177.83
             286000070   22-11286   Tango340B LLC                         CANYONLANDS COMMUNITY HEALTH CARE            $1,992.29
   Epiq
  20111      286000080 22-11286 Tango340B LLC                             CERVEY LLC                                   $2,253.74
   Epiq
  20224                  22-11286   Tango340B LLC                         CIOFFI, CARLO A JR                         $236,244.10
             286000090   22-11286   Tango340B LLC                         CIRRUS PHARMACY SYSTEMS, INC.               $10,320.97
             286000100   22-11286   Tango340B LLC                         CLOUD NAVIGATORS LLC                          $450.00
             286000110   22-11286   Tango340B LLC                         COLLABORATIVE SOLUTIONS LLC                  $9,230.00
             286000120   22-11286   Tango340B LLC                         COMED (0054)                                    $35.92
             286000130   22-11286   Tango340B LLC                         COMED (3068)                                    $61.74
             286000140   22-11286   Tango340B LLC                         COMMUNITY ACTION PARTNERSHIP                $19,299.32
             286000150   22-11286   Tango340B LLC                         COUNTY OF WHITESIDE                         $35,004.18
             286000160   22-11286   Tango340B LLC                         CRAWFORD MEMORIAL HOSPITAL                  $89,934.49
             286000170   22-11286   Tango340B LLC                         CSC (4736)                                    $600.06
             286000180   22-11286   Tango340B LLC                         DATSON CORPORATION                          $11,265.96
 Epiq 61                 22-11286   Tango340B LLC                         DEPARTMENT OF TREASURY - IRS                    $45.03
             286000190   22-11286   Tango340B LLC                         EAST CARROLL PARISH HOSPITAL                 $1,375.13
 Epiq 114                22-11286   Tango340B LLC                         EMPLOYMENT DEVELOPMENT DEPARTMENT             $643.90
             286000220   22-11286   Tango340B LLC                         FELDESMAN TUCKER LEIFER FIDELL LLP            $169.50
             286000250   22-11286   Tango340B LLC                         HAMILTON, BROOK, SMITH & REYNOLDS, P.C.     $31,470.00
             286000260   22-11286   Tango340B LLC                         HEALTHJUMP, INC                             $16,447.61
             286000270   22-11286   Tango340B LLC                         HEARTLAND HEALTH CENTER INC.                 $3,415.48
             286000290   22-11286   Tango340B LLC                         KNOX COUNTY COMMUNITY HEALTH CENTER          $4,393.30
   Epiq
  20105      286000300 22-11286 Tango340B LLC                             KODIAK ISLAND HEALTHCARE FOUNDATION        $201,940.07
             286000320 22-11286 Tango340B LLC                             LINKEDIN                                     $6,751.61
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          286000330 22-11286 Tango340B LLC                      MIDTOWN HEALTH CENTER, INC.            $166,376.47
          286000340 22-11286 Tango340B LLC                      MINERAL INC.                             $1,567.80
          286000350 22-11286 Tango340B LLC                      MOWAX VISUAL LLC                          $125.00
 Epiq
20051                 22-11286   Tango340B LLC                  NEILON TECHNOLOGIES LLP                   $593.55
Epiq 91               22-11286   Tango340B LLC                  NORTH CAROLINA DEPARTMENT OF REVENUE      $194.19
          286000360   22-11286   Tango340B LLC                  NP DIGITAL                               $1,050.00
          286000370   22-11286   Tango340B LLC                  OPENLOOP HEALTHCARE PARTNERS, PC        $94,866.25
          286000380   22-11286   Tango340B LLC                  PEAK PERFORMANCE PARTNERS, LLC          $36,000.00
          286000390   22-11286   Tango340B LLC                  PHARMACY DATA MANAGEMENT INC.          $115,217.43
          286000410   22-11286   Tango340B LLC                  PUREVIEW HEALTH CENTER                  $12,737.52
          286000420   22-11286   Tango340B LLC                  QLIKTECH INC                            $15,730.26
          286000430   22-11286   Tango340B LLC                  RELAYHEALTH                            $131,908.56
          286000450   22-11286   Tango340B LLC                  SALESFORCE.COM INC                      $79,539.73
          286000470   22-11286   Tango340B LLC                  SOS PRINTING LLC                          $718.15
 Epiq
20044                 22-11286   Tango340B LLC                  STAT ADVISORS LLC                      $111,289.04
          286000480   22-11286   Tango340B LLC                  STONY CREEK COMMUNITY HEALTH CENTER     $10,817.05
          286000490   22-11286   Tango340B LLC                  TOPBLOC, LLC                             $2,625.00
          286000510   22-11286   Tango340B LLC                  UPTODATE, INC.                          $23,981.00
          286000520   22-11286   Tango340B LLC                  VALUATION RESEARCH CORPORATION           $7,733.00
          286000530   22-11286   Tango340B LLC                  VIRTU CORPORATION                        $1,184.70
          286000540   22-11286   Tango340B LLC                  VIVYO LLC                                $6,000.00
 Epiq
20223               22-11286 Tango340B LLC                      WEBER, TODD                            $397,121.88
          286000580 22-11286 Tango340B LLC                      ZOOMINFO                                $27,213.31

          288000010   22-11288   West Campbell Pharmacy Inc.    ACC BUSINESS                              $621.90
          288000020   22-11288   West Campbell Pharmacy Inc.    AMAZON BUSINESS                           $732.05
          288000030   22-11288   West Campbell Pharmacy Inc.    ANDA INC                                $31,509.26
          288000040   22-11288   West Campbell Pharmacy Inc.    BAMBOO INVESTMENTS LLC                   $7,078.63
          288000050   22-11288   West Campbell Pharmacy Inc.    CSC (4736)                                $600.06
          288000060   22-11288   West Campbell Pharmacy Inc.    CURASCRIPT SD                             $344.77
          288000090   22-11288   West Campbell Pharmacy Inc.    FDS, INC.                                $1,085.53
          288000100   22-11288   West Campbell Pharmacy Inc.    FEDEX                                       $24.29
          288000160   22-11288   West Campbell Pharmacy Inc.    MG SECURITY SERVICES LLC                $27,250.72
          288000170   22-11288   West Campbell Pharmacy Inc.    MICRO MERCHANT SYSTEMS INC                $526.52
          288000190   22-11288   West Campbell Pharmacy Inc.    RELIANT (3545)                            $530.05
          288000200   22-11288   West Campbell Pharmacy Inc.    ROBINSON+COLE                             $305.00
          288000210   22-11288   West Campbell Pharmacy Inc.    RRAM SERVICES                             $891.23
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          288000220 22-11288 West Campbell Pharmacy Inc.    SEQIRUS                                            $2,581.49
Epiq 90             22-11288 West Campbell Pharmacy Inc.    TEXAS COMPTROLLER OF PUBLIC ACCOUNTS                  $50.00
          288000240 22-11288 West Campbell Pharmacy Inc.    TIME WARNER (3399)                                  $135.71

                                                            Universe of Claims with Triplepoint          $166,990,748.84
                                                            20% of Universe of Claims with Triplepoint    $33,398,149.77
